Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 1 of 42




     EXHIBIT 14
  Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 2 of 42




NPDES General Permit for discharges from the
   Offshore Subcategory of the Oil and Gas
Extraction Category for the Western Portion of
  the Outer Continental Shelf of the Gulf of
 Mexico off the coasts of Louisiana and Texas




                                                                            NPDES General Permit for Discharges from the Offshore Subcategory of the Oil and Gas Extraction
                                                                            Category for the Western Portion of the Outer Continental Shelf of the Gulf of Mexico off the Coasts
                                                                            of Louisiana and Texas (June 7, 2007), announced at Notice of Final NPDES General Permit, 72
                                                                            Fed. Reg. 31,575 (June 7, 2007) (valid until midnight, CST September 30, 2012).




        NPDES No. GMG290000 ● www.epa.gov/region6/offshore
              72 Fed. Reg. No. 109, p. 31575 ● June 7, 2007
    Effective October 1, 2007 ● Expires midnight September 30, 2012
                                                                            Ex. 14
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 3 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 2
NOTICE OF FINAL NPDES                                   and Texas are authorized to discharge produced
                                                        water from wells located in those lease blocks to        [I.A.1.] Operations Covered
GENERAL PERMIT                                          the Western Portion of the Federal Waters of the
                                                        Gulf of Mexico in accordance with effluent limita-          This permit establishes effluent limitations,
  Final NPDES General Permit for New and Exist-         tions, monitoring requirements, and other condi-         prohibitions, reporting requirements, and other
ing Sources and New Dischargers in the Offshore         tions set forth in Parts I, II, and III hereof. Opera-   conditions on discharges from oil and gas facili-
Subcategory of the Oil and Gas Extraction Cate-         tors of mobile offshore drilling units (MODUs)           ties, and supporting pipeline facilities, engaged in
gory for the Western Portion of the Outer Conti-        located in Federal Waters of the Western Gulf of         production, field exploration, developmental drill-
                                                        Mexico are required to comply with the cooling
nental Shelf of the Gulf of Mexico (GMG290000)          water intake structure provisions of Part I.B.12
                                                                                                                 ing, facility installation, well completion, well
                                                                                                                 treatment operations, well workover, and abandon-
                                                        of this permit.                                          ment/decommissioning operations.
  SUMMARY: EPA Region 6 reissues the Na-
tional Pollutant Discharge Elimination System             Operators of lease blocks located within the
(NPDES) general permit for the Western Portion          general permit area must submit written notifica-           The permit coverage area consists of lease
of the Outer Continental Shelf of the Gulf of Mex-      tion to the Regional Administrator that they intend      blocks located in and discharging to Federal waters
ico (No. GMG290000) for discharges from new             to be covered (See Part I.A.2). In addition to that      in the Gulf of Mexico seaward of the outer bound-
sources, existing sources, and new dischargers in       notification, operators of facilities which must         ary of the territorial seas offshore of Louisiana and
the Offshore Subcategory of the Oil and Gas Ex-         comply with the cooling water intake requirements        Texas and shall include lease blocks west of the
traction Point Source Category (40 CFR Part 435,        in Part I.B.12 of this permit must submit the sup-       western boundary of the outer continental shelf
Subpart A). This reissued general permit will re-       plemental notification required under that section.      lease areas defined as: Mobile, Viosca Knoll (north
place the previous permit issued on October 7,          Unless otherwise notified in writing by the Re-          part), Destin Dome, Desoto Canyon, Lloyd, and
2004 (69 FR 60150). The general permit author-          gional Administrator owners or operators request-        Henderson. In Texas, where the state has mineral
izes discharges from exploration, development,          ing coverage are authorized to discharge under this      rights to three leagues, some operators with state
and production facilities located in and discharging    general permit after the postmark date of submis-        lease tracts are required to request coverage under
to Federal waters of the Gulf of Mexico seaward of      sion of the notification. Operators of lease blocks      this Federal NPDES general permit. In addition,
the outer boundary of the territorial seas offshore     within the general permit area who fail to notify        permit coverage consists of produced water dis-
of Louisiana and Texas.                                 the Regional Administrator of intent to be covered       charges to those Federal waters from lease blocks
                                                        by this general permit are not authorized under this     located in the territorial seas of Texas and Louisi-
   Today’s reissuance includes a number of              general permit to discharge pollutants from those        ana. This includes produced water from wells
changes and clarifications to the proposed permit.      facilities. Operators who have previously submit-        located in the area of coverage, which is sent on-
The following changes are included in the final         ted a written notification of intent to be covered       shore for treatment and subsequently sent back to
permit. Requirements to comply with new cooling         under this general permit need not submit an addi-       the Outer Continental Shelf to be discharged. This
water intake structure regulations were changed to      tional notification of intent to be covered even in      permit does not authorize discharges from facilities
allow expansion of the industry wide study to           advance of permit expiration. For facilities covered     located in or discharging to the territorial seas of
include entrainment monitoring. Operators are           under the previous permit, the monitoring periods        Louisiana or Texas or from facilities defined as
only required to submit cooling water intake struc-     shall remain the same unless otherwise notified by       "coastal", "onshore", or "stripper" (see 40 CFR
ture design information once per facility. Notifica-    EPA. Additionally, the monitoring period for tox-        Part 435, Subparts C, D, and E).
tion requirements have been added for operators of      icity testing shall correspond with that of other
mobile offshore drilling units required to comply       parameters.                                              [I.A.2.] Notification Requirements
with cooling water intake structure conditions. An
end-of-well sample is no longer required for sedi-        This permit will be re-opened and modified or             Written notification of intent (NOI) to be cov-
ment toxicity testing when using non-aqueous            revoked and reissued if necessary based on the           ered including the legal name and address of the
based drilling fluids. The toxicity testing frequency   results of the ESA consultation with NMFS.               operator, the lease area and block number assigned
for sub-sea fluids has been decreased from once                                                                  by the Department of Interior or the state or, if
per batch to once per year. Toxicity testing is no        Facilities which adversely affect properties listed    none, the name commonly assigned to the lease
longer required for miscellaneous discharges            or eligible for listing in the National Register of      area shall be submitted and postmarked prior to the
treated using hypochlorite. Minor corrections were      Historic Places are not authorized to discharge          commencement of discharge. Owners/operators of
made in the produced water whole effluent toxicity      under this permit.                                       MODUs that are required to meet the conditions of
testing requirements. Other minor changes in                                                                     Part I.B.12 shall submit an NOI along with the
wording were made to clarify EPA’s intent regard-         This permit shall become effective at Midnight         required supplemental notification information.
ing the permit’s requirements.                          Central Standard Time, (October 1, 2007).                That information must be submitted prior to com-
                                                                                                                 mencement of operations. For facilities installed
FOR FURTHER INFORMATION CONTACT:                          This permit and the authorization to discharge         after March 4, 1993, the NOI must also identify
Ms. Diane Smith, EPA Region 6, 1445 Ross                shall expire at midnight, Central Standard Time,         that the facility is a New Source and state the date
Avenue, Dallas, Texas 75202, Telephone:                 (September 30, 2012).                                    on which the facility’s protection from more strin-
(214) 665 7191, or via EMAIL to the following                                                                    gent new source performance standards or technol-
address: smith.diane@epa.gov                            Signed this                  day of                      ogy-based limitations ends. That date is the soon-
                                                                                                                 est of: ten years from the date that construction is
Authorization to Discharge Under                                                                                 completed, ten years from the date the source
the National Pollutant Discharge                                                                                 begins to discharge process or non construction
                                                         _______________________________________                 related waste water, or the end of the period of
Elimination System                                       Miguel I. Flores                                        depreciation or amortization of the facility for the
                                                         Director,                                               purposes of section 167 or 169 (or both) of the
  In compliance with the Federal Water Pollution         Water Quality Protection Division
Control Act, as amended (33 U.S.C. 1251 et. seq.         EPA Region 6                                              Additionally, if an application for an individual
the "Act"), operators of lease blocks in the Oil and
                                                                                                                 permit for the activity was previously submitted to
Gas Extraction Point Source Category located in         PART I. REQUIREMENTS FOR                                 EPA Region 6, the NOI shall include the applica-
Federal waters of the Western Portion of the Gulf       NPDES PERMITS                                            tion/permit number of that application or the per-
of Mexico (defined as seaward of the outer bound-
                                                                                                                 mit number of any individual NPDES permit is-
ary of the territorial seas off Louisiana and Texas)
                                                        [I.A.] Section A. Permit Applicability                   sued by EPA Region 6 for this activity. The NOI
are authorized to discharge to the Western Portion
                                                        and Coverage Conditions                                  shall be submitted and postmarked prior to com-
of the Federal Waters of the Gulf of Mexico in
                                                                                                                 mencement of discharge. The postmark date is
accordance with the effluent limitations, monitor-
                                                                                                                 evidence of delivery and acceptance for purposes
ing requirements, and other conditions set forth in
                                                                                                                 of coverage and shall signify approval to com-
Parts I, II, and III hereof. Also, operators of lease
                                                                                                                 mence discharge.
blocks located in the territorial seas of Louisiana
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 4 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 3
  Permittees located in lease blocks that (a) are                                                                  expressed in mg/kg (dry weight). Analysis for
                                                            Special Note: The permit prohibitions and limi-
neither in nor adjacent to MMS-defined "no activ-                                                                  cadmium shall be conducted using EPA methods
                                                         tations that apply to drilling fluids, also apply to
ity" areas, or (b) do not require live-bottom sur-                                                                 200.7, 200.8, or EPA method 3050 B followed by
                                                         fluids that adhere to drill cuttings. Any permit
veys are required only to submit an NOI to be                                                                      6010B or 6020 and the results expressed as mg/kg
                                                         condition that may apply to the drilling fluid dis-
covered by this general permit. Permittees who are                                                                 (dry weight) of barite.
                                                         charges, therefore, also applies to cuttings discha-
located in lease blocks that are either in or adjacent
                                                         rges.                                                       Toxicity. Discharged drilling fluids shall meet
to "no activity" areas or require live bottom sur-
veys are required to submit both an NOI to be                                                                      both a daily minimum and a monthly average
covered that specifies they are located in such a                                                                  minimum 96-hour LC50 of at least 30,000 ppm in
lease block and are required to submit a notice of         [Exception] The discharge rate limit for                a 9:1 seawater to drilling fluid suspended particu-
commencement of operations.                              drilling fluids does not apply to drill cuttings.         late phase (SPP) volumetric ratio using Mysidopsis
                                                                                                                   bahia. Monitoring shall be performed at least once
  Permittees located in lease blocks either in or                                                                  per month for both a daily minimum and the
immediately adjacent to MMS-defined "no activ-                                                                     monthly average. In addition, an end-of-well sam-
ity" areas, shall be responsible for determining         [I.B.1.a.] Prohibitions                                   ple is required for a daily minimum when drilling
whether a controlled discharge rate is required.                                                                   is conducted using aqueous based drilling fluid.
The maximum discharge rate for drilling fluids is          Non aqueous Based Drilling Fluids. The dis-             The type of sample required is a grab sample,
determined by the distance from the facility to the      charge of non aqueous based drilling fluid is pro-        taken from beneath the shale shaker, or if there are
"no activity" area boundary and the discharge rate       hibited, except that which adheres to cuttings and        no returns across the shale shaker, the sample must
equation provided in Part I.B.1.b. The permittee         small volume discharges described below in                be taken from a location that is characteristic of the
shall report the distance from the permitted facility    Part 1.B.2.c.2.                                           overall mud system to be discharged. Permittees
to the "no activity" area boundary and the calcu-                                                                  shall report the results on the DMR using either the
lated maximum discharge rate to EPA with its               Exception: non aqueous base fluids may be used          full toxicity test or the partial toxicity test as speci-
notice of commencement of operations.                    as a carrier fluid (transporter fluid), lubricity addi-   fied at 58 FR 12512, March 4, 1993; however, if
                                                         tive or pill in water based drilling fluids and dis-      the partial toxicity test shows a failure, all testing
   For permittees located in lease blocks that re-       charged with those drilling fluids provided the           of future samples from that well shall be conducted
quire live-bottom surveys, the final determination       discharge continues to meet the no free oil and 96-       using the full toxicity test method to determine the
of the presence or absence of live-bottom commu-         hour LC50 toxicity limits, and a pill is removed          96-hour LC50.
nities, the distance of the facility from identified     prior to discharge.
live-bottom areas, and the calculated maximum                                                                        Free Oil. No free oil shall be discharged. Moni-
discharge rate shall be reported with the notice of        Oil-Based Drilling Fluids. The discharge of oil
                                                                                                                   toring shall be performed using the static sheen
commencement of operations.                              based drilling fluids and oil based inverse emulsion
                                                                                                                   method once per week when discharging. The
                                                         drilling fluids are prohibited.
                                                                                                                   number of days a sheen is observed must be re-
  See Part I.B.12 for cooling water intake structure                                                               corded.
                                                           Oil Contaminated Drilling Fluids. The discharge
notice of intent requirements.
                                                         of drilling fluids which contain waste engine oil,
                                                                                                                     Discharge Rate. All facilities are subject to a
                                                         cooling oil, gear oil or any lubricants which have
  All notifications of intent to be covered, transfer                                                              maximum discharge rate of 1,000 barrels
                                                         been previously used for purposes other than bore-
agreements, notices of termination and all subse-                                                                  per hour.
                                                         hole lubrication, is prohibited.
quent reports under this permit shall be sent to the
following address:                                                                                                   For those facilities subject to the discharge rate
                                                           Diesel Oil. Drilling fluids to which any diesel oil
                                                                                                                   limitation requirement because of their proximity
                                                         has been added as a lubricant may not be dis-
  Water Enforcement Branch (6EN-WC)                                                                                to areas of biological concern, the discharge rate of
                                                         charged.
  Region 6                                                                                                         drilling fluids shall be determined by the following
  U.S. Environmental Protection Agency                                                                             equation:
  1445 Ross Avenue                                       [I.B.1.b.] Limitations
  Dallas, TX 75202                                         Mineral Oil. Mineral oil may be used only as a                             R = 10 [3 Log (d/15) + Tt]
                                                         carrier fluid (transporter fluid), lubricity additive,
  Additional information regarding these reporting                                                                   Where:
                                                         or pill.
requirements may be found at:                                                                                        R = discharge rate (bbl/hr)
                                                                                                                     d = distance (meters) from the boundary of a
                                                           Cadmium and Mercury in Barite. There shall be
http://www.epa.gov/region6/6en/w/offshore/               no discharge of drilling fluids to which barite has       controlled discharge rate area
                                                                                                                     Tt= toxicity-based discharge rate term
                                                         been added, if such barite contains mercury in
[I.A.3.] Termination of NPDES                                                                                        = [log (LC50 x 8 x 10-6)] / 0.3657
                                                         excess of 1.0 mg/kg (dry weight) or cadmium in
Coverage                                                 excess of 3.0 mg/kg (dry weight). The permittee             Drilling fluid discharges (based on a mud toxic-
                                                         shall analyze a representative sample of all stock        ity of 30,000 ppm) equal to or less than 544 meters
  Lease block operators shall submit a notice of         barite used once, prior to drilling each well, and        from areas of biological concern shall comply with
termination (NOT) to the Regional Administrator          submit the results for total mercury and cadmium          the discharge rate obtained from the equation
within 60 days of termination of lease ownership         in the DMR.                                               above. Drilling fluids discharges which are shunted
for lease blocks assigned to the operator by the
                                                           If more than one well is being drilled at a site,       to the bottom as required by MMS are not subject
Department of Interior. In the case of temporary
                                                         new analyses are not required for subsequent              to this discharge rate control requirement.
operations such as hydrostatic testing, the NOT
shall be submitted within 60 days of termination of      wells, provided that no new supplies of barite have
                                                                                                                     All discharged drilling fluids; including those
operations. The discharge monitoring report              been received since the previous analysis. In this
                                                                                                                   fluids adhering to cuttings must meet the limita-
(DMR) for the terminated lease block shall be            case, the results of the previous analysis should be
                                                                                                                   tions of this section except that discharge rate
submitted with the NOT, or with the annual DMR           used on the DMR.
                                                                                                                   limitations do not apply before installation of
submittal. The NOT shall be effective upon the                                                                     the marine riser.
date it is received by EPA.                                Alternatively, the permittee may provide certifi-
                                                         cation, as documented by the supplier(s), that the
                                                         barite being used on the well will meet the above         [I.B.1.c.] Monitoring Requirements
[I.B.] Section B. Effluent Limitations
and Monitoring Requirements                              limits. The concentration of the mercury and cad-           Drilling Fluids Inventory. The permittee shall
                                                         mium in the barite shall be reported on the DMR           maintain a precise chemical inventory of all con-
                                                         as documented by the supplier.                            stituents and their total volume or mass added
[I.B.1.] Drilling Fluids
   The discharge of drilling fluids shall be limited      Analyses for mercury shall be conducted using            downhole for each well.
and monitored by the permittee as specified in           EPA Methods 245.5 or 7471 A and the results
Table 1 of Appendix E and as stated below.
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 5 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 4
[I.B.2.] Drill Cuttings                                    Polynuclear Aromatic Hydrocarbons (PAH).              [I.B.2.c.2.b.] Formation Oil: Once per week
                                                        The mass ratio in grams of PAH (as phenanthrene)         during drilling using the Reverse Phase Extraction
  The discharge of drill cuttings shall be limited      divided by the mass in grams of base fluids shall        test method specified in Part I, Section D.11 of this
and monitored by the permittee as specified in          not exceed 0.00001. Monitoring shall be per-             permit or the gas chromatography/mass spectrome-
Appendix E, Table 1 of this permit and as below.        formed at least once per year on each base fluid         try method specified in Part I, Section D.11 of this
  .                                                     blend. See Part I, Section D.9 of this permit.           permit.
[I.B.2.a.] Prohibitions which apply to all
                                                           Sediment Toxicity. The ratio of the 10-day LC50          Base Fluids Retained on Cuttings. Monitoring
drill cuttings                                          of C16 - C18 internal olefin or C12-C14 or C8 ester      shall be performed at least once per day when
                                                        reference fluid divided by the 10-day LC50 sedi-         generating new cuttings, except when meeting the
  Cuttings from Oil Contaminated Drilling Fluids.
                                                        ment toxicity test with Leptocheirus plumulosus of       conditions of the Best Management Practices de-
The discharge of cuttings that are generated using
                                                        the base fluid shall not exceed 1.0. Monitoring          scribed below. Operators conducting fast drilling
drilling fluids which contain waste engine oil,
                                                        shall be performed at least once per year on each        (i.e., greater than 500 linear feet advancement of
cooling oil, gear oil or any lubricants which have
                                                        base fluid blend. See Part I.D.7 and Part I.D.9 of       the drill bit per day using non aqueous fluids) shall
been previously used for purposes other than bore-
                                                        this permit.                                             collect and analyze one set of drill cuttings sam-
hole lubrication, is prohibited.
                                                                                                                 ples per 500 linear feet drilled, with a maximum of
                                                           Biodegradation Rate. The ratio of the cumula-         three sets per day. Operators shall collect a single
  Cuttings Generated Using Drilling Fluids which
                                                        tive gas production (ml) of C16 - C18 internal olefin    discrete drill cuttings sample for each point of
Contain Diesel Oil. The discharge of drill cuttings
                                                        or C12-C14 or C8 ester reference fluid divided by the    discharge to the ocean. The weighted average of
generated using drilling fluids which contain
                                                        cumulative gas production (ml) of stock base fluid,      the results of all discharge points for each sam-
diesel oil is prohibited.                               both at 275 days, shall not exceed 1.0. Monitoring       pling interval will be used to determine compli-
  Cuttings Generated Using Mineral Oil. The             shall be performed at least once per year on each        ance. See Part I, Section D.12 of this permit.
discharge of cuttings generated using drilling flu-     base fluid blend. See Part I.D.8 and Part I.D.9 of
ids which contain mineral oil is prohibited except      this permit.                                               Drilling Fluids which meet stock limitations
                                                                                                                 for C16-C18 internal olefin: the end-of-well maxi-
when the mineral oil is used as a carrier fluid           Stock limitations are designed to ensure that only     mum weighted mass ratio averaged over all well
(transporter fluid), lubricity additive, or pill.       base fluids meeting limits established by the Efflu-     sections drilled using non aqueous fluids shall not
                                                        ent Limitations Guidelines are added to existing         exceed 6.9 grams non aqueous base fluids per 100
[I.B.2.b.] Limitations which apply to all               drilling fluids. As long as blends of fluids that are    grams of wet drill cuttings.
drill cuttings                                          added to a built mud system meet the stock limita-
                                                        tions and the original drilling fluid was built using      Drilling fluids which meet stock limitations
  Cadmium and Mercury in Barite. Drill cuttings         base fluids or blends of fluids that meet the stock      for C12-C14 ester or C8 ester: the end-of-well maxi-
generated using drilling fluids to which barite has     limitations, it is acceptable to mix a base fluid with   mum weighted mass ratio averaged over all well
been added shall not be discharged if the barite        a built whole mud system. It is also acceptable to       sections drilled using non aqueous fluids shall not
contains mercury in excess of 1.0 mg/kg (dry            mix together two built whole mud systems that            exceed 9.4 grams non aqueous base fluids per 100
weight) or cadmium in excess of 3.0 mg/kg (dry          contain different base fluids so long as they are        grams of wet drill cuttings.
weight).                                                themselves built with base fluids that are compliant
                                                        with the stock limitations.                                Discharges of Drill Cuttings Made at the Sea
  Toxicity. Drill cuttings generated using drilling                                                              Floor. A default value of 14% of base fluids re-
fluids with a daily minimum or a monthly average        [I.B.2.c.2.] Discharge Limitations:                      tained on drill cuttings may be used for determin-
minimum 96-hour LC50 of less than 30,000 ppm                                                                     ing compliance with the base fluids retained on
in a 9:1 seawater to drilling fluids suspended par-       Sediment Toxicity. The ratio of the 4-day LC50 of      cuttings limits when sea floor discharges are made
ticulate phase (SPP) volumetric ratio as measured       C16 - C18 internal olefin reference drilling fluid       from dual gradient drilling. In those cases 15% will
using the Mysidopsis bahia shall not be dis-            divided by the 4-day LC50 of the drilling fluids,        be used as a default value for the mass fraction of
charged.                                                removed from cuttings at the solids control equip-       cuttings discharged sub sea. The default values
                                                        ment, shall not exceed 1.0. Monitoring shall be          will be averaged with results obtained from daily
  Free Oil. No free oil shall be discharged. Moni-      performed at least once per month on drilling            monitoring to determine compliance with the
toring shall be performed using the static sheen test   fluids which meet the stock limitations for a C16-C18    retention limitations.
method once per week when discharging. The              internal olefin. For drilling fluids which meet stock
number of days a sheen is observed must be re-          limitations for C12-C14 ester or C8 ester, monitoring      Additionally, operators performing dual gradient
corded.                                                 shall be performed at least once per well at the end     drilling operations which lead to sub sea dis-
                                                        of drilling with non aqueous based drilling fluids.      charges of large cuttings for the proper operation
[I.B.2.c.] Limitations and Monitoring                   See Appendix A of this permit and sampling proto-        of sub sea pumps shall also perform the following
Requirements Which Apply to Drill                       col in Part I.D.9.                                       tasks:
Cuttings Generated Using Non aque-                         The reference drilling fluid shall be formulated      [I.B.2.c.3.a.] Dual Gradient: Use side scan sonar
ous Based Drilling Fluids.                              from C16 - C18 internal olefin and meet the criteria     or shallow seismic to determine the presence of
                                                        listed in Table 1 of 40 CFR Part 435, Subpart A,         high density chemosynthetic communities as de-
[I.B.2.c.1.] Stock Limitations:                         Appendix 8. A uniform emulsifier package shall be        fined by the Minerals Management Service.
                                                        used for all formulations of reference drilling          Chemosynthetic communities are assemblages of
   The permittee shall analyze a representative         fluids.                                                  tube worms, clams, mussels, and bacterial mats
sample of the stockbase fluids at the frequencies                                                                that occur at natural hydrocarbon seeps or vents,
listed below. The test results shall be reported on       Formation Oil. No discharge. Monitoring shall          generally in water depths of 500 meters or deeper.
the Discharge Monitoring Report. Stock limita-          be performed on the drilling fluid                       Discharges of large cuttings for the proper opera-
tions are designed to ensure that only stock base       as follows:                                              tion of subsea pumps shall not be permitted within
fluids meeting BAT criteria are added to existing                                                                1500 feet of a high density chemosynthetic com-
drilling muds. It is acceptable to mix two or more      [I.B.2.c.2.a.] Formation Oil: Once prior to drill-       munity.
stock base fluids together as long as they are each     ing using the gas chromatography/mass spectrome-
compliant with the stock limitation requirements.       try test method specified in Part I, Section D.10 of     [I.B.2.C.3.b.] Dual Gradient: Sea floor dis-
The stock limitation value reported on the DMR          this permit. The test results shall be reported on the   charges of large cuttings for the proper operation
shall be the worst result of any one stock base fluid   DMR.                                                     of sub sea pumps shall be visually monitored and
which is added to the drilling fluid system.                                                                     documented by a Remotely Operated Vehicle
                                                          Alternatively, the permittee may provide certifi-      (ROV) within the tether limit (approximately 300
  Alternatively, the permittee may provide certifi-     cation, as documented by the supplier(s), that the       feet). The visual monitoring shall be conducted
cation, as documented by the supplier(s), that the      drilling fluid being used on the well will meet the      prior to each time the discharge point is relocated
stock base fluid being used on the well will meet       no discharge limit for formation oil.                    (cuttings discharge hose) and conducted along the
the limits listed below.
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 6 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 5
same direction as the discharge hose position.           [I.B.2.c.4.b.] Best Management Practices: BMP         BMP Plan shall be consistent with the objectives
Near-seabed currents shall be measured at the time       Plan Requirements                                     and specific requirements listed in this permit. All
of the visual monitoring.                                                                                      changes in the BMP Plan shall be reviewed by the
                                                           The BMP Plan may reflect requirements within        operator’s drilling engineer and authorized on-site
[I.B.2.C.3.c.] Dual Gradient: Discharges of large        the pollution prevention requirements required by     representative.
cuttings for the proper operation of sub sea pumps       the Minerals Management Service (see 30 CFR
shall be directed within a 150 foot radius of the        250.300) or other Federal or State requirements         At any time, if the BMP Plan proves to be inef-
wellbore.                                                and incorporate any part of such plans into the       fective in achieving the general objective of pre-
                                                         BMP Plan by reference.                                venting and minimizing the discharge of NAF-
  De Minimis Discharges of Non aqueous Based                                                                   wastes the BMP Plan shall be subject to modifica-
Drilling Fluids. De minimis discharges of non              The operator shall certify that its BMP Plan is     tion. If the BMP requirements in the permit are
aqueous based drilling fluids not associated with        complete, on-site, and available upon request to      modified, the BMP Plan must be modified to in-
cuttings shall be contained to the extent practicable    EPA. A copy of the certification shall be kept with   corporate the revised BMP requirements within
to prevent discharge. Allowable de minimis dis-          the BMP Plan.                                         three months.
charges can include wind blown drilling fluids
from the pipe rack and minor drips and splatters           The BMP Plan shall:                                 [I.B.2.c.4.e.] Best Management Practices:
around mud handling and solids control equip-                                                                  Specific Pollution Prevention Requirements for
                                                           Be documented in narrative form, and shall
ment. Such de minimis discharges are not likely to                                                             NAF Discharges Associated with Cuttings
                                                         include any necessary plot plans, drawings or
be measurable and are not considered in the              maps, and shall be developed in accordance with
base fluids retained on cuttings limit.                                                                          The following specific pollution prevention
                                                         good engineering practices. At a minimum, the         activities are required in a BMP Plan when opera-
  Small Volume Drilling Fluid Discharges. Small          BMP Plan shall contain the planning, development
                                                                                                               tors elect to control NAF discharges associated
volume drilling fluid discharges which are associ-       and implementation, and evaluation/reevaluation
                                                                                                               with cuttings by a set of BMPs.
ated with cuttings and for which discharge is au-        components. Examples of these components are
thorized are: displaced interfaces, accumulated          contained in “Guidance Document for Developing          Establish programs for identifying, documenting,
solids in sand traps, pit clean-out solids, centrifuge   Best Management Practices (BMP)” (EPA 833-B–          and repairing malfunctioning NAF equipment,
discharges made while changing mud weight. To            93–004, U.S. EPA, 1993).                              tracking NAF equipment repairs, and training
determine the percent of drilling fluids retained on       Address each component or system capable of         personnel to report and evaluate malfunctioning
cuttings for those discharges, the operator may          generating or causing a release of significant        NAF equipment.
either monitor the discharge using the retort test       amounts of NAF and identify specific preventive
method or use a default value of 25% to determine                                                                Establish operating and maintenance procedures
                                                         or remedial measures to be implemented.               for each component in the solids control system in
compliance with the limitation. Required discharge
monitoring for small volume discharges consists                                                                a manner consistent with the manufacturer’s de-
                                                          Include the following provisions concerning
only of static sheen tests and retention on cuttings                                                           sign criteria.
                                                         BMP Plan review:
(or use of the default retention on cuttings value).
                                                                                                                 Use the most applicable spacers, flushes, pills,
                                                           Be reviewed by operator’s drilling engineer and
  Best Management Practices.                             on-site representative to ensure compliance with
                                                                                                               and displacement techniques in order to minimize
                                                                                                               contamination of drilling fluids when changing
                                                         the BMP Plan purpose and objectives set forth in
  Operators (in conjunction with drilling contrac-                                                             from water-based drilling fluids to NAF and vice
tors) may design and implement a Best Manage-            paragraph a) of this section.
                                                                                                               versa.
ment Practices (BMP) Plan in accordance with the
                                                          And
following requirements. BMP Plans are an option                                                                  A daily retort analysis shall be performed (in
to help reduce monitoring of base fluids retained          Include a statement that the review has been        accordance with Appendix 7 to Subpart A of 40
on cuttings. Operators are not required to use           completed and that the BMP Plan fulfills the BMP      CFR Part 435) during the first 0.33 X feet drilled
BMPs if all cuttings discharges generated using          Plan purpose and objectives set forth in paragraph    with NAF where X is the anticipated total feet to
non aqueous based drilling fluids are monitored          a). This statement shall have dated signatures from   be drilled with NAF for that particular well. The
daily as described above. Where BMPs will be             the operator’s drilling engineer and authorized on-   retort analyses shall be documented in the well
used, the BMP plan shall be certified and imple-         site representative responsible for development and   retort log. The operators shall use the calculation
mented prior to discharge of drill cuttings pro-         implementation of the BMP Plan.                       procedures detailed in Appendix 7 to Subpart A of
duced using non aqueous based drilling fluids.                                                                 Part 435 (see Equations 1 through 8) to determine
                                                         [I.B.2.c.4.c.] Best Management Practices: BMP         the arithmetic average (%BFwell) of the retort
[I.B.2.c.4.a.] Best Management Practices: BMP            Plan Documentation                                    analyses taken during the first 0.33 X feet drilled
Plan Purpose and Objectives                                                                                    with NAF.
                                                           The operator shall maintain a copy of the BMP
  Operators shall identify in advance of drilling        Plan and related documentation (e.g., training           When the arithmetic average (%BFwell) of the
operations each non aqueous base fluid well that         certifications, summary of the monitoring results,    retort analyses taken during the first 0.33 X feet
will use a BMP Plan. BMP Plans shall be designed         records of NAF- equipment spills, repairs, and        drilled with NAF is less than or equal to the base
to prevent or minimize the discharge of Non Aque-        maintenance) at the facility and shall make the       fluid retained on cuttings limitation or standard
ous Fluid (NAF) from the facility to the waters of       BMP Plan and related documentation available to       (see §§435.13 and 435.15), retort monitoring of
the United States, through normal operations and         EPA or the NPDES Permit controlling authority         cuttings may cease for that particular well. The
ancillary activities. The operator shall establish       upon request.                                         same BMPs and drilling fluid used during the first
specific objectives for the control of NAF by con-                                                             0.33 X feet shall be used for all remaining NAF
ducting the following evaluations.                       [I.B.2.c.4.d.] Best Management Practices: BMP         sections for that particular well.
                                                         Plan Modification
  Each facility component or system controlled                                                                   When the arithmetic average (%BFwell) of the
through use of BMPs shall be examined for its              For those NAF waste streams controlled through      retort analyses taken during the first 0.33 X feet
NAF-waste minimization opportunities and its             BMPs, the operator shall amend the BMP Plan           drilled with NAF is greater than the base fluid
potential for causing a discharge of NAF to waters       within 14 days whenever there is a change in the      retained on cuttings limitation or standard (see
of the United States due to equipment failure,           facility or in the operation of the facility which    §§435.13 and 435.15), retort monitoring shall
improper operation, natural phenomena (e.g., rain,       materially increases the generation of those NAF-     continue for the following (second) 0.33 X feet
snowfall). When there is a reasonable potential for      wastes or their release or potential release to the   drilled with NAF where X is the anticipated total
NAF reaching surface waters, the BMP Plan shall          receiving waters.                                     feet to be drilled with NAF for that particular well.
include a prediction of the total quantity of NAF                                                              The retort analyses for the first and second 0.33 X
which could be discharged from the facility as a           At a minimum the BMP Plan shall be reviewed         feet shall be documented in the well retort log.
result of each condition or circumstance.                once every five years and amended within three
                                                         months if warranted. Any such changes to the
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 7 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 6
   When the arithmetic average (%BFwell) of the          monthly average of 29 mg/l for oil and grease.           shall be based on the port flow rate (total flow rate
retort analyses taken during the first 0.66 X feet                                                                divided by the number of discharge ports) and
                                                           Toxicity. The 7-day average minimum and
(i.e., retort analyses taken from first and second                                                                based on the diameter of the discharge port (or
                                                         monthly average minimum No Observable Effect
0.33 X feet) drilled with NAF is less than or equal                                                               smallest discharge port if they are of different
                                                         Concentration (NOEC) must be equal to or greater
to the base fluid retained on cuttings limitation or                                                              styles).
                                                         than the critical dilution concentration specified in
standard (see §§435.13 and 435.15), retort moni-
                                                         Appendix D, Table 1 of this permit. Critical dilu-         When seawater is added to produced water prior
toring of cuttings may cease for that particular
                                                         tion shall be determined using Table 1 in Appendix       to discharge, the total produced water flow, includ-
well. The same BMPs and drilling fluid used dur-
                                                         D of this permit and is based on the highest             ing the added seawater, shall be used in determin-
ing the first 0.66 X feet shall be used for all re-
                                                         monthly average discharge rate for the three             ing the critical dilution from Appendix D, Table 1.
maining NAF sections for that particular well.
                                                         months prior to the month in which the test sample
   When the arithmetic average (%BFwell) of the          is collected, discharge pipe diameter, and water         [I.B.4.b.] Produced Water Monitoring
retort analyses taken during the first 0.66 X feet       depth between the discharge pipe and the bottom.         Requirements
(i.e., retort analyses taken from first and second       The monthly average minimum NOEC value is
0.33 X feet) drilled with NAF is greater than the        defined as the arithmetic average of all 7-day aver-     [I.B.4.b.1.] Flow. Once per month an estimate of
base fluid retained on cuttings limitation or stan-      age NOEC values determined during the month.             the flow must be recorded in units of barrels per
dard (see §§435.13 and 435.15), retort monitoring                                                                 day (bbl/day).
shall continue for all remaining NAF sections for          Compliance with sub-lethal effects must be
that particular well. The retort analyses for all NAF                                                             [I.B.4.b.2.] Samples for oil and grease monitoring
                                                         achieved within two years after the effective date
sections shall be documented in the well retort log.                                                              shall be collected and analyzed a minimum of once
                                                         of this permit.
                                                                                                                  per month. In addition, a produced water sample
  When the arithmetic average (%BFwell) of the                                                                    shall be collected, within two (2) hours of when a
                                                           [Exception] Permittees wishing to increase mix-
retort analyses taken over all NAF sections for the                                                               sheen is observed in the vicinity of the discharge or
                                                         ing may use a diffuser, add seawater, or install
entire well is greater that the base fluid retained on                                                            within two hours after startup of the system if it is
                                                         multiple discharge ports. Alternatively, permittees
cuttings limitation or standard (see §§435.13 and                                                                 shut down following a sheen discovery, and ana-
                                                         wishing to reduce the critical dilution of the dis-
435.15), the operator is in violation of the base                                                                 lyzed for oil and grease. The sample type for all oil
                                                         charge may make operational changes that reduce
fluid retained on cuttings limitation or standard and                                                             and grease monitoring shall be either grab, or a
                                                         the flow rate, such as, shutting-in wells.
shall submit notification of these monitoring val-                                                                composite which consists of the arithmetic average
ues in accordance with NPDES permit require-               Permittees wishing to reduce a produced water          of the results of grab samples collected at even
ments. Additionally, the operator shall, as part of      discharge rate, and thereby the critical dilution,       intervals during a period of 24-hours or less. If
the BMP Plan, initiate a re-evaluation and modifi-       through operational changes must provide EPA             only one sample is taken for any one month, it
cation to the BMP Plan in conjunction with equip-        with a description of the specific changes that were     must meet both the daily maximum and monthly
ment vendors and/or industry specialists.                made and the resultant flow rate. The permittee          average limits. Samples for oil and grease monitor-
                                                         must certify that this flow rate will not be exceeded    ing shall be collected prior to the addition of any
  The operator shall maintain retort monitoring                                                                   seawater to the produced water waste stream. The
data and dates of retort-monitored and non-retort-       for the remainder of the DMR period, unless the
                                                         permittee re-certifies.                                  analytical method is that specified at 40 CFR Part
monitored NAF-cuttings discharges managed by                                                                      136.
BMPs in their NPDES permit records.                        Permittees using a diffuser shall install the dif-
                                                         fuser designed so that the 7-day average minimum         [I.B.4.b.3.] Toxicity. The flow used to determine
  Establishing mud pit and equipment cleaning
                                                         and monthly average minimum No Observable                the frequency of toxicity testing shall be the high-
methods in such a way as to minimize the potential
                                                         Effect Concentration (NOEC) is equal to or greater       est monthly average flow for the three months
for building-up drill cuttings (including accumu-
                                                         than the critical dilution concentration as calcu-       prior to the month in which the test sample is col-
lated solids) in the active mud system and solids
                                                         lated using CORMIX2 version 3.20. The permittee          lected. The required frequency of testing shall be
control equipment system. These cleaning methods
                                                         has the option of using a newer version of COR-          determined as follows:
shall include but are not limited to the following
                                                         MIX2, with the following input conditions:
procedures.

  Ensure proper operation and efficiency of mud            Density Gradient = 0.15 ౦T/m
pit agitation equipment.                                  Ambient seawater density at diffuser depth =                                            Toxicity Testing
                                                          1017 kg/m³                                                   Discharge Rate
                                                                                                                                                     Frequency
  Use mud gun lines during mixing operations to           Produced water density = 1070 kg/m³
provide agitation in dead spaces.                         Current speed = 10 cm/sec.

  Pump drilling fluids off of drill cuttings               Permittees shall submit a certification that the                                   once per annual DMR
(including accumulated solids) for re-use, recycle,      diffuser has been installed and state the critical       0 - 4,559 bbl/day
                                                                                                                                              monitoring period
or disposal before using wash water to dislodge          dilution corresponding to the diffuser in the certifi-
solids.                                                  cation. The CORMIX2 model runs shall be re-
                                                         tained by the permittee as part of its NPDES re-
[I.B.3.] Deck Drainage                                   cords.                                                                               once per calendar
                                                                                                                  4,600 bbl/day and above
[I.B.3.a.] Limitations                                                                                                                        quarter
                                                           Permittees discharging produced water at a rate
  Free Oil. No free oil shall be discharged, as          greater than 75,000 bbl/day shall determine the
determined by the visual sheen method on the             critical dilution using CORMIX version 3.20 (or a          The calendar quarters are defined as the follow-
surface of the receiving water. Monitoring shall be      newer version of CORMIX) with the input pa-              ing periods: January 1 to March 31, April 1 to
performed once per day when discharging, during          rameters shown above. Permittees shall retain the        June 30, July 1 to September 30, and October 1 to
conditions when an observation of a visual sheen         model run as a part of the NPDES records.                December 31
on the surface of the receiving water is possible in
the vicinity of the discharge, and the facility is         Permittees using vertically aligned multiple             Toxicity testing requirements for new discharges
manned. The number of days a sheen is observed           discharge ports shall provide vertical separation        shall become effective three months after dis-
must be recorded.                                        between ports which is consistent with Appendix          charge begins and continue on the appropriate
                                                         D, Table 1-G of this permit. When multiple dis-          calendar quarter or annual DMR monitoring pe-
[I.B.4.] Produced Water                                  charge ports are installed, the depth difference         riod.
[I.B.4.a.] Limitations                                   between the discharge port closest to the sea floor
                                                         and the sea floor shall be the depth difference used       Samples for monitoring produced water toxicity
 Oil and Grease. Produced water discharges must          to determine the critical dilution from Appendix D,      shall be collected after addition of any added sub-
meet both a daily maximum of 42 mg/l and a               Table 1 of this permit. The critical dilution value      stances, including seawater that is added prior to
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 8 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 7
discharge, and before the flow is split for multiple     water for monitoring purposes when commingled             [I.B.10.] Miscellaneous Discharges
discharge ports. Samples also shall be representa-       with produced water.
                                                                                                                    Desalinization Unit Discharge
tive of produced water discharges when scale
                                                                                                                    Diatomaceous Earth Filter Media
inhibitors, corrosion inhibitors, biocides, paraffin     [I.B.7.] Sanitary Waste (Facilities Continuously
                                                                                                                    Blowout Preventer Control Fluid
inhibitors, well completion fluids, workover fluids,     Manned for 30 or more consecutive days by 10
                                                                                                                    Uncontaminated Ballast Water
and/or well treatment fluids are used in operations.     or More Persons)
                                                                                                                    Uncontaminated Bilge Water
  If the permittee has been subject to quarterly         [I.B.7.a.] Prohibitions                                    Mud, Cuttings, and Cement at the Seafloor
testing and has been compliant with these toxicity                                                                  Uncontaminated Freshwater
                                                           Solids. No floating solids may be discharged to          Uncontaminated Seawater
limits for one full year (four consecutive quarters),
                                                         the receiving waters. An observation must be made          Boiler Blowdown
the required testing frequency shall be reduced to
                                                         once per day for floating solids. Observation must         Source Water and Sand
once per annual DMR monitoring period. If the
                                                         be made during daylight in the vicinity of sanitary        Excess Cement Slurry
permittee has been subject to annual testing and
                                                         waste outfalls following either the morning or             Sub sea Wellhead Preservation Fluids
has been compliant for the first year, the required
                                                         midday meal and at a time during maximum esti-             Sub sea Production Control Fluid
toxicity testing frequency shall remain once per
                                                         mated discharge. The number of days solids are             Hydrate Control Fluid
annual DMR monitoring period even if the dis-
                                                         observed must be recorded.                                 Umbilical Steel Tube Storage Fluid
charge rate subsequently exceeds 4,599 bbl/day. If
the permittee monitored produced water toxicity at                                                                  Leak Tracer Fluid
                                                         [I.B.7.b.] Limitations                                     Riser Tensioner Fluids
the reduced frequency of once per annual DMR
monitoring period under the previous Outer Conti-          Residual Chlorine. Total residual chlorine (TRC)
nental Shelf general permit, the required monitor-       is a surrogate parameter for fecal coliform. Dis-         [I.B.10.a.] Limitations
ing frequency shall remain once per annual DMR           charge of TRC must meet a minimum of 1 mg/l
                                                                                                                     Free Oil. No free oil shall be discharged. Dis-
monitoring period. See Part I.D.3.e of this permit,      and shall be maintained as close to this concentra-       charge is limited to those times that a visual sheen
if a test fails the survival or sub-lethal endpoint at   tion as possible. A grab sample must be taken once
                                                                                                                   observation is possible unless the operator uses the
the critical dilution in any test.                       per month and the concentration recorded
                                                                                                                   static sheen method. Monitoring shall be per-
                                                         (approved method, Hach CN-66-DPD).                        formed using the visual sheen method on the sur-
[I.B.4.b.4.] Visual Sheen The permittee shall                                                                      face of the receiving water once per week when
                                                           [Exception] Any facility which properly operates
monitor free oil using the visual sheen test method                                                                discharging, or by use of the static sheen method at
                                                         and maintains a marine sanitation device (MSD)
on the surface of the receiving water. Monitoring                                                                  the operator's option. The number of days a sheen
                                                         that complies with pollution control standards and
shall be performed once per day when discharging,                                                                  is observed must be recorded.
                                                         regulations under section 312 of the Act shall be
during conditions when observation of a sheen on
                                                         deemed in compliance with permit prohibitions               [Exceptions] Uncontaminated seawater, uncon-
the surface of the receiving water is possible in the
                                                         and limitations for sanitary waste. The MSD shall         taminated freshwater, source water and source
vicinity of the discharge, and when
                                                         be tested yearly for proper operation and the test        sand, uncontaminated bilge water, and uncontami-
the facility is manned.
                                                         results maintained for three years at the facility or     nated ballast water may be discharged from plat-
[I.B.5.] Produced Sand                                   at an alternate site if not practicable.                  forms that are on automatic purge systems without
  There shall be no discharge of produced sand.          [I.B.8.] Sanitary Waste (Facilities Continuously          monitoring for free oil when the facilities are not
                                                         Manned for thirty or more consecutive days by             manned. Additionally, discharges at the sea floor
[I.B.6.] Well Treatment Fluids, Completion
                                                         9 or Fewer Persons or Intermittently by Any               of: muds and cuttings prior to installation of the
Fluids, and Workover Fluids
                                                         Number)                                                   marine riser, cement, blowout preventer fluid, sub
                                                                                                                   sea wellhead preservation fluids, sub sea produc-
[I.B.6.a.] Limitations                                                                                             tion control fluid, umbilical steel tube storage
                                                         [I.B.8.a.] Prohibitions
   Free Oil. No free oil shall be discharged. Moni-                                                                fluid, leak tracer fluid, and riser tensioner fluids
                                                           Solids. No floating solids may be discharged to         may be discharged without monitoring with the
toring shall be performed using the static sheen test
                                                         the receiving waters. An observation must be made         static sheen test when conditions make observation
method once per day when discharging and the
                                                         once per day for floating solids. Observation must        of a visual sheen on the surface of the receiving
facility is manned. The number of days a sheen is
                                                         be made during daylight in the vicinity of sanitary       water impossible. Discharges of muds, cuttings,
observed must be recorded.
                                                         waste outfalls following either the morning or            and cement at the seafloor before installation of the
  Oil and Grease. Well treatment, completion, and        midday meal and at a time during maximum esti-            marine riser are exempted from the free oil limita-
workover fluids must meet both a daily maximum           mated discharge. The number of days solids are            tion.
of 42 mg/l and a monthly average of 29 mg/l limi-        observed must be recorded.
tation for oil and grease. The sample type for all oil                                                               Toxicity. Fluids which are used as Sub sea Well-
                                                           [Exception] Any facility which properly operates
and grease monitoring shall be either grab or a                                                                    head Preservation Fluids, Sub sea Production
                                                         and maintains a marine sanitation device (MSD)
composite which consists of the arithmetic average                                                                 Control Fluids, Umbilical Steel Tube Storage
                                                         that complies with pollution control standards and
of the results of grab samples collected at even                                                                   Fluids, Leak Tracer Fluids, and Riser Tensioning
                                                         regulations under section 312 of the Act shall be
intervals during a period of 24 hours or less. If                                                                  Fluids shall have a 7-day No Observable Effect
                                                         deemed to be in compliance with permit prohibi-
only one sample is taken for any one month, it                                                                     Concentration (NOEC) of no less than 50 mg/l.
                                                         tions and limitations for sanitary waste. The MSD
must meet both the daily and monthly limits. The                                                                   The 7-day NOEC shall be measured using Mysi-
                                                         shall be tested yearly for proper operation and the
analytical method is that specified at 40 CFR Part                                                                 dopsis bahia (Mysid shrimp) chronic static renewal
                                                         test results maintained for three years at the facility
136.                                                                                                               7-day survival and growth test and Menidia beryl-
                                                         or at an alternate site if not practicable.
                                                                                                                   lina (Inland Silverside minnow) chronic static
  Priority Pollutants. For well treatment fluids,                                                                  renewal 7-day larval survival and growth test
                                                         [I.B.9.] Domestic Waste
completion fluids, and workover fluids, the dis-                                                                   (Method 1006.0) as described in Section D.3 of
charge of priority pollutants is prohibited except in    [I.B.9.a.] Prohibitions                                   this permit. Compliance with this limit shall be
trace amounts. Information on the specific chemi-          Solids. No floating solids or foam shall be dis-        measured at least once per year, using the survival
cal composition of any additives containing prior-       charged.                                                  and sub-lethal endpoints, on each fluid added to an
ity pollutants shall be recorded.                                                                                  operation after the effective date of this permit. If
                                                         [I.B.9.b.] Monitoring Requirements                        the effluent fails the survival or sub-lethal test
  [Note] If materials added downhole as well treat-                                                                endpoint in any test, any discharge associated with
ment, completion, or workover fluids contain no            An observation shall be made once per day dur-          use of the product will be considered to be in vio-
priority pollutants, the discharge is assumed not to     ing daylight in the vicinity of domestic waste out-       lation of this permit.
contain priority pollutants except possibly in trace     falls following the morning or midday meal and at
amounts.                                                 a time during maximum estimated discharge. The            [I.B.11.] Miscellaneous Discharges of Seawater
                                                         number of days solids are observed must be re-            and Freshwater which have been chemically
[I.B.6.b.] Monitoring Requirements                       corded.                                                   treated.
  This discharge shall be considered produced
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 9 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 8
 Excess seawater which permits the continuous                                           Toxicity Testing          in the vicinity of the cooling water intake structure;
 operation of fire control and utility lift                  Discharge Rate
                                                                                          Frequency
 pumps
 Excess seawater from pressure maintenance and                                      once per annual DMR           [I.B.12.a.3.] Identification of the species and life
                                                        0 - 499 bbl/day
 secondary recovery projects                                                        monitoring period             stages that would be most susceptible to
 Water released during training of personnel in                                                                   impingement and entrainment. Species evaluated
 fire protection                                                                    once per calendar             should include the forage base as well as those
                                                        500 - 4,599 bbl/day
 Seawater used to pressure test new and existing                                    quarter                       most important in terms of significance to com-
 piping and pipelines                                   4,600 bbl/day and                                         mercial and recreational fisheries;
 Ballast water                                                                      once per month
                                                        above
 Once Through Non-contact cooling water
                                                                                                                  [I.B.12.a.4.] Identification and evaluation of the
                                                          Intermittent or batch discharges shall be moni-
[I.B.11.a.] Limitations                                                                                           primary period of reproduction, larval recruitment,
                                                        tored once per discharge but are required to be
                                                                                                                  and period of peak abundance for relevant taxa;
  Treatment Chemicals. The concentration of             monitored no more frequently than the correspond-
treatment chemicals in discharged seawater or           ing frequencies shown above for continuous dis-           [I.B.12.a.5.] Data representative of the seasonal
freshwater shall not exceed the most stringent of       charges.                                                  and daily activities (e.g., feeding and water column
the following three constraints:
                                                                                                                  migration) of biological organisms in the vicinity
                                                          Samples shall be collected after addition of any
[I.B.11.a.1.] the maximum concentrations and any        added substances, including seawater that is added        of the cooling water intake structure;
other conditions specified in the EPA product           prior to discharge, and before the flow is split for
                                                                                                                  [I.B.12.a.6.] Identification of all threatened, endan-
registration labeling if the chemical is an EPA         multiple discharge ports. Samples also shall be
                                                                                                                  gered, and other protected species that might
registered product                                      representative of the discharge. Methods to in-
                                                                                                                  be susceptible to impingement and entrainment at
                                                        crease dilution previously described for produced
[I.B.11.a.2.] the maximum manufacturer's recom-                                                                   your cooling water intake structures;
                                                        water in Part I.B.4.a. also apply to seawater and
mended concentration                                    freshwater discharges which have been chemically          [I.B.12.a.7.] If the information above is supple-
                                                        treated.                                                  mented with data from field studies, the supple-
[I.B.11.a.3.] 500 mg/l
                                                                                                                  mental data must include a description of all meth-
                                                          If the permittee has been compliant with this
  Free Oil. No free oil shall be discharged. Dis-                                                                 ods and quality assurance procedures for sampling
                                                        toxicity limit for one full year (12 consecutive
charge is limited to those times that a visible sheen                                                             and data analysis including a description of the
                                                        months) for a continuous or routine intermittent
observation is possible unless the operator uses the                                                              study area; taxonomic identification of sampled
                                                        discharge of chemically treated seawater or fresh-
static sheen method. Monitoring shall be per-                                                                     and evaluated biological assemblages
                                                        water, the required testing frequency shall be re-
formed using the visual sheen method on the sur-                                                                  (including all life stages of fish and shellfish); and
                                                        duced to once per annual DMR monitoring period
face of the receiving water once per week when                                                                    sampling and data analysis methods. The sampling
                                                        for that discharge.
discharging, or by use of the static sheen method at                                                              and/or data analysis methods you use must be
the operator's option. The number of days a sheen         Miscellaneous discharges of seawater and fresh-         appropriate for a quantitative survey and based on
is observed must be recorded.                           water to which chlorine or hypochlorite have been         consideration of methods used in other biological
                                                        added are excluded from this monitoring provision.        studies performed within the same source water
  Exception: Monitoring for free oil on discharges                                                                body. The study area should include, at a mini-
from existing piping and existing pipelines shall be                                                              mum, the area of influence of the cooling water
                                                        [I.B.12.] Cooling Water Intake Structure
performed at least three times per discharge as                                                                   intake structure.
                                                        Requirements
follows: 1) within thirty minutes after commence-
ment of discharge; 2) at the estimated middle of                                                                    Alternatively, operators may comply with these
                                                          Applicability: These requirements apply to new
the discharge; and 3) within fifteen minutes before                                                               requirements and the entrainment monitoring
                                                        facilities for which construction was commenced
or after the discharge has ceased.                                                                                requirements in section B.12.d of this permit
                                                        after July 17, 2006, with a cooling water intake
                                                                                                                  through participation in an EPA approved industry
  Toxicity. The 48-hour minimum and monthly             structure having a design intake capacity of greater
                                                                                                                  wide study. That study may include a smaller,
average minimum NOEC, must be equal to or               than 2 million gallons of water per day, of which at
                                                                                                                  statistically representative number of facilities.
greater than the critical dilution concentration        least 25% is used for cooling purposes.
                                                                                                                  Any industry wide baseline study which is con-
specified in this permit in Appendix D, Table 2-A       [I.B.12.a.] Baseline Study requirements                   ducted must be commenced within one year after
for seawater discharges and 2-B for freshwater                                                                    the effective date of this permit and completed
discharges. Critical dilution shall be determined         These baseline study requirements are effective         within two years after the effective date. Any
using Table 2 in Appendix D of this permit and is       one year after the effective date of this permit.         industry wide study conducted to meet the entrain-
based on the discharge rate, discharge pipe diame-                                                                ment monitoring requirements in section B.12
ter, and water depth between the discharge pipe           As described below, operators of cooling water          must be commenced within two years after the
and the bottom. The monthly average minimum             intake structures subject to Part I.B.12 may either       effective date of this permit or the installation of
NOEC value is defined as the arithmetic average         conduct a study at each new facility or they may          a new facility subject to the cooling water intake
of all 48-hour average NOEC values determined           participate in an industry wide study. Operators          structure requirements of Part I.B.12 whichever is
during the month. In cases where the discharge          may participate after the close of the study.             later. The industry wide study must be completed
point for hydrostatic test water is sub sea, such as                                                              three years after its commencement.
the sub sea end of a pipeline, and it is impractical      Operators of new facilities must submit sufficient
to collect a sample at the discharge point, operators   information to characterize the biological commu-
                                                                                                                  [I.B.12.b.] Supplemental Notification
may collect a sample for this monitoring require-       nity of commercial, recreational, and forage base
                                                                                                                  Requirements
ment prior to use of the fluid.                         fish and shellfish in the vicinity of the intake struc-
                                                        ture and to characterize the effects of the cooling          Design information must be submitted at least
[I.B.11.b.] Monitoring Requirements                     water intake structure’s operation on aquatic life.       30 days in advance of a facility commencing op-
                                                        This biological characterization must include any         erations in the geographical area covered by this
 Flow. Once per month, an estimate of the flow          available existing information along with field           permit. Design information required to be submit-
(MGD) must be recorded.                                 studies to obtain localized data. At a minimum, the       ted for cooling water intake structures is only
                                                        information must include:                                 required to be submitted once for any facility that
  Toxicity. The required frequency of testing for
continuous discharges shall be determined as fol-       [I.B.12.a.1.] A list of the data required by this         these requirements are applicable. Design informa-
lows:                                                   section that are not available and efforts made to        tion is not required to be resubmitted for additional
                                                        identify sources of the data;                             leases where the facility subsequently operates or
                                                                                                                  for a subsequent permit. EPA will notify the opera-
                                                        [I.B.12.a.2.] A list of species (or relevant taxa) for    tor if additional information is required. Owners/
                                                        all life stages and their relative abundance              operators of MODUs must also submit an NOI, in
                                                                                                                  accordance with Part I.A.2 of this permit. The NOI
                                                                                                                  shall be submitted and postmarked prior to
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 10 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 9
operating.                                              and the results of such studies; and                      New Fixed Facilities that do not employ sea
                                                                                                                  chests as intake structures
New non-fixed facilities must submit:                   3. Locational maps.
  A narrative description and/or maps providing         Cooling water intake structure data, including:              1. The cooling water intake structure must be
sufficient information on predicted locations dur-                                                                designed and constructed so that the maximum
                                                          1. Design and construction technology plans and
ing the permit term in sufficient detail for the                                                                  through-screen design intake velocity is 0.5 ft/s;
                                                        a description of operational measures which will
Director to determine the appropriateness of addi-                                                                and
                                                        be implemented to minimize impingement, includ-
tional impingement requirements. This information
                                                        ing:                                                        2. The operator must minimize impingement
is only required to be submitted once for any facil-
ity.                                                                                                              mortality of fish and shellfish and minimize en-
                                                          i. A narrative description of the design and op-
                                                                                                                  trainment of entrainable life stages of fish and
                                                        eration of the design and construction technologies
Velocity information, including:                                                                                  shellfish through the use of cooling water intake
                                                        including fish handling and return systems that the
   1. A narrative description of the design, struc-                                                               design and construction technologies or opera-
                                                        facility will utilize to maximize the survival of
ture, equipment, and operation used to meet the                                                                   tional measures.
                                                        species expected to be most susceptible to im-
requirements of a maximum through screen intake         pingement; and                                            New Fixed Facilities that Employ Sea Chests as
velocity of 0.5 ft/s at each cooling water intake
                                                                                                                  Intake Structures
structure; and                                            ii. For those new fixed facilities that do not em-
                                                        ploy sea chests as cooling water intake structures, a
                                                                                                                    1. The cooling water intake structure(s) must be
  2. For surface cooling water intake screens only,     narrative description of the design, operation, and
                                                                                                                  designed and constructed so that the maximum
design calculations showing that the velocity re-       construction technologies that the facility will
                                                                                                                  through-screen design intake velocity is 0.5 ft/s or
quirement will be met at the minimum ambient            utilize to minimize entrainment of those species
                                                                                                                  less; and
source water surface elevation and maximum head         most susceptible to entrainment.
loss across the screens or other device.                                                                            2. The operator must minimize impingement
                                                          iii. Design calculations, drawings, and estimates
                                                                                                                  mortality of fish and shellfish through cooling
Cooling water intake structure data, including:         to support the design technologies.                       water intake design and construction technologies
  1. Design and construction technology plans and                                                                 or operational measures.
a description of operational measures which will          2. A narrative description of the configuration of
be implemented to minimize impingement, includ-         each of your cooling water intake structures and          [I.B.12.d.] Monitoring Requirements
ing:                                                    where it is located in the water body and in the
                                                                                                                  New non-Fixed Facilities
                                                        water column;
  i. A narrative description of the design, operation                                                               1. Beginning two years after the effective date of
of the design, and construction technologies in-          3. Latitude and longitude in degrees, minutes,          this permit, the operator must conduct either visual
cluding fish handling and return systems that the       and seconds for each of your cooling water intake         inspections or use remote monitoring devices
facility will utilize to maximize the survival of       structures;                                               during the period the cooling water intake structure
species expected to be most susceptible to im-                                                                    is in operation. The operator must conduct visual
pingement. Provide species specific information           4. A narrative description of the operation of          inspections at least weekly, or at a lesser frequency
that demonstrates the efficacy of the technology;       each of your cooling water intake structures, in-         as approved by the director, to ensure that the
and                                                     cluding design intake flows, daily hours of opera-        required design and construction technologies are
                                                        tion, number of days of the year in operation and         maintained and operated so they continue to func-
  ii. Design calculations, drawings, and estimates      seasonal changes, if applicable;                          tion as designed. Alternatively, the operator must
to support the descriptions above.                                                                                inspect using remote monitoring devices to ensure
                                                          5. A flow distribution and water balance diagram        that the impingement and entrainment technologies
  2. A narrative description of the configuration of    that includes all sources of water to the facility, re-   are functioning as designed.
each of your cooling water intake structures and        circulating flows, and discharges; and
where it is located in the water body and in the                                                                    However, visual or remote monitoring is not
water column;                                             6. Engineering drawings of the cooling water            required when conditions such as storms, high
                                                        intake structure.                                         seas, evacuation, or other factors make it unduly
  3. A narrative description of the operation of                                                                  hazardous to personnel, the facility, or the equip-
each of your cooling water intake structures, in-       Velocity information, including:                          ment utilized. The operator must provide an
cluding design intake flows, daily hours of opera-                                                                explanation for any such failure to visually or
                                                          1. A narrative description of the design, struc-
tion, number of days of the year in operation, and      ture, equipment, and operation used to meet the           remotely monitor with the subsequent DMR sub-
seasonal changes, if applicable;                                                                                  mittal.
                                                        requirement of a maximum through-screen intake
  4. A flow distribution and water balance diagram      velocity of 0.5 ft/s at each cooling water intake           2. For facilities that employ surface intake
that includes all sources of water to the facility,     structure; and                                            screens systems, the operator must monitor intake
recirculating flows, and discharges; and                                                                          velocity by measuring the head loss across the
                                                          2. For surface cooling water intake screens only,
                                                        design calculations showing that the velocity re-         intake screens and correlating the measured value
  5. Engineering drawings of the cooling water                                                                    with the design intake velocity. The operator must
                                                        quirement will be met at the minimum ambient
intake structure.                                                                                                 measure the head loss at the minimum ambient
                                                        source water surface elevation and maximum head
                                                        loss across the screens or other device.                  source water surface elevation using best profes-
New Fixed Facilities must submit:                                                                                 sional judgment based on available hydrological
 Source water physical data, including:                 [I.B.12.c.] Cooling Water Intake Structure                data. The operator must use the maximum head
                                                        Requirements                                              loss across the screen for each cooling water intake
  1. A narrative description and scaled drawings                                                                  structure to determine compliance with the veloc-
showing the physical configuration of all source                                                                  ity requirement. For facilities utilizing devices
                                                        New non-Fixed Facilities
water bodies used by your facility, including aerial                                                              other than surface intake screens, the facility shall
dimensions, depths, salinity and temperature re-          1. The cooling water intake structure(s) must be        monitor intake velocity at the point of entry
gimes, and other documentation that supports your       designed and constructed so that the maximum              through the intake device or through a comparable
determination of the water body type where each         through-screen design intake velocity is 0.5 ft/s or      method such as pump curve calculations. The
cooling water intake structure is located;              less;                                                     operator shall monitor either head loss or velocity
                                                                                                                  during initial facility startup, and thereafter, at a
  2. Identification and characterization of the           2. The operator must minimize impingement               frequency of no less than once per quarter.
source water body's hydrological and geomor-            mortality of fish and shellfish through use of cool-
phological features, as well as the methods you         ing water intake design and construction technolo-
                                                                                                                  New Fixed Facilities that do not employ sea
used to conduct any studies to determine your           gies or operational measures.
                                                                                                                  chests as intake structures
intake's area of influence within the water body
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 11 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 10
  1. Beginning two years after the effective date of         1. Beginning two years after the effective date of         The facility operator shall minimize the dis-
this permit, the operator must conduct either visual       this permit, the operator must conduct either visual       charge of dispersants, surfactants and detergents
inspections or use remote monitoring devices               inspections or utilize remote monitoring devices           except as necessary to comply with the safety
during the period the cooling water intake structure       during the period the cooling water intake structure       requirements of the Occupational Safety and
is in operation. The operator must conduct visual          is in operation. The operator must conduct visual          Health Administration and the Minerals Manage-
inspections at least weekly, or at a lesser frequency      inspections at least weekly, or at a lesser frequency      ment Service. This restriction applies to tank
as approved by the director, to ensure that the            as approved by the director, to ensure that the            cleaning and other operations which do not directly
required design and construction technologies are          required design and construction technologies are          involve the safety of workers. The restriction is
maintained and operated so they continue to func-          maintained and operated so they continue to func-          imposed because detergents disperse and emulsify
tion as designed. Alternatively, the operator must         tion as designed. Alternatively, the operator must         oil, thereby increasing toxicity and making the
inspect using remote monitoring devices to ensure          inspect using remote monitoring devices to ensure          detection of a discharge of oil more difficult.
that the impingement and entrainment technologies          that the impingement and entrainment technologies          Waste water associated with tank and pit cleaning
are functioning as designed.                               are functioning as designed.                               operations shall be classified the same as the for-
                                                                                                                      mer contents of the tank or pit (for example, wash
  However, visual or remote monitoring is not                However, visual or remote monitoring is not              water generated from cleaning drilling fluid pits
required when conditions such as storms, high              required when conditions such as storms, high              would be subject to the same discharge limitation
seas, evacuation, or other factors make it unduly          seas, evacuation, or other factors make it unduly          as the drilling fluid formerly contained in those
hazardous to personnel, the facility, or the equip-        hazardous to personnel, the facility, or the equip-        pits). The waste water is deemed to have the same
ment utilized. The operator must provide an                ment utilized. The operator must provide an                compliance status as the whole fluid that was origi-
explanation for any such failure to visually or            explanation for any such failure to visually or            nally in the tank or pit. No additional sampling/
remotely monitor with the subsequent DMR sub-              remotely monitor with the subsequent DMR sub-              monitoring of the waste water is required.
mittal.                                                    mittal.
                                                                                                                      [I.C.4.] Garbage
   2. Beginning two years after the effective date of        2. For facilities that employ surface intake
the permit or after commencement of operations,            screens systems, the operator shall monitor the              The discharge of garbage (See Part II.G.42) is
whichever is later, the operator must monitor for          intake velocity by monitoring the head loss across         prohibited.
entrainment. The operator must collect samples to          the intake screens and correlating the measured
monitor entrainment rates (simple enumeration) for         value with the design intake velocity. The operator          [Exception] Comminuted food waste (able to
each species over a 24-hour period and no less than        must measure head loss at the minimum ambient              pass through a screen mesh no larger than 25 mm,
biweekly during the primary period of reproduc-            source water surface elevation using best profes-          approx. 1 inch) may be discharged when 12 nauti-
tion, larval recruitment, and peak abundance iden-         sional judgment based on available hydrological            cal miles or more from land.
tified during the Source Water Baseline Biological         data. The operator must use the maximum head
Characterization Study. Representative species             loss across the screen for each cooling water intake       [I.C.5.] Areas of Biological Concern and Marine
may be utilized for this monitoring consistent with        structure to determine compliance with the veloc-          Sanctuaries
their use in the Source Water Baseline Characteri-         ity requirement. For facilities utilizing devices
zation Study. The operator must collect samples            other than surface intake screens, intake velocity           There shall be no discharge in Areas of Biologi-
only when the cooling water intake structure is in         shall be monitored at the point of entry through the       cal Concern and National Marine Sanctuaries. The
operation. After 24 months of monitoring, the              intake device or through a comparable method               Flower Garden Banks has been determined to be a
permittee may request from EPA a reduced moni-             such as pump curve calculations. The operator              National Marine Sanctuary and is within the geo-
toring frequency for the remainder of the permit.          must monitor either head loss or velocity during           graphical area covered under this permit.
                                                           initial facility startup, and thereafter, at a frequency
                                                           of no less than once per quarter                           [Exception]
  Alternatively, operators may comply with these                                                                        Facilities located within a National Marine Sanc-
requirements through participation in an EPA                 3. No monitoring for entrainment is required.            tuary boundary are authorized to discharge in
approved industry-wide study. That study may                                                                          accordance with this permit if all of the following
                                                             A status report of the required biological moni-
include a smaller, statistically representative num-                                                                  conditions are met:
                                                           toring for each cooling water intake structure must
ber of facilities. See also section B.12.a of this
                                                           be provided to EPA with the annual DMR for fixed
permit. Any industry wide study conducted to meet                                                                       • The platform was installed prior to the designa-
                                                           facilities that do not employ sea chests.                  tion of the National Marine Sanctuary;
the entrainment monitoring requirements in section
B.12 must be commenced within two years after                The permit may be reopened and modified or
the effective date of this permit and must be com-                                                                      • The platform is located outside of the No Ac-
                                                           revoked and reissued to require additional monitor-
pleted and submitted to EPA Region 6 three years                                                                      tivity Zone defined by the Minerals Management
                                                           ing or to change the cooling water intake structure
after the effective date.                                                                                             Service;
                                                           requirements if found warranted by the director as
  3. For facilities that employ surface intake             a result of either baseline study or entrainment             • All materials are discharged through a shunt
screens systems, the operator shall monitor intake         monitoring.                                                pipe that terminates within 10 meters of the sea
velocity by measuring the head loss across the                                                                        floor;
                                                           [I.C.] Section C. Other Discharge Limitations
intake screens and correlating the measured value
with the design intake velocity. The operator must         [I.C.1.] Floating Solids or Visible Foam                     • Sanitary waste is treated with an approved
measure head loss at the minimum ambient source                                                                       marine sanitation device (MSD) that complies with
                                                             There shall be no discharge of floating solids or
water surface elevation using best professional                                                                       pollution control standards and regulations under
                                                           visible foam from any source in other than trace
judgment based on available hydrological data.                                                                        section 312 of the Clean Water Act;
                                                           amounts.
The operator must use the maximum head loss
across the screen for each cooling water intake                                                                        and
                                                             [Exception] For new sources, this limitation only
structure to determine compliance with the veloc-          applies to miscellaneous discharges and domestic             • The materials discharged are associated with
ity requirement. For facilities utilizing devices          waste discharges.                                          and incidental to oil and gas exploration, develop-
other than surface intake screens, intake velocity                                                                    ment, or production and originate from wells lo-
shall be monitored at the point of entry through the       [I.C.2.] Halogenated Phenolic Compounds                    cated within the boundaries of the National Marine
intake device or through a comparable method                                                                          Sanctuary and outside the No Activity Zone.
such as pump curve calculations. The operator                There shall be no discharge of halogenated phe-
shall monitor either head loss or velocity during          nolic compounds as a part of any waste stream
                                                                                                                      [I.C.6.] Wastes Associated with Maintenance
initial facility startup, and thereafter, at a frequency   authorized in this permit.
                                                                                                                      Activities such as Surface Preparation and
of no less than once per quarter.                                                                                     Coating
                                                           [I.C.3.] Dispersants, Surfactants, and
                                                           Detergents
                                                                                                                       Maintenance waste, such as removed paint and
New Fixed Facilities that Employ Sea Chests as
                                                                                                                      materials associated with surface preparation and
Intake Structures
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 12 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 11
coating applications, must be contained to the            critical dilution.                                       Silverside minnow growth shall be applied as
maximum extent practicable to prevent discharge.                                                                   described in Short-term Methods for Estimating
                                                          [I.D.3.e.] If the effluent fails the survival endpoint
This includes airborne material such as spent or                                                                   the Chronic Toxicity of Effluents and Receiving
                                                          (or the sub-lethal endpoint, after two years from
oversprayed abrasives, paint chips, and paint over-                                                                Waters to Marine and Estuarine Organisms, Third
                                                          the effective date of this permit) at the critical
spray. Measures such as vacuum abrasive blasting,                                                                  Edition, October 2002, EPA-821-R-02-014 or the
                                                          dilution, the permittee shall be considered in viola-
covering grated areas with plywood, surrounding                                                                    most recent update thereof.
                                                          tion of this permit limit. Also, when the testing
the area with canvas tarps and similar measures
                                                          frequency stated above is less than monthly and            Test failure may not be construed or reported as
must be employed to capture as much material as
                                                          the effluent fails either endpoint at the critical       invalid due to a coefficient of variation value of
practicable. All collected material shall be dis-
                                                          dilution, the monitoring frequency for the affected      greater than 40%. A repeat test shall be conducted
posed of at an appropriate shore based facility.
                                                          species will increase to monthly until such time as      within the required reporting period of any test
Prior to conducting sandblasting or similar mainte-
                                                          compliance with the NOEC effluent limitation is          determined to be invalid.
nance activities, operators shall operate in accor-
                                                          demonstrated for a period of three consecutive
dance with the API Recommended Practice (RP91)
                                                          months, at that time the permittee may return to the     [I.D.3.h.] Statistical Interpretation
for Containment of Spent Blast Abrasive and As-
                                                          testing frequency in use at the time of the failure.       For the Mysid shrimp survival and reproduction
sociated Materials from Surface Preparation and
                                                          During the period the permittee is out of compli-        test and the Inland Silverside minnow survival and
Coating Operations, if approved by EPA and pub-
                                                          ance, test results shall be reported on the DMR for      growth test, the statistical analyses used to deter-
lished, or develop and implement a Best Manage-
                                                          that reporting period.                                   mine if there is a statistically significant difference
ment Practices (BMP) plan for the containment of
waste materials. Operators shall supplement RP91          [I.D.3.f.] This permit may be reopened to require        between the control and the critical dilution shall
with company or site specific BMPs as needed.             chemical specific effluent limits, additional testing,   be in accordance with the methods for determining
Any BMP utilized must include specific contain-           and/or other appropriate actions to address              the NOEC as described in EPA-821-R-02-012 or
ment measures.                                            toxicity.                                                the most recent update thereof.

                                                                                                                     If the conditions of Test Acceptability are met in
[I.D.] Section D. Other Conditions                        [I.D.3.g.] Test Acceptance
                                                                                                                   Item 3.f above and the percent survival of the test
                                                            The permittee shall repeat a test, including the
[I.D.1.] Samples of Wastes                                                                                         organism is equal to or greater than 80% in the
                                                          control and all effluent dilutions, if the procedures
  If requested, the permittee shall provide EPA                                                                    critical dilution concentration and all lower dilu-
                                                          and quality assurance requirements defined in the
with a sample of any waste in a manner specified                                                                   tion concentrations, the survival test shall be con-
                                                          test methods or in this permit are not satisfied,
by the Agency.                                                                                                     sidered to be passing, and the permittee shall report
                                                          including the following additional criteria:
                                                                                                                   a survival NOEC of not less than the critical dilu-
[I.D.2.] Drilling Fluids Toxicity Test                    [I.D.3.g.1.] The toxicity test control (0% effluent)     tion for the DMR reporting requirements found
                                                          must have survival equal to or greater than 80%.         below.
  The approved test method for permit compliance
is identified as: Drilling Fluids Toxicity Test at 40                                                              [I.D.3.i.] The permittee shall prepare a full report
CFR Part 435, Subpart A, Appendix 2.                                                                               of the results of all tests conducted pursuant to this
                                                          [I.D.3.g.2.] The mean dry weight of surviving
                                                                                                                   section in accordance with the Report Preparation
                                                          Mysid shrimp at the end of the 7 days in the con-
[I.D.3.] PRODUCED WATER TOXICITY                                                                                   Section of "Short-Term Methods for Estimating
                                                          trol (0% effluent) must be 0.20 mg per mysid or
TESTING REQUIREMENTS (7-DAY                                                                                        the Chronic Toxicity of Effluents and Receiving
                                                          greater. Should the mean dry weight in the control
CHRONIC NOEC MARINE LIMITS)                                                                                        Waters to Marine and Estuarine Organisms", EPA-
                                                          be less than 0.20 mg per mysid, the toxicity test,
                                                                                                                   821-R-02-014, or the most current publication, for
  The approved test methods for permit compli-            including the control and all effluent dilutions shall
                                                                                                                   every valid or invalid toxicity test initiated whether
ance are identified in 40 CFR Part 136.                   be repeated.
                                                                                                                   carried to completion or not. The
                                                          [I.D.3.g.3.] The mean dry weight of surviving            permittee shall retain each full report pursuant to
[I.D.3.a.] The permittee shall utilize the Mysidop-                                                                the provisions of Part II.C.3 of this permit. The
                                                          unpreserved Inland Silverside minnow larvae at
sis bahia (Mysid shrimp) chronic static renewal 7-                                                                 permittee shall submit full reports only upon the
                                                          the end of the 7 days in the control (0% effluent)
day survival and growth test using Method 1007.0.                                                                  specific request of the Agency.
                                                          must be 0.50 mg per larva or greater. The mean
A minimum of eight (8) replicates with five (5)
                                                          dry weight of surviving preserved Inland Silver-         [I.D.3.j.] In accordance with Part II.D.4 of this
organisms per replicate must be used in the control
                                                          side minnow larvae at the end of the 7 days in the       permit, the permittee shall report on the DMR for
and in each effluent dilution of this test.
                                                          control (0% effluent) must be 0.43 mg per larva or       the reporting period the lowest Whole Effluent
                                                          greater.                                                 Lethality values determined for either species for
[I.D.3.b.] The permittee shall utilize the Menidia                                                                 the 30-Day Average Minimum and 7-Day Mini-
                                                          [I.D.3.g.4.] The percent coefficient of variation (%
beryllina (Inland Silverside minnow) chronic static                                                                mum under Parameter No.22414, and the permittee
                                                          CV) between replicates shall be 40% or less in the
renewal 7-day larval survival and growth test                                                                      shall report only the results of the valid toxicity
                                                          control (0% effluent) for: the growth and survival
(Method 1006.0). A minimum of five (5) replicates                                                                  test as follows:
                                                          endpoints of the Mysid shrimp test and the Inland
with eight (8) organisms per replicate must be used
                                                          Silverside minnow test. The %CV for survival
in the control and in each effluent dilution of this                                                               [I.D.3.j.1] Menidia beryllina (Inland Silverside
                                                          shall be calculated on the arc-sine-square-root
test.                                                                                                              minnow)
                                                          transformed data. The %CV for growth shall be
                                                          calculated on the growth per surviving organism.         [I.D.3.j.1.a.] If the NOEC for survival is less than
[I.D.3.c.] The NOEC (No Observed Effect Con-                                                                       the critical dilution, enter a "1"; otherwise, enter a
centration) is defined as the greatest effluent dilu-                                                              "0" for Parameter No. TLP6B
                                                          [I.D.3.g.5.] The percent coefficient of variation
tion which does not result in a lethal or sub-lethal
                                                          between replicates shall be 40% or less in the
effect that is statistically different from the control                                                            [I.D.3j.1.b.] Report the NOEC value for survival,
                                                          critical dilution, unless significant lethal or
(0% effluent) at the 95% confidence level. In the                                                                  Parameter No. TOP6B
                                                          nonlethal effects are exhibited for the growth and
case of a test that exhibits a non-monotonic con-
                                                          survival endpoints of the Mysid shrimp test and the      [I.D.3.j.1.c.] Report the Lowest Observed Effect
centration response, determination of the NOEC
                                                          Inland Silverside minnow test.                           Concentration (LOEC) value for survival, Parame-
will rely on the procedures described in Method
Guidance and Recommendations for Whole Efflu-                                                                      ter No. TXP6B
                                                          [I.D.3.g.6.] A Percent Minimum Significant Dif-
ent Toxicity (WET) Testing (40 CFR Part 136),             ference (PMSD) range of 11 - 37 for Mysidopsis
July 2000, EPA 821-B-00-004.                                                                                       [I.D.3.j.1.d.] Report the NOEC value for growth,
                                                          bahia growth shall be applied as described in
                                                                                                                   Parameter No. TPP6B
                                                          Short-term Methods for Estimating the Chronic
[I.D.3.d.] The effluent dilution series used for the      Toxicity of Effluents and Receiving Waters to            [I.D.3.j.1.e.] Report the LOEC value for growth,
toxicity test shall be based on the critical dilution,    Marine and Estuarine Organisms, Third Edition,           Parameter No. TYP6B
using a dilution factor of 0.5. The effluent dilution     October 2002, EPA-821-R-02-014, Section 10.2.8.
series must bracket the critical dilution, with two                                                                [I.D.3.j.1.f.] If the NOEC for growth is less
effluent dilutions lower than the critical dilution       [I.D.3.g.7.] A PMSD range of 11 - 28 for
and two effluent dilutions greater than the
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 13 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 12
 than the critical dilution, enter a "1"; otherwise,      [I.D.4.e.] This permit may be reopened to require            The visual sheen test is used to detect free oil by
enter a "0" for Parameter No. TGP6B                       chemical specific effluent limits, additional testing,     observing the surface of the receiving water for the
                                                          and/or other appropriate actions to address toxicity.      presence of a sheen while discharging. The opera-
[I.D.3.j.1.g.] Report the highest (critical dilution or                                                              tor must conduct a visual sheen test only at times
control) Coefficient of Variation, Parameter No.                                                                     when a sheen could be observed. This restriction
TQP6B                                                     [I.D.4.f.] Test Acceptance                                 eliminates observations when atmospheric or sur-
                                                            The permittee shall repeat a test, including the         face conditions prohibit the observer from detect-
[I.D.3.j.2] Mysidopsis bahia (Mysid shrimp)                                                                          ing a sheen (e.g., overcast skies, rough seas, etc.).
                                                          control and all effluent dilutions, if the procedures
[I.D.3.j.2.a.] If the NOEC for survival is less than      and quality assurance requirements defined in the
                                                                                                                       The observer must be positioned on the rig or
the critical dilution, enter a "1"; otherwise, enter a    test methods or in this permit are not satisfied,
                                                                                                                     platform, relative to both the discharge point and
"0" for Parameter No. TLP3E                               including the following additional criteria:
                                                                                                                     current flow at the time of discharge, such that the
[I.D.3.j.2.b.] Report the NOEC value for survival,        [I.D.4.f.1.] Each toxicity test control (0% effluent)      observer can detect a sheen should it surface down
Parameter No. TOP3E                                       must have a survival equal to or greater than 90%.         current from the discharge. For discharges that
                                                                                                                     have been occurring for a least 15 minutes previ-
[I.D.3.j.2.c.] Report the LOEC value for survival,                                                                   ously, observations may be made any time thereaf-
Parameter No. TXP3E                                       [I.D.4.f.2.] The percent coefficient of variation          ter. For discharges of less than 15 minutes dura-
                                                          between replicates shall be 40% or less in the             tion, observations must be made during both dis-
[I.D.3.j.2.d.] Report the NOEC value for growth,          control (0% effluent) for the Mysid shrimp sur-            charge and at 5 minutes after discharge has ceased.
Parameter No. TPP3E                                       vival test and the Inland Silverside minnow sur-
                                                                                                                     [I.D.6.] STATIC SHEEN TEST
                                                          vival test.
[I.D.3.j.2.e.] Report the LOEC value for growth,                                                                       The approved test method for permit compliance
Parameter No. TYP3E                                       [I.D.4.f.3.] The percent coefficient of variation          is identified as: Static Sheen Test at 40 CFR Part
                                                          between replicates shall be 40% or less in the             435, Subpart A, Appendix 1.
[I.D.3.j.2.f.] If the NOEC for growth is less than        critical dilution, unless significant lethal effects are
the critical dilution, enter a "1"; otherwise, enter a    exhibited for the Mysid shrimp survival test and           [I.D.7.] STOCK BASE FLUID SEDIMENT
"0" for Parameter No. TGP3E                               the Inland Silverside minnow survival test.                TOXICITY

[I.D.3.j.2.g.] Report the highest (critical dilution or     Test failure may not be construed or reported as           The approved test method for permit compliance
control) Coefficient of Variation, Parameter No.          invalid due to a coefficient of variation value of         is identified as: ASTM E1367–99 method: Stan-
TQP3E                                                     greater than 40%. A repeat test shall be conducted         dard Guide for Conducting Static Sediment Toxic-
                                                          within the required reporting period of any test           ity Tests with Marine and Estuarine Amphipods
[I.D.4.] CHEMICALLY TREATED SEA-                          determined to be invalid.                                  (Available from the American Society for Testing
WATER AND FRESHWATER TOXICITY                                                                                        and Materials, 100 Barr Harbor Drive, West Con-
TESTING REQUIREMENTS (48-HOUR                             [I.D.4.g.] Statistical Interpretation                      shohocken, PA, 19428) with Leptocheirus plumu-
ACUTE NOEC MARINE LIMITS)                                   For the Mysid shrimp survival test and the Inland        losus as the test organism and sediment preparation
                                                          Silverside minnow survival test, the statistical           procedures specified in Appendix 3 of 40 CFR Part
  The approved test methods for permit compli-                                                                       435, Subpart A and the method found in Appendix
                                                          analyses used to determine if there is a statistically
ance are identified in 40 CFR Part 136.                                                                              A of this permit.
                                                          significant difference between the control and the
[I.D.4.a.] The permittee shall utilize the Mysidop-       critical dilution shall be in accordance with the          [I.D.8.] BIODEGRADATION RATE
sis bahia (Mysid shrimp) acute static renewal 48-         methods for determining the NOEC as described in
                                                          EPA-821-R-02-012 or the most recent update                   The approved test method for permit compliance
hour definitive toxicity test using EPA-821-R-02-
                                                          thereof.                                                   is identified as: modified ISO 11734:1995 method:
012. A minimum of five (5) replicates with eight
                                                                                                                     “Water quality - Evaluation of the ‘ultimate’ an-
(8) organisms per replicate must be used in the             If the conditions of Test Acceptability are met in       aerobic biodegradability of organic compounds in
control and in each effluent dilution of this test.       Item 4.f above and the percent survival of the test        digested sludge - Method by measurement of the
                                                          organism is equal to or greater than 90% in the            biogas production (1995 edition)” (Available from
[I.D.4.b.] The permittee shall utilize the Menidia        critical dilution concentration and all lower dilu-        the American National Standards Institute, 11
beryllina (Inland Silverside minnow) acute static         tion concentrations the test shall be considered to        West 42nd Street, 13th Floor, New York, NY
renewal 48-hour definitive toxicity test using EPA-       be a passing test, and the permittee shall report an       10036) supplemented with modifications in Ap-
821-R-02-012. A minimum of five (5) replicates            NOEC of not less than the critical dilution for the        pendix 4 of 40 CFR Part 435, Subpart A and de-
with eight (8) organisms per replicate must be used       DMR reporting requirements found in Item i be-             tailed in Appendix B of this permit. Compliance
in the control and in each effluent dilution of this      low.                                                       with the biodegradation limit will be determined
test.                                                                                                                using the following ratio:
                                                          [I.D.4.h.] The permittee shall prepare a full report
                                                          of the results of all tests conducted pursuant to this     % Theoretical gas production of reference fluid
[I.D.4.c.] The NOEC is defined as the greatest                                                                       --------------------------------------------------------   ≤ 1.0
                                                          section in accordance with the Report Preparation
effluent dilution which does not result in lethality                                                                 % Theoretical gas production of NAF
                                                          Section of "Methods for Measuring the Acute
that is statistically different from the control (0%
                                                          Toxicity of Effluents and Receiving Waters to
effluent) at the 95% confidence level.                                                                                 Where: NAF = stock base fluid being tested for
                                                          Freshwater and Marine Organisms," EPA-821-R-
                                                          02-012, or the latest update thereof, for every valid      compliance
[I.D.4.d.] If the effluent fails the survival endpoint
                                                          or invalid toxicity test initiated whether carried to        Reference Fluid = C16-C18 internal olefin or
at the critical dilution, the permittee shall be con-
                                                          completion or not. The permittee shall retain each         C12-C14 or C8 ester reference fluid
sidered in violation of this permit limit. Also, when
the testing frequency stated above is less than           full report pursuant to the provisions of Part II.C.3
                                                          of this permit. The permittee shall submit full            [I.D.9.] SAMPLING PROTOCOL FOR
monthly and the effluent fails the survival endpoint
                                                          reports only upon the specific request of the              STOCK DRILLING FLUID SEDIMENT
at the critical dilution, the monitoring frequency
                                                          Agency.                                                    TOXICITY TEST, DRILLING FLUID SEDI-
for the affected species will increase to monthly
                                                                                                                     MENT TOXICITY TEST AND
until such time as compliance with the Lethal             [I.D.4.i.] In accordance with Part II.D.4 of this          BIODEGRADATION RATE TEST
NOEC effluent limitation is demonstrated for a            permit, the permittee shall report on the DMR for
period of three consecutive months. After compli-         the reporting period whether the lowest Whole                Compliance with the 1.0 ratio permit limit shall
ance is demonstrated for three consecutive months,        Effluent Lethality values determined for either            be based on the ratio of the arithmetic average of
the permittee may return to the testing frequency in      species passed the 30-Day Average Minimum and              up to three test results from two grab samples. The
use at the time of the initial test failure. During the   48-Hour Minimum NOEC.                                      first grab sample must be split into two aliquots
period the permittee is out of compliance, test                                                                      (e.g., grab1A and grab1B) and analyzed separately.
results shall be reported on the annual DMR that          [I.D.5.] VISUAL SHEEN TEST                                 The second grab sample (grab2) shall be a backup
includes this period.
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 14 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 13
sample, collected within 15 minutes of the first          The approved test method for permit compliance        [II.A.3.a.] Notwithstanding Part II.A.4, if any
grab sample, and in the case of base fluid testing      is identified as: Reverse Phase Extraction (RPE) as     toxic effluent standard or prohibition (including
will be from the same production lot, which shall       described in Appendix 6 of 40 CFR Part 435,             any schedule of compliance specified in such
be retained following proper storage and handling       Subpart A. If the operator wishes to confirm the        effluent standard or prohibition) is promulgated
procedures. Permittees shall show compliance            results of the RPE method (Appendix 6 of 40 CFR         under section 307(a) of the Act for a toxic pollut-
based on results from grab1A, or from the ratio of      Part 435, Subpart A), the operator may use the GC/      ant which is present in the discharge and that stan-
the arithmetic average of grab1A, grab1B, and if        MS compliance assurance method (Appendix 5 of           dard or prohibition is more stringent than any
necessary grab 2. All test results obtained shall be    40 CFR Part 435, Subpart A). Results from the           limitation on the pollutant in this permit, this per-
submitted with the DMR and all ratios shall be          GC/MS compliance assurance method shall super-          mit shall be modified or revoked and reissued to
rounded to the nearest tenths.                          cede the results of the RPE method (Appendix 6 of       conform to the toxic effluent standard or prohibi-
                                                        40 CFR Part 435, Subpart A).                            tion.
 All test results shall be generated as follows:
                                                        [I.D.13.] RETENTION OF NON AQUEOUS                      [II.A.3.b.] The permittee shall comply with efflu-
[I.D.9.a.] The 10-day stock base fluid toxicity test
                                                        BASED DRILLING FLUID ON CUTTINGS                        ent standards or prohibitions established under
results consist of individual stock base fluid LC50s
                                                                                                                section 307(a) of the Act for toxic pollutants
and individual reference fluid LC50s (paired re-
                                                                                                                within the time provided in the regulations that
sults). The arithmetic average of the LC50 for the        The approved test method for permit compliance        established those standards or prohibitions, even if
test fluid sample(s) will be compared to determine      is identified as: the Retort Test Method described      the permit has not yet been modified to incorporate
compliance with the 1.0 ratio permit limit.             in Appendix 7 of 40 CFR Part 435, Subpart A. The        the requirement.
                                                        required sampling, handling, and documentation
[I.D.9.b.] The stock base fluid biodegradation test     procedures are listed in Addendum A of 40 CFR           [II.A.4.] Permit Flexibility
results consist of individual stock base fluid          Part 435, Subpart A, Appendix 7.                          This permit may be modified, revoked and reis-
cumulative gas production (ml) and individual                                                                   sued, or terminated for cause in accordance with
                                                        [I.D.14.] ROUNDING OF RATIOS (TO BE
reference fluid cumulative gas production (ml)                                                                  40 CFR 122.62-64. The filing of a request for a
                                                        APPLIED IN MEASURING COMPLIANCE
tests (paired results). The arithmetic average of the                                                           permit modification, revocation and reissuance, or
                                                        WITH THE SEDIMENT TOXICITY AND
cumulative gas production (ml) for the test fluid                                                               termination, or a notification of planned changes or
                                                        BIODEGRADATION TESTS)
samples(s) will be compared against the arithmetic                                                              anticipated noncompliance, does not stay any
average of the cumulative gas production (ml) of         All ratios shall be rounded as follows:                permit condition.
the reference fluid sample(s) to determine compli-
ance with the 1.0 ratio permit limit.                     The following rounding procedures shall only be       [II.A.5.] Property Rights
                                                        applied to the sediment toxicity and biodegradation
                                                                                                                  This permit does not convey any property rights
[I.D.9.c.] The 4-day drilling fluid mud toxicity test   limitations and standards in this permit:
                                                                                                                of any sort, or any exclusive privilege.
results consist of the individual field mud LC50s
and individual reference mud LC50s (paired re-          [I.D.14.a.] If the digit 6, 7, 8, or 9 is dropped,
                                                                                                                [II.A.6.] Duty to Provide Information
sults). The arithmetic average of the LC50 for the      increase preceding digit by one unit. Example: a
field mud sample(s) will be compared against the        calculated sediment toxicity or biodegradation             The permittee shall furnish to the Director,
arithmetic average of the LC50 of the reference         ratio of 1.06 should be rounded to 1.1 and reported     within a reasonable time, any information which
mud sample(s) to determine compliance with the          as a violation of the permit limit.                     the Director may request to determine whether
1.0 ratio permit limit.                                                                                         cause exists for modifying, revoking and reissuing,
                                                        [I.D.14.b.] If the digit 0, 1, 2, 3, or 4 is dropped,   or terminating this permit, or to determine compli-
[I.D.10.] POLYNUCLEAR AROMATIC HY-                      do not alter the preceding digit.                       ance with this permit. The permittee shall also
DROCARBONS                                                                                                      furnish to the Director, upon request, copies of
                                                          Example: a calculated sediment toxicity ratio of      records required to be kept by this permit.
  The approved test method for permit compliance        1.04 should be rounded to 1.0 and reported to EPA
is identified as: Method 1654A: “PAH Content of         as compliant with the permit limit.                     [II.A.7.] Criminal and Civil Liability
Oil by High Performance Liquid Chromatography
                                                                                                                  Except as provided in permit conditions on
with a UV Detector,” which was published in             [I.D.14.c.] If the digit 5 is dropped, round off
                                                                                                                "Bypassing" and "Upsets", nothing in this permit
Methods for the Determination of Diesel, Mineral        preceding digit to the nearest even number.
                                                                                                                shall be construed to relieve the permittee from
and Crude Oils in Offshore Oil and Gas Industry
                                                          Example: a calculated ratio of 1.05 should be         civil or criminal penalties for noncompliance. Any
Discharges, EPA-821-R-92-008 (incorporated by
                                                        rounded to 1.0 and reported to EPA as compliant         false or materially misleading representation or
reference and available from National Technical
                                                        with the permit limit.                                  concealment of information required to be reported
Information Service at 703/605-6000).
                                                                                                                by the provisions of the permit, the Act, or applica-
[I.D.11.] FORMATION OIL CONTAMINA-                      PART II. STANDARD CONDITIONS FOR                        ble regulations, which avoids or effectively defeats
TION OF DRILLING FLUIDS                                 NPDES PERMITS                                           the regulatory purpose of the permit may subject
                                                                                                                the permittee to criminal enforcement pursuant to
  The approved test method for permit compliance        [II.A.] Section A. General Conditions                   18 U.S.C. section 1001.
is identified as: Gas chromatography/mass spec-
                                                        [II.A.1.] Introduction                                  [II.A.8.] Oil and Hazardous Substance
trometry (GC/MS) as described below. The GC/
                                                                                                                Liability
MS method reports results for the GC/MS test as           In accordance with the provisions of 40 CFR Part
percent crude contamination when calibrated for a       122.41, et. seq., this permit incorporates by refer-      Nothing in this permit shall be construed to
specific crude oil. In order to define an applicable    ence ALL conditions and requirements applicable         preclude the institution of any legal action or re-
pass/fail limit to cover a variety of crude oils, the   to NPDES permits set forth in the Clean Water           lieve the permittee from any responsibilities, li-
same crude oil used in calibration of the RPE test      Act, as amended, (herein-after known as the "Act")      abilities, or penalties to which the permittee is or
shall be used to calibrate the GC/MS test results to    as well as ALL applicable regulations.                  may be subject under section 311 of the Act.
a standardized ratio of the target aromatic ION
Scan 105. Based on the performance of a range of        [II.A.2.] Duty to Comply                                [II.A.9.] State Laws
crude oils against standardized ratio, a value will
be selected as a pass/fail standard which will repre-     The permittee must comply with all conditions of        Nothing in this permit shall be construed to
sent detection of crude oil.                            this permit. Any permit noncompliance constitutes       preclude the institution of any legal action or re-
                                                        a violation of the Act and is grounds for enforce-      lieve the permittee from any responsibilities, li-
[I.D.12.] FORMATION OIL CONTAMINA-                      ment action or for requiring a permittee to apply       abilities, or penalties established pursuant to any
TION OF DISCHARGED DRILLING FLUIDS                      and obtain an individual NPDES permit.                  applicable State Law or regulation under authority
RETAINED ON CUTTINGS                                                                                            preserved by section 510 of the Act.
                                                        [II.A.3.] Toxic Pollutants

                                                                                                                [II.A.10.] Severability
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 15 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 14
   The provisions of this permit are severable, and     [II.B.4.b.2.] Unanticipated bypass. The permittee      [II.C.] Section C. Monitoring and Records
if any provision of this permit or the application of   shall, within 24 hours, submit notice of an unan-
                                                                                                               [II.C.1.] Inspection and Entry
any provision of this permit to any circumstance is     ticipated bypass as required in Part II.D.7.
held invalid, the application of such provision to                                                               The permittee shall allow the Director, or an
other circumstances, and the remainder of this          [II.B.4.c.] Prohibition of Bypass                      authorized representative, upon the presentation of
permit, shall not be affected thereby.                                                                         credentials and other documents as may be re-
                                                        [II.B.4.c.1.] Bypass is prohibited, and the Director
                                                        may take enforcement action against a permittee        quired by the law to:
[II.B.] Section B. Proper Operation and
                                                        for bypass, unless:
Maintenance                                                                                                    [II.C.1.a.] Enter upon the permittee's premises
                                                                                                               where a regulated facility or activity is located
                                                        [II.B.4.c.1.a.] Bypass was unavoidable to prevent
[II.B.1.] Need to Halt or Reduce not a Defense                                                                 or conducted, or where records must be kept under
                                                        loss of life, personal injury, or severe
  It shall not be a defense for a permittee in an                                                              the conditions of this permit;
                                                        property damage;
enforcement action that it would have been neces-
                                                                                                               [II.C.1.b.] Have access to and copy, at reasonable
sary to halt or reduce the permitted activity in        [II.B.4.c.1.b.] There were no feasible alternatives
                                                                                                               times, any records that must be kept under the
order to maintain compliance with the conditions        to the bypass, such as the use of auxiliary treat-
                                                                                                               conditions of this permit;
of this permit. The permittee is responsible for        ment facilities, retention of untreated wastes, or
maintaining adequate safeguards to prevent the          maintenance during normal periods of equipment         [II.C.1.c.] Inspect at reasonable times any facili-
discharge of untreated or inadequately treated          downtime. This condition is not satisfied if ade-      ties, equipment (including monitoring and control
wastes during electrical power failure either by        quate back-up equipment should have been in-           equipment), practices or operations regulated or
means of alternate power sources, standby genera-       stalled in the exercise of reasonable engineering      required under this permit;
tors or retention of inadequately treated effluent.     judgement to prevent a bypass which occurred           and
                                                        during normal periods of equipment downtime or
[II.B.2.] Duty to Mitigate                              preventive maintenance; and,                           [II.C.1.d.] Sample or monitor at reasonable times,
  The permittee shall take all reasonable steps to                                                             for the purpose of assuring permit compliance or
                                                        [II.B.4.c.1.c.] The permittee submitted notices as
minimize or prevent any discharge in violation of                                                              as otherwise authorized by the Act, any substances
                                                        required by Part II.B.4.b.
this permit which has a reasonable likelihood of                                                               or parameters at any location.
adversely affecting human health or the environ-        [II.B.4.c.2.] The Director may allow an anticipated
ment.                                                   bypass after considering its adverse effects, if the
                                                                                                               [II.C.2.] Representative Sampling
                                                        Director determines that it will meet the three          Samples and measurements taken for the purpose
[II.B.3.] Proper Operation and Maintenance
                                                        conditions listed at Part II.B.4.c(1).                 of monitoring shall be representative of the moni-
[II.B.3.a.] The permittee shall at all times properly                                                          tored activity.
operate and maintain all facilities and systems of      [II.B.5.] Upset Conditions
treatment and control (and related appurtenances)                                                              [II.C.3.] Retention of Records
                                                        [II.B.5.a.] Effect of an upset. An upset constitutes
which are installed or used by permittee as effi-                                                                The permittee shall retain records of all monitor-
                                                        an affirmative defense to an action brought for
ciently as possible and in a manner which will                                                                 ing information, including all calibration and main-
                                                        noncompliance with such technology-based permit
minimize upsets and discharges of excessive pol-                                                               tenance records and all original strip chart re-
                                                        effluent limitations if the requirements of Part
lutants and will achieve compliance with the                                                                   cordings for continuous monitoring instrumenta-
                                                        II.B.5.b. are met. No determination made during
conditions of this permit. Proper operation and                                                                tion, copies of all reports required by this permit,
                                                        administrative review of claims that noncompli-
maintenance also includes adequate laboratory                                                                  and records of all data used to complete the appli-
                                                        ance was caused by upset, and before an action for
controls and appropriate quality assurance proce-                                                              cation for this permit, for a period of at least 3
                                                        noncompliance, is final administrative action sub-
dures. This provision requires the operation of                                                                years from the date of the sample, measurement,
                                                        ject to judicial review.
backup or auxiliary facilities or similar systems                                                              report, or application. This period may be extended
which are installed by a permittee only when the        [II.B.5.b.] Conditions necessary for a demonstra-      by request of the Director at any time.
operation is necessary to achieve compliance with       tion of upset. A permittee who wishes to establish
the conditions of this permit.                          the affirmative defense of upset shall demonstrate,      The operator shall maintain records at the plat-
                                                        through properly signed, contemporaneous operat-       form where the discharges occur or another plat-
[II.B.3.b.] The permittee shall provide an adequate
                                                        ing logs, or other relevant evidence that:             form in the Field for a period of three years, when-
operating staff which is duly qualified to carry out
                                                                                                               ever practicable or at a specific shore-base site
operation, maintenance and testing functions re-
                                                        [II.B.5.b.1.] An upset occurred and that the per-      whenever not practicable. For example, in the case
quired to insure compliance with the conditions of
                                                        mittee can identify the cause(s) of the upset;         of unmanned platforms or platforms where records
this permit.
                                                                                                               storage is not practicable, records may be main-
                                                        [II.B.5.b.2.] The permitted facility was at the time   tained at a central field office platform or a specific
[II.B.4.] Bypass of Treatment Facilities
                                                        being properly operated;                               shore-based site. In either case, the records must be
[II.B.4.a.] Bypass not exceeding limitations. The                                                              available for review by government inspectors
permittee may allow any bypass to occur which           [II.B.5.b.3.] The permittee submitted notice of the    coincident with their inspection. The operator is
does not cause effluent limitations to be exceeded,     upset as required by Part II.D.7; and,                 responsible for maintaining records at exploratory
but only if it also is for essential maintenance to                                                            facilities while they are discharging under the
assure efficient operation. These bypasses are not      [II.B.5.b.4.] The permittee complied with any          operators control and at a specific shore-based site
subject to the provisions of Parts II.B.4.b. and 4.c.   remedial measures required by Part II.B.2.             for the remainder of the 3-year retention period.
Sanitary Waste discharges which are excepted
from discharge limitations due to the proper opera-     [II.B.5.c.] Burden of proof. In any enforcement        [II.C.4.] Record Contents
tion and maintenance of a Coast Guard approved          proceeding, the permittee seeking to establish the
                                                                                                                 Records of monitoring information shall include:
Marine Sanitation Device may allow a bypass             occurrence of an upset has the burden of proof.
                                                                                                                 a. The date, exact place, and time of sampling or
during essential maintenance and are not consid-                                                               measurements;
ered to cause effluent limitations to be exceeded.      [II.B.6.] Removed Substances
                                                                                                                 b. The individual(s) who performed the sampling
                                                          Solids, sewage sludges, filter backwash, or other    or measurements;
                                                        pollutants removed in the course of treatment or         c. The date(s) and time(s) analyses were per-
[II.B.4.b.] Notice
                                                        wastewater control shall be disposed of in a man-      formed;
[II.B.4.b.1.] Anticipated bypass. If the permittee      ner such as to prevent any pollutant from such           d. The individual(s) who performed the analyses;
knows in advance of the need for a bypass, it shall     materials from entering navigable waters. Any            e. The analytical techniques or methods used;
submit prior notice, if possible at least ten days      substance specifically listed within this permit may     f. The results of such analyses; and
before the date of the bypass.                          be discharged in accordance with specified condi-        g. A copy of the permit and notice of intent to be
                                                        tions, terms, or limitations.                          covered.
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 16 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 15
[II.C.5.] Monitoring Procedures                         operator has permit coverage. The monitoring              [II.D.7.a.2.] The period of noncompliance includ-
                                                        results for the facilities (platform, drilling ship, or   ing exact dates and times, and if the noncompli-
[II.C.5.a.] Monitoring must be conducted accord-
                                                        semisubmersible) within the particular lease              ance has not been corrected, the anticipated time it
ing to test procedures approved under 40 CFR Part
                                                        block shall be summarized on the annual DMR for           is expected to continue; and,
136, unless other test procedures have been speci-
                                                        that lease block.
fied in this permit or approved by the Regional                                                                   [II.D.7.a.3.] Steps being taken to reduce, elimi-
Administrator.                                            Monitoring results obtained during the previous         nate, and prevent recurrence of the noncomplying
                                                        12 months shall be summarized and reported on a           discharge.
[II.C.5.b.] The permittee shall calibrate and per-
                                                        DMR form (EPA No. 3320-1), or the Offshore
form maintenance procedures on all monitoring
                                                        Operator Committee’s facsimile DMR form, for              [II.D.7.b.] The following shall be included as
and analytical instruments at intervals frequent
                                                        those operators who requested and received written        information which must be reported within 24
enough to insure accuracy of measurements and
                                                        authorization from the EPA to utilize that DMR            hours:
shall maintain appropriate records of such
                                                        form. Operators are to utilize the signed and dated
activities.                                                                                                       [II.D.7.b.1.] Any unanticipated bypass which
                                                        DMR Completion Instructions for the OCS Gen-
                                                        eral Permit (GMG290000), as found on EPA’s                exceeds any effluent limitation in the permit;
[II.C.5.c.] An adequate analytical quality control
program, including the analyses of sufficient stan-     offshore web site at
dards, spikes, and duplicate samples to insure the            http://epa.gov/earth1r6/6en/w/offshore
                                                                                                                  [II.D.7.b.2.] Any upset which exceeds any effluent
accuracy of all required analytical results shall be      If any category of waste (discharge) is not appli-      limitation in the permit; and,
maintained by the permittee or designated com-          cable for all facilities within the lease block, due to
mercial laboratory.                                     the type of operations (e.g., drilling, production) no    [II.D.7.b.3.] Violation of a maximum daily dis-
                                                        reporting is required; however, "no discharge"            charge limitation for any of the pollutants listed by
[II.C.6.] Flow Measurements
                                                        must be recorded for those categories on the DMR.         the Director in Part II of the permit to be reported
  Appropriate flow measurement devices and              Operators may list a summary of all lease blocks          within 24 hours.
methods consistent with accepted scientific prac-       where there is no activity in lieu of DMRs for
tices shall be selected and used to ensure the accu-    those lease blocks. The summary must state each           [II.D.7.c.] The Director may waive the written
racy and reliability of measurements of the volume      lease block name and outfall number and must              report on a case-by-case basis if the oral report
of monitored discharges. The devices shall be           include the monitoring period. All pages of the           has been received within 24 hours.
installed, calibrated, and maintained to insure that    DMR must be signed and certified as required by
the accuracy of the measurements is consistent          Part II.D.11 of this permit and submitted to EPA          [II.D.8.] Other Noncompliance
with the accepted capability of that type of device.    when due (annually). If a summary of no activity            The permittee shall report all instances of non-
Devices selected shall be capable of measuring          lease blocks is submitted, the summary must be            compliance not reported under Parts II.D.4 and D.7
flows with a maximum deviation of less than 10%         signed and certified. All pages of the DMR and / or       at the time monitoring reports are submitted. The
from true discharge rates throughout the range of       any summary of lease blocks with no discharge             reports shall contain the information listed at
expected discharge volumes.                             must be signed and certified as required in Part          Part II.D.7.
                                                        II.D.11 of this permit and submitted to EPA when
[II.D.] Section D. Reporting Requirements               due.                                                      [II.D.9.] Other Information
[II.D.1.] Planned Changes
                                                                                                                    Where the permittee becomes aware that he
                                                           Additionally, the lease area and block number
  The permittee shall give notice to the Director as                                                              failed to submit any relevant facts in a permit
                                                        assigned by the Department of the Interior shall be
soon as possible of any planned physical altera-                                                                  application, or submitted incorrect information in a
                                                        listed on all DMR.
tions or additions to the permitted facility. Notice                                                              permit application or in any report to the Director,
is required only when:                                  [II.D.5.] Additional Monitoring by the                    he shall promptly submit such facts or information.
                                                        Permittee
[II.D.1.a] The alteration or addition to a permitted                                                              [II.D.10.] Signatory Requirements
facility may meet one of the criteria for determin-
                                                          If the permittee monitors any pollutant more              All applications, reports, or information submit-
ing whether a facility is a new source in 40 CFR
                                                        frequently than required by this permit, using test       ted to the Director shall be signed and certified.
Part 122.29(b); or,
                                                        procedures approved under 40 CFR Part 136 or as
                                                        specified in this permit, the results of this monitor-    [II.D.10.a.] All permit applications shall be signed
[II.D.1.b.] The alteration or addition could signifi-
                                                        ing shall be included in the calculation and report-      as follows:
cantly change the nature or increase the quantity of
pollutants discharged. This notification applies to     ing of the data submitted in the Discharge Moni-
                                                        toring Report (DMR). Such increased monitoring            [II.D.10.a.1.] For a corporation - by a responsible
pollutants which are subject neither to effluent                                                                  corporate officer. For the purpose of this section, a
limitations in the permit, nor to notification re-      frequency shall also be indicated on the DMR.
                                                                                                                  responsible corporate officer means:
quirements listed at Part II.D.10.a.                    [II.D.6.] Averaging of Measurements
                                                                                                                  [II.D.10.a.1.a] A president, secretary, treasurer, or
[II.D.2.] Anticipated Noncompliance                       Calculations for all limitations which require
                                                                                                                  vice-president of the corporation in charge of a
                                                        averaging of measurements shall utilize an arith-
  The permittee shall give advance notice to the                                                                  principal business function, or any other person
                                                        metic mean unless otherwise specified.
Director of any planned changes in the permitted                                                                  who performs similar policy or decision making
facility or activity which may result in noncompli-                                                               functions for the corporation; or,
                                                        [II.D.7.] Twenty-Four Hour Reporting
ance with permit requirements.
                                                        [II.D.7.a.] The permittee shall report any noncom-        [II.D.10.a.1.b.] the manager of one or more manu-
[II.D.3.] Transfers                                     pliance which may endanger health or the                  facturing, production, or operating facilities, pro-
                                                        environment. Any information shall be provided            vided: the manager is authorized to make manage-
  This permit is not transferable to any person
                                                        orally to 214-665-6593 within 24 hours from the           ment decisions which govern the operation of the
except after notice to the Director. The Director
                                                        time the permittee becomes aware of the circum-           regulated facility including having the explicit or
may require modification or revocation and reissu-
                                                        stances. Alternatively to oral reporting, the permit-     implicit duty of making major capital investment
ance of the permit to change the name of the per-
                                                        tee may report by EMAIL at the following                  recommendations, and initiating and directing
mittee and to incorporate such requirements as
                                                        address: R6GENPERMIT@epa.gov. A written                   other comprehensive measures to assure long term
may be necessary under the Act.
                                                        submission shall be provided within 5 days of the         environmental compliance with environmental
[II.D.4.] Discharge Monitoring Reports (DMR)            time the permittee becomes aware of the circum-           laws and regulations; the manager can ensure that
and Other Reports                                       stances. The report shall contain the following           the necessary systems are established or actions
                                                        information:                                              taken to gather complete and accurate information
  The operator of each lease block shall be respon-                                                               for permit application requirements;
                                                        [II.D.7.a.1.] A description of the noncompliance
sible for submitting monitoring results for all fa-
                                                        and its cause;
cilities within each lease block for which the
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 17 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 16
 and where authority to sign documents has been          [II.E.1.] Criminal                                      [II.F.1.] When the Regional Administrator May
assigned or delegated to the manager in accordance                                                               Require Application for an Individual NPDES
with corporate procedures.                               [II.E.1.a.] Negligent Violations                        Permit.
                                                           The Act provides that any person who negli-
[II.D.10.a.2.] For a partnership or sole proprietor-                                                                The Regional Administrator may require any
                                                         gently violates permit conditions implementing
ship - by a general partner or the proprietor, re-                                                               person authorized by this permit to apply for and
                                                         section 301, 302, 306, 307, 308, 318, or 405 of the
spectively.                                                                                                      obtain an individual NPDES permit when:
                                                         Act is subject to a fine of not less $2,500 nor more
[II.D.10.a.3.] For a municipality, State, Federal, or    then $25,000 per day of violation, or by imprison-      [II.F.1.a.] The discharge(s) is a significant con-
other public agency - by either a principal execu-       ment for not more than 1 year, or both.                 tributor of pollution;
tive officer or ranking elected official. For pur-
                                                         [II.E.1.b.] Knowing Violations
poses of this election, a principal executive officer                                                            [II.F.1.b.] The discharger is not in compliance
of a Federal agency includes:                              The Act provides that any person who knowingly        with the conditions of this permit;
                                                         violates permit conditions implementing sections
[II.D.10.a.3.a.] The chief executive officer of the      301, 302, 306, 307, 308, 318 or 405 of the Act is       [II.F.1.c.] A change has occurred in the availabil-
agency, or                                               subject to a fine of not less than $5,000 nor more      ity of the demonstrated technology or practices for
                                                         than $50,000 per day of violation, or by imprison-      the control or abatement of pollutants applicable to
[II.D.10.a.3.b.] A senior executive officer having       ment for not more than 3 years, or both.                the point sources;
responsibility for the overall operations of a princi-
pal geographic unit of the agency.                       [II.E.1.c.] Knowing Endangerment                        [II.F.1.d.] Effluent limitations guidelines are
                                                                                                                 promulgated for point sources covered by this
                                                           The Act provides that any person who knowingly
[II.D.10.b.] All reports required by the permit and                                                              permit;
                                                         violates permit conditions implementing sections
other information requested by the Director shall
                                                         301, 302, 303, 306, 307, 308, 318, or 405 of the
be signed by a person described above or by a duly                                                               [II.F.1.e.] A Water Quality Management Plan
                                                         Act and who knows at that time that he is placing
authorized representative of that person. A person                                                               containing requirements applicable to such point
                                                         another person in imminent danger of death or
is a duly authorized representative only if:                                                                     source is approved;
                                                         serious bodily injury is subject to a fine of not
[II.D.10.b.1.] The authorization is made in writing      more than $250,000, or by imprisonment for not          [II.F.1.f.] The point source(s) covered by this
by a person described above;                             more than 15 years, or both.                            permit no longer:
                                                         [II.E.1.d.] False Statements
[II.D.10.b.2.] The authorization specifies either an                                                             [II.F.1.f.1.] Involve the same or substantially
individual or a position having responsibility for         The Act provides that any person who knowingly        similar types of operations;
the overall operation of the regulated facility or       makes any false material statement, representation,
activity, such as the position of plant manager,         or certification in any application, record report,     [II.F.1.f.2.] Discharge the same types of wastes;
operator of a well or a well field, superintendent,      plan, or other document filed or required to be
or position of equivalent responsibility, or an indi-    maintained under the Act or who knowingly falsi-
vidual or position having overall responsibility for     fies, tampers with, or renders inaccurate, any          [II.F.1.f.3.] Require the same effluent limitations
environmental matters for the company. A duly            monitoring device or method required to be main-        or operating conditions;
authorized representative may thus be either a           tained under the Act, shall upon conviction, be
named individual or an individual occupying a            punished by a fine of not more than $10,000, or by      [II.F.1.f.4.] Require the same or similar monitor-
named position; and,                                     imprisonment for not more than 2 years, or by           ing; and
                                                         both. If a conviction of a person is for a violation
[II.D.10.b.3.] The written authorization is submit-      committed after a first conviction of such person       [II.F.1.f.5.] In the opinion of the Regional Admin-
ted to the Director.                                     under this paragraph, punishment shall be by a fine     istrator, are more appropriately controlled under an
                                                         of not more than $20,000 per day of violation, or       individual permit than under a general permit.
[II.D.10.c.] Certification. Any person signing a         by imprisonment of not more than 4 years, or by
document under this section shall make the               both. (See section 309.c.4 of the Clean Water Act)
following certification:                                                                                         [II.F.1.g.] The bioaccumulation monitoring results
                                                         [II.E.2.] Civil Penalties                               show concentrations of the listed pollutants in
  "I certify under penalty of law that this document                                                             excess of levels safe for human consumption.
                                                           The Act provides that any person who violates a
and all attachments were prepared under my direc-
                                                         permit condition implementing sections 301, 302,
tion or supervision in accordance with a system                                                                    The Regional Administrator may require any
                                                         306, 307, 308, 318, or 405 of the Act is subject to a
designed to assure that qualified personnel prop-                                                                operator authorized by this permit to apply for an
                                                         civil penalty not to exceed $32,500 per day for
erly gather and evaluate the information submitted.                                                              individual NPDES permit only if the operator has
                                                         each violation.
Based on my inquiry of the person or persons who                                                                 been notified in writing that a permit application is
manage the system, or those persons directly re-         [II.E.3.] Administrative Penalties                      required.
sponsible for gathering the information, the infor-
mation submitted is, to the best of my knowledge           The Act provides that any person who violates a       [II.F.2.] When an Individual NPDES Permit
and belief, true, accurate, and complete. I am           permit condition implementing sections 301, 302,        may be Requested
aware that there are significant penalties for sub-      306, 307, 308, 318, or 405 of the Act is subject to
mitting false information, including the possibility     an administrative penalty, as follows:                  [II.F.2.a.] Any operator authorized by this permit
of fine and imprisonment for knowing violations."                                                                may request to be excluded from the coverage of
                                                         [II.E.3.a.] Class I Penalty                             this general permit by applying for an individual
[II.D.11.] Availability of Reports
                                                          Not to exceed $11,000 per violation nor shall the      permit.
  Except for applications, effluent data, permits,       maximum amount exceed $32,500.
                                                                                                                 [II.F.2.b.] When an individual NPDES permit is
and other data specified in 40 CFR 122.7, any
                                                                                                                 issued to an operator otherwise subject to this
information submitted pursuant to this permit may        [II.E.3.b.] Class II penalty
                                                                                                                 general permit, the applicability of this permit to
be claimed as confidential by the submitter. If no         Not to exceed $11,000 per day for each day            the owner or operator is automatically terminated
claim is made at the time of submission, informa-        during which the violation continues nor shall the      on the effective date of that individual permit.
tion may be made available to the public without         maximum amount exceed $157,500.
further notice.
                                                         [II.F.] Section F. Additional General Permit            [II.F.2.c.] A source excluded from coverage under
[II.E.] Section E. Penalties for Violations of           Conditions                                              this general permit solely because it already has an
Permit Conditions                                                                                                individual permit may request that its individual
                                                                                                                 permit be revoked, and that it be covered by this
                                                                                                                 general permit.
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 18 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 17
Upon revocation of the individual permit, this           applied to BAT effluent limitations and NSPS            [II.G.18.] "Controlled Discharge Rates Areas"
general permit shall apply to the source.                refers to the modified American Petroleum Insti-        means zones adjacent to areas of biological
                                                         tute Recommended Practice 13B–2 supplemented            concern.
[II.F.3.] Permit Reopener Clause                         with the specifications, sampling methods, and
                                                         averaging method for retention values provided in       [II.G.19.] "Daily Discharge" means the discharge
  If applicable new or revised effluent limitations
                                                         Appendix 7 of 40 CFR 435, Subpart A.                    of a pollutant measured during a calendar day or
guidelines or New Source Performance Standards
                                                                                                                 any 24-hour period that reasonably represents the
covering the Offshore Subcategory of the Oil and
                                                         [II.G.9.] “Biodegradation Rate” as applied to BAT       calendar day for purposes of sampling. For pollut-
Gas Extraction Point Source Category (40 CFR
                                                         effluent limitations and NSPS for drilling fluids       ants with limitations expressed in terms of mass,
435) are promulgated in accordance with Clean
                                                         and drill cuttings refers to the modified ISO           the daily discharge is calculated as the total mass
Water Act (CWA) sections 301(b), 304(b)(2), and
                                                         11734:1995 method: “Water quality—Evaluation            of the pollutant discharged over the sampling day.
307(a)(2), and the new or revised effluent limita-
                                                         of the ‘ultimate’ anaerobic biodegradability of         For pollutants with limitations expressed in other
tions guidelines or New Source Performance Stan-
                                                         organic compounds in digested sludge - Method by        units of measurement, the daily discharge is calcu-
dards are more stringent than any effluent limita-
                                                         measurement of the biogas production (1995 edi-         lated as the average measurement of the pollutant
tions in this permit or control a pollutant not lim-
                                                         tion)” (Available from the American National            over the sampling day. Daily discharge determina-
ited in this permit, the permit may, at the Director's
                                                         Standards Institute, 11 West 42nd Street, 13th          tion of concentration made using a composite
discretion, be modified to conform to the new or
                                                         Floor, New York, NY 10036) supplemented with            sample shall be the concentration of the composite
revised effluent limitations guidelines.
                                                         modifications in Appendix 4 of 40 CFR 435, Sub-         sample. When grab samples are used, the daily
  Notwithstanding the above, if an offshore oil and      part A, and Appendix B of this permit.                  discharge determination of concentration shall be
gas extraction point source discharge facility is                                                                arithmetic average (weighted by flow value) of all
                                                         [II.G.10.] "Blow-Out Preventer Control Fluid"           samples collected during that sampling day.
subject to the ten-year protection period for new
                                                         means fluid used to actuate the hydraulic equip-
source performance standards under the CWA
                                                         ment on the blow out preventer.
section 306(d), this reopener clause may not be
used to modify the permit to conform to more                                                                     [II.G.20.] "Daily Average" (also known as
                                                         [II.G.11.] "Boiler Blowdown" means discharges
stringent new source performance standards or                                                                    monthly average) discharge limitations means the
                                                         from boilers necessary to minimize solids buildup
technology-based standards developed under sec-                                                                  highest allowable average of daily discharge(s)
                                                         in the boilers, including vents from boilers and
tion 301(b)(2) during the ten-year period specified                                                              over a calendar month, calculated as the sum of all
                                                         other heating systems.
in 40 CFR Part 122.29(d).                                                                                        daily discharge(s) measured during a calendar
                                                         [II.G.12.] "Bulk Discharge" any discharge of a          month divided by the number of daily discharge(s)
  The Director may modify this permit upon meet-                                                                 measured during that month. When the permit
                                                         discrete volume or mass of effluent from a pit tank
ing the conditions set forth in this reopener clause.                                                            establishes daily average concentration effluent
                                                         or similar container that occurs on a one-time,
                                                         infrequent or irregular basis.                          limitations or conditions, the daily average concen-
[II.G.] Section G. Definitions                                                                                   tration means the arithmetic average (weighted by
  All definitions contained in section 502 of the        [II.G.13.] "Bypass" means the intentional diver-        flow) of all daily discharge(s) of concentration
Act shall apply to this permit and are incorporated      sion of waste streams from any portion of a             determined during the calendar month where C =
herein by references. Unless otherwise specified in      treatment facility.                                     daily concentration, F = daily flow, and n = num-
this permit, additional definitions of words or                                                                  ber of daily samples; daily average discharge =
phrases used in this permit are as follows:              [II.G.14.] “C12-C14 Ester and C8 Ester” means the
                                                                                                                                C1F1 + C2F2 + ... + CnFn
                                                         fatty acid/2-ethylhexyl esters with carbon chain
                                                                                                                                   F1 + F2 + ... + Fn.
[II.G.1.] "Act" means the Clean Water Act (33            lengths ranging from 8 to 16 and represented by
U.S.C. 1251 et. seq.), as amended.                       the Chemical Abstracts Service (CAS)             No.    [II.G.21.] "Daily Maximum" discharge limitations
                                                         135800-37-2. (Properties available from the             means the highest allowable "daily discharge"
[II.G.2.] "Administrator" means the Administrator        Chemical Abstracts Service, 2540 Olentangy River        during the calendar month.
of the U.S. Environmental Protection Agency.             Road, P.O. Box 3012, Columbus, OH, 43210)
                                                                                                                 [II.G.22.] "Desalinization Unit Discharge" means
[II.G.3.] "Annual Average" means the average of          [II.G.15.] “C16-C18 Internal Olefin” means a 65/35
                                                                                                                 wastewater associated with the process of
all discharges sampled and/or measured during a          blend, proportioned by mass, of hexadecane and
                                                                                                                 creating freshwater from seawater.
calendar year in which daily discharges are sam-         octadecene, respectively. Hexadecene is an unsatu-
pled and/or measured, divided by the number of           rated hydrocarbon with a carbon chain length of         [II.G.23.] "Deck Drainage" means any waste
discharges sampled and/or measured during such           16, an internal double carbon bond, and is repre-       resulting from deck washings, spillage, rainwater,
year.                                                    sented by the Chemical Abstracts Service (CAS)          and runoff from gutters and drains including drip
                                                         No. 26952-14-7. Octadecene is an unsaturated            pans and work areas within facilities subject to this
[II.G.4.] "Applicable effluent standards and limita-     hydrocarbon with a carbon chain length of 18, an
tions" means all state and Federal effluent stan-                                                                permit.
                                                         internal double carbon bond, and is represented by
dards and limitations to which a discharge is sub-       the Chemical Abstracts Service (CAS) No. 27070-         [II.G.24.] "Development Drilling" means the
ject under the Act, including, but not limited to,       58-2. (Properties available from the Chemical           drilling of wells required to efficiently produce a
effluent limitations, standards or performance,          Abstracts Service, 2540 Olentangy River Road,           hydrocarbon formation or formations.
toxic effluent standards and prohibitions, and           P.O. Box 3012, Columbus, OH, 43210).
pretreatment standards.                                                                                          [II.G.25.] "Development Facility" means any fixed
                                                         [II.G.16.] “C16-C18 Internal Olefin Drilling Fluid”
                                                                                                                 or mobile structure that is engaged in the drilling
[II.G.5.] "Applicable water quality standards"           means a C16-C18 internal olefin drilling fluid formu-
                                                                                                                 of productive wells.
means all water quality standards to which a dis-        lated as specified in Appendix 8 of 40 CFR 435,
charge is subject under the Act.                         Subpart A.                                              [II.G.26.] "Diatomaceous Earth Filter Media"
                                                                                                                 means filter media used to filter seawater or other
[II.G.6.] "Areas of Biological Concern" means a          [II.G.17.] "Completion Fluids" means salt solu-
                                                                                                                 authorized completion fluids and subsequently
portion of the OCS identified by EPA, in consulta-       tions, weighted brines, polymers and various
                                                                                                                 washed from the filter.
tion with the Department of Interior as containing       additives used to prevent damage to the well bore
potentially productive or unique biological com-         during operations which prepare the drilled well        [II.G.27.] “Diesel Oil” refers to the grade of distil-
munities or as being potentially sensitive to dis-       for hydrocarbon production. These fluids move           late fuel oil, as specified in the American Society
charges associated with oil and gas activities.          into the formation and return to the surface as a       for Testing and Materials Standard Specification
                                                         slug with the produced water. Drilling muds re-         for Diesel Fuel Oils D975–91, which is typically
[II.G.7.] “Base Fluid” means the continuous phase        maining in the wellbore during logging, casing,
or suspending medium of a drilling fluid                                                                         used as the continuous phase in conventional oil-
                                                         and cementing operations or during temporary            based drilling fluids. This incorporation by refer-
formulation.                                             abandonment of the well are not considered com-         ence was approved by the Director of the Federal
                                                         pletion fluids and are regulated by drilling fluids     Register in accordance with 5 U.S.C. 552(a) and 1
[II.G.8.] “Base Fluid Retained” on cuttings as           requirements.                                           CFR Part 51.
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 19 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 18
Copies may be obtained from the American Soci-            hydrostatic weight of water in the riser and one        [II.G.43.] "Graywater" means drainage from dish-
ety for Testing and Materials, 1916 Race Street,          from the mud weight in the well. Dual gradient          water, shower, laundry, bath, and washbasin drains
Philadelphia, PA 19103. Copies may be inspected           drilling can include a discharge of the larger size     and does not include drainage from toilets, urinals,
at the Office of the Federal Register, 800 North          cuttings sub sea.                                       hospitals, and cargo spaces.
Capitol Street, NW., Suite 700, Washington, DC.
A copy may also be inspected at EPA’s Water               [II.G.33.] "End of well Sample" means the sample        [II.G.44.] "Inverse Emulsion Drilling Fluids"
Docket, 401 M Street SW., Washington, DC                  taken after the final log run is completed and prior    means an oil-based drilling fluid which also con-
20460.                                                    to bulk discharge.                                      tains a large amount of water.

[II.G.28.] "Director" means the U.S. Environ-             [II.G.34.] “Enhanced Mineral” oil as applied to         [II.G.45.] "Live bottom areas" means those areas
mental Protection Agency Regional Administrator           enhanced mineral oil-based drilling fluid means a       which contain biological assemblages consisting of
or an authorized representative.                          petroleum distillate which has been highly purified     such sessile invertebrates as seas fans, sea whips,
                                                          and is distinguished from diesel oil and conven-        hydroids, anemones, ascidians sponges, bryozoans,
[II.G.29.] "Domestic Waste" means material dis-           tional mineral oil in having a lower polycyclic         seagrasses, or corals living upon and attached to
charged from galleys, sinks, showers, safety              aromatic hydrocarbon (PAH) content. Typically,          naturally occurring hard or rocky formations with
showers, eye wash stations, hand washing stations,        conventional mineral oils have a PAH content on         fishes and other fauna.
fish cleaning stations, and laundries.                    the order of 0.35 weight percent expressed as
                                                          phenanthrene, whereas enhanced mineral oils             [II.G.46.] "Maintenance waste" means materials
[II.G.30.] “Drill Cuttings” means the particles           typically have a PAH content of 0.001 or lower          collected while maintaining and operating the
generated by drilling into subsurface geologic            weight percent PAH expressed as phenanthrene.           facility, including, but not limited to, soot, machin-
formations including cured cement carried out                                                                     ery deposits, scraped paint, deck sweepings, wip-
from the wellbore with the drilling fluid. Examples       [I I . G .3 5. ] "En vi ron m ent a l P rot ec t i on   ing wastes, and rags.
of drill cuttings include small pieces of rock vary-      Agency" (EPA) means the U.S. Environmental
ing in size and texture from fine silt to gravel. Drill   Protection Agency.                                      [II.G.47.] "Maximum Hourly Rate" means the
cuttings are generally generated from solids con-                                                                 greatest number of barrels of drilling fluids dis-
trol equipment and settle out and accumulate in           [II.G.36.] "Excess Cement Slurry" means the             charged within one hour, expressed as barrels per
quiescent areas in the solids control equipment or        excess mixed cement, including additives and            hour.
other equipment processing drilling fluid (i.e.,          wastes from equipment washdown, after a cement-
accumulated solids).                                      ing operation.                                          [II.G.48.] “Maximum Weighted Mass Ratio Aver-
                                                                                                                  aged Over All NAF Well Sections” for BAT
[II.G.30.a.] “Wet Drill Cuttings” means the unal-         [II.G.37.] "Exploratory Facility" means any fixed       effluent limitations and NSPS for base fluid re-
tered drill cuttings and adhering drilling fluid and      or mobile structure that is engaged in the drilling     tained on cuttings means the weighted average
formation oil carried out from the wellbore with          of wells to determine the nature of potential hydro-    base fluid retention for all NAF well sections as
the drilling fluid.                                       carbon reservoirs.                                      determined by the modified API Recommended
                                                                                                                  Practice 13B-2, using the methods and averaging
[II.G.30.b.] “Dry Drill Cuttings” means the resi-         [II.G.38.] "Fecal Coliform Bacteria Sample" con-        calculations presented in Appendix 7 of 40 CFR
due remaining in the retort vessel after completing       sists of one effluent grab portion collected during a   435, Subpart A.
the retort procedure specified in Appendix 7 of 40        24-hour period at peak loads.
CFR 435, Subpart A.                                                                                               [II.G.49.] “Method 1654A” refers to the method
                                                          [II.G.39.] “Formation Oil” means the oil from a         “PAH Content of Oil by High Performance Liquid
[II.G.31.] “Drilling Fluid” means the circulating         hydrocarbon bearing formation and other oil which       Chromatography with a UV Detector,” which was
fluid (mud) used in the rotary drilling of wells to       might enter the drilling fluid, which is detected in    published in Methods for the Determination of
clean and condition the hole and to counterbalance        the drilling fluid, as determined by the GC/MS          Diesel, Mineral and Crude Oils in Offshore Oil and
formation pressure. Classes of drilling fluids are:       compliance assurance method specified in Appen-         Gas Industry Discharges, EPA-821-R-92-008
                                                          dix 5 of Subpart A of this part when the drilling       (incorporated by reference and available from
                                                          fluid is analyzed before being shipped offshore,        National Technical Information Service at
[II.G.31.a.] “Water-Based Drilling Fluid” means           and as determined by the RPE method specified in        703/605-6000).
the continuous phase and suspending medium for            Appendix 6 of Subpart A of this part when the
solids is a water-miscible fluid, regardless of the       drilling fluid is analyzed at the offshore point of     [II.G.50.] “Minimum” as applied to BAT effluent
presence of oil.                                          discharge. Detection of formation oil by the RPE        limitations and NSPS for drilling fluids and drill
                                                          method may be confirmed by the GC/MS compli-            cuttings means the minimum 96-hour LC50 value
[II.G.31.b.] “Non aqueous Drilling Fluid” means           ance assurance method, and the results of the GC/       allowed as measured in any single sample of the
the continuous phase and suspending medium for            MS compliance assurance method shall supercede          discharged waste stream. Minimum as applied to
solids is a water-immiscible fluid, such as oleagi-       those of the RPE method.                                BPT and BCT effluent limitations and NSPS for
nous materials (e.g., mineral oil, enhanced mineral                                                               sanitary wastes means the minimum concentration
oil, paraffinic oil, C16-C18 internal olefins, and C8-    [II.G.40.] “Four (4)-day LC50" as applied to the        value allowed as measured in any single sample of
C16 fatty acid/2- ethylhexyl esters).                     sediment toxicity BAT effluent limitations and          the discharged waste stream.
                                                          NSPS means the concentration (milliliters/
[II.G.31.b.1.] “Oil-Based” means the continuous           kilogram dry sediment) of the drilling fluid in         [II.G.51.] "Muds, Cuttings, and Cement at the
phase of the drilling fluid consists of diesel oil,       sediment that is lethal to 50 percent of the Lepto-     Seafloor" means discharges that occur at the sea-
mineral oil, or some other oil, but contains no           cheirus plumulosus test organisms exposed to that       floor prior to installation of the marine riser and
synthetic material or enhanced mineral oil.               concentration of the drilling fluids after four days    during marine riser disconnect, well abandonment
                                                          of constant exposure.                                   and plugging operations. Also included are dis-
[II.G.31.b.2.] “Enhanced Mineral Oil-Based”                                                                       charges of drilling fluid and cuttings associated
means the continuous phase of the drilling fluid is       [II.G.41.] "Grab sample" means an individual            with the operation of a sub sea drilling fluid pump.
enhanced mineral oil.                                     sample collected in less than 15 minutes.
                                                                                                                  [II.G.52.] "National Pollutant Discharge Elimina-
[II.G.31.b.3.] “Synthetic-Based” means the con-           [II.G.42.] "Garbage" means all kinds of food            tion System" (NPDES) means the national pro-
tinuous phase of the drilling fluid is a synthetic        waste, wastes generated in living areas on the          gram for issuing, modifying, revoking, and reissu-
material or a combination of synthetic materials.         facility, and operational waste, excluding fresh fish   ing, terminating, monitoring, and enforcing per-
                                                          and parts thereof, generated during the normal          mits, and imposing and enforcing pretreatment
                                                          operation of the facility and liable to be disposed     requirements, under section 307, 318, 402, and 405
[II.G.32.] “Dual Gradient Drilling” means well            of continuously or periodically, except dishwater,      of the Act.
drilling where a pump is used sub sea to lift drill-      graywater, and those substances that are defined or
ing fluids and cuttings to the surface. This allows       listed in other Annexes to MARPOL 73/78                 [II.G.53.] "New Source" means any facility or
for a dual pressure gradient - one from the                                                                       activity that meets the definition of "new source"
                                                                                                                  under 40 CFR 122.2 and meets the criteria for
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 20 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 19
determination of new sources under 40 CFR              [II.G.61.] "Priority Pollutants" means those chemi-     [II.G.73.] “Stock Barite” means the barite that was
122.29(b) applied consistently with all of the fol-    cals or elements identified by EPA, pursuant to         used to formulate a drilling fluid.
lowing definitions:                                    section 307 of the Clean Water Act and 40 CFR
                                                       401.15.                                                 [II.G.74.] “Stock Base Fluid” means the base fluid
[II.G.53.a.] The term "water area" as used in the                                                              that was used to formulate a drilling fluid.
term "site" in 40 CFR 122.29 and 122.2 shall mean      [II.G.62.] "Produced Sand" means slurried parti-
the water area and ocean floor beneath any ex-         cles used in hydraulic fracturing, the accumulated      [II.G.75.] “Suspended Particulate Phase Toxicity”
ploratory, development, or production facility         formation sands, and scale particles generated          as applied to BAT effluent limitations and NSPS
where such facility is conducting its exploratory,     during production. Produced sand also includes          for drilling fluids and drill cuttings refers to the
development, or production activities.                 desander discharge from produced water waste            bioassay test procedure presented in Appendix 2 of
                                                       stream and blowdown of water phase from the             40 CFR 435, Subpart A.
[II.G.53.b.] The term "significant site preparation    produced water treating system.
work" as used in 40 CFR 122.29 shall mean the                                                                  [II.G.76.] “Synthetic Drilling Fluid” means a
process of surveying, clearing, or preparing an area   [II.G.63.] "Produced Water" means the water             drilling fluid which has synthetic material as its
of the ocean floor for the purpose of constructing     (brine) brought up from the hydrocarbon-bearing         continuous phase with water as the dispersed
or placing a development or production facility on     strata during the extraction of oil and gas, and can    phase.
or over the site. “New Source” does not include        include formation water, injection water, and any
facilities covered by an existing NPDES permit         chemicals added downhole or during the oil/water        [II.G.77.] “Synthetic Material” as applied to syn-
immediately prior to the effective date of these       separation process.                                     thetic-based drilling fluid means material produced
guidelines pending EPA issuance of a new source                                                                by the reaction of specific purified chemical feed-
NPDES permit.                                          [II.G.64.] "Production Facility" means any fixed        stock, as opposed to the traditional base fluids such
                                                       or mobile structure that is either engaged in well      as diesel and mineral oil which are derived from
[II.G.54.] “Ninety-Six (96)-hour LC50" means the       completion or used for active recovery of hydro-        crude oil solely through physical separation proc-
concentration (parts per million) or percent of the    carbons from producing formations.                      esses. Physical separation processes include frac-
suspended particulate phase (SPP) from a sample                                                                tionation and distillation and/or minor chemical
that is lethal to 50 percent of the test organisms     [II.G.65.] "Sanitary Waste" means human body            reactions such as cracking and hydro processing.
exposed to that concentration of the SPP after 96      waste discharged from toilets and urinals.              Since they are synthesized by the reaction of puri-
hours of constant exposure.                                                                                    fied compounds, synthetic materials suitable for
                                                       [II.G.66.] “Sediment Toxicity” as applied to BAT        use in drilling fluids are typically free of PAH’s
[II.G.55.] "No Activity Zones" means those areas       effluent limitations and NSPS for drilling fluids       but are sometimes found to contain levels of PAH
identified by the Minerals Management Service          and drill cuttings refers to the ASTM E1367–92          up to 0.001 weight percent PAH expressed as
(MMS) where no structures, drilling rigs, or pipe-     method: Standard Guide for Conducting 10-day            phenanthrene. Internal olefins and vegetable esters
lines will be allowed. Those zones are identified in   Static Sediment Toxicity Tests with Marine and          are two examples of synthetic materials suitable
lease stipulations that are applied to MMS oil and     Estuarine Amphipods (Available from the Ameri-          for use by the oil and gas extraction industry in
gas lease sales. Additional no activity areas may be   can Society for Testing and Materials, 100 Barr         formulating drilling fluids. Internal olefins are
identified by MMS during the life of this permit.      Harbor Drive, West Conshohocken, PA, 19428)             synthesized from the isomerization of purified
                                                       with Leptocheirus plumulosus as the                     straight-chain (linear) hydrocarbons such as C16-C18
                                                       test organism and sediment preparation procedures       linear alpha olefins. C16-C18 linear alpha olefins are
[II.G.56.] “No Discharge of Free Oil” means that       specified in Appendix 3 of 40 CFR 435, Subpart          unsaturated hydrocarbons with the carbon to car-
waste streams may not be discharged that contain       A, and the method found in Appendix B of this           bon double bond in the terminal position. Internal
free oil as evidenced by the monitoring method         permit.                                                 olefins are typically formed from heating linear
specified for that particular stream, e.g., deck
                                                                                                               alpha olefins with a catalyst. The feed material for
drainage or miscellaneous discharges cannot be         [II.G.67.] "Severe property damage" means sub-
                                                                                                               synthetic linear alpha olefins is typically purified
discharged when they would cause a film or sheen       stantial physical damage to property, damage to
                                                                                                               ethylene. Vegetable esters are synthesized from the
upon or discoloration of the surface of the receiv-    the treatment facilities which cause them to be-
                                                                                                               acid-catalyzed esterification of vegetable fatty
ing water; drilling fluids or cuttings may not be      come inoperable, or substantial and permanent loss
                                                                                                               acids with various alcohols. EPA listed these two
discharged when they fail the static sheen test        of natural resources which can reasonably be ex-
                                                                                                               branches of synthetic fluid base materials to pro-
defined in Appendix 1 of 40 CFR 435, Subpart A.        pected to occur in the absence of a bypass. Severe
                                                                                                               vide examples, and EPA does not mean to exclude
                                                       property damage does not mean economic loss
[II.G.57.] "Operational waste" means all cargo                                                                 other synthetic materials that are either in current
                                                       caused by delays in production.
associated waste, maintenance waste, cargo resi-                                                               use or may be used in the future. A synthetic-based
dues, and ashes and clinkers from incinerators and     [II.G.68.] "Sheen" means a silvery or metallic          drilling fluid may include a combination of syn-
coal burning boilers.                                  sheen, gloss, or increased reflectivity, visual color   thetic materials.
                                                       or iridescence on the water surface.
                                                                                                               [II.G.78.] “Ten (10)-day LC50" as applied to the
[II.G.58.] "Packer Fluid" means low solids fluids
                                                                                                               sediment toxicity BAT effluent limitations and
between the packer, production string and well         [II.G.69.] “Solids Control Equipment” means
                                                                                                               NSPS means the concentration (milligrams of
casing. They are considered to be workover fluids.     shale shakers, centrifuges, mud cleaners, and other
                                                                                                               drilling fluid/kilogram dry sediment) of the base
                                                       equipment used to separate drill cuttings and/or
                                                                                                               fluid in sediment that is lethal to 50 percent of the
                                                       stock barite solids from drilling fluid recovered
[II.G.59.] “PAH (as phenanthrene)” means                                                                       Leptocheirus plumulosus test organisms exposed
                                                       from the wellbore.
polynuclear aromatic hydrocarbons reported as                                                                  to that concentration of the base fluids after ten
phenanthrene.                                          [II.G.70.] "Source Water and Sand" means water          days of constant exposure.
                                                       from non-hydrocarbon bearing formations for the
                                                                                                               [II.G.79.] "Territorial Seas" means the belt of the
[II.G.60.] Parameters that are regulated by this       purpose of pressure maintenance or secondary
                                                                                                               seas measured from the line of ordinary low water
permit and listed with approved methods of analy-      recovery including the entrained solids.
                                                                                                               along that portion of the coast which is in direct
sis in Table 1B at 40 CFR 136.3 are defined as
                                                       [II.G.71.] "Spotting" means the process of adding       contact with the open sea and the line marking the
follows:
                                                       a lubricant (spot) downhole to free stuck pipe.         seaward limit of inland waters, and extending
[II.G.60.a.] Cadmium means total cadmium.                                                                      seaward a distance of three miles.

[II.G.60.b.] Chlorine means total residual chlo-                                                               [II.G.80.] "Trace Amounts" means that if materi-
                                                       [II.G.72.] “Static Sheen Test” means the standard
rine.                                                                                                          als added downhole as well treatment, completion,
                                                       test procedure that has been developed for this
                                                                                                               or workover fluids do not contain priority pollut-
                                                       industrial subcategory for the purpose of demon-
[II.G.60.c.] Mercury means total mercury.                                                                      ants then the discharge is assumed not to contain
                                                       strating compliance with the requirement of no
[II.G.60.d.] Oil and Grease means total recover-                                                               priority pollutants, except possibly in trace
                                                       discharge of free oil. The methodology for per-
able oil and grease.                                                                                           amounts.
                                                       forming the static sheen test is presented in Appen-
                                                       dix 1 of 40 CFR 435, Subpart A.
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 21 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 20
[II.G.81.] “Treatment Chemicals” means biocides,        ————————————————-                                        average of 85% survival in >95% sand/gravel
corrosion inhibitors, or other chemicals which are                     Appendix A                                sediment (ASTM E 1367-99). The ASTM data are
used to treat seawater or freshwater to prevent         METHOD FOR CONDUCTING A SEDI-                            consistent with data published from other studies
corrosion or fouling of piping or equipment. Non-       MENT TOXICITY TEST WITH Leptocheirus                     indicating that L. plumulosus is tolerant of sandy
toxic scale inhibitors and dyes are not considered      plumulosus AND Non aqueous FLUIDS OR                     and silty sediments. For example, Schlekat et al.
treatment chemicals. However, chlorine generated        SYNTHETIC BASED DRILLING MUDS                            (1992) noted a mean survival of 97.5% when L.
using an electric current rather than added is con-                                                              plumulosus was exposed for 10 days to field col-
sidered a treatment chemical.                           [Appendix A.1.] Introduction                             lected sediments ranging from 98.1% sand to
                                                                                                                 96.5% fines. Further, this species was collected in
[II.G.82.] "Uncontaminated Ballast/Bilge Water"            This test method describes procedures for obtain-     the field in sediments consisting of 99.9% sand and
means seawater added or removed to maintain             ing data regarding the effects of non aqueous fluids     92.1% fines, indicating that L. plumulosus is a
proper draft.                                           (NAF) or synthetic based drilling muds (SBMs) on         generalist and can thrive in a variety of sediment
                                                        the marine amphipod, Leptocheirus plumulosus.            types (Schlekat et al. 1992).
[II.G.83.] "Uncontaminated Freshwater" means            The tests are conducted in a similar manner; differ-
freshwater which is discharged without the              ences are noted in the text and tables below.              However, the fine fraction of sediments in the
addition of treatment chemicals; included are (1)       USEPA is regulating the sediment toxicity of             Schlekat et al. study did not exceed 55% clay,
discharges of excess freshwater that permit the         NAFs and SBMs discharged by oil and gas extrac-          indicating that the fine fraction was a mixture of
continuous operation of fire control and utility lift   tion facilities in coastal and offshore waters as an     silt and clay sized particles. Data from other stud-
pumps, (2) excess freshwater from pressure main-        indication of the toxicity of the drilling muds          ies indicated that this species is intolerant of sedi-
tenance and secondary recovery projects, (3) water      (USEPA 2000). This test method conforms to the           ments high in clay content. McGee et al. (1999)
released during training and testing of personnel in    Effluent Limitations Guidelines specified in 40          noted acceptable survival when this species was
fire protection, and (4) water used to pressure test    CFR part 435 (see 66 FR 6849, January 22, 2001).         exposed to Baltimore Harbor sediments containing
or flush new piping or pipelines.                       As specified in the Effluent Limitations Guide-          up to 72% clay. However, Emery et al. (1997)
                                                        lines, this test method is consistent with ASTM          noted significantly reduced amphipod survival
[II.G.84.] "Uncontaminated Seawater" means              Standard Guide E 1367-92 (ASTM 1997). Since              when L. plumulosus was exposed for 10 days to
seawater which is returned to the sea without the       ASTM E 1367-92 was outdated at the time 40               Magothy River, Maryland sediment (amended with
addition of treatment chemicals. Included are (1)       CFR part 435 (see 66 FR 6849, January 22, 2001)          beach sand and kaolinite clay) containing 84%,
discharges of excess seawater which permit the          was published in the Federal Register, this test         90%, and 100% clay.
continuous operation of fire control and utility lift   method is also consistent with ASTM E 1367-99
pumps (2) excess seawater from pressure mainte-         (ASTM 2000), which is the latest version pub-              These data indicated that the tolerance range of
nance and secondary recovery projects (3) water                                                                  this amphipod to clay content is between about
                                                        lished by ASTM.
released during the training and testing of person-                                                              72 to 84%. As such, caution should be used when
nel in fire protection (4) seawater used to pressure    [Appendix A.2.] Test Species                             conducting L. plumulosus toxicity tests with sedi-
test or flush new or existing piping and pipelines,                                                              ments with clay content greater than about 70%.
and (5) once through noncontact cooling water             L. plumulosus is an infaunal amphipod that is          This should not have a significant impact on using
which has not been treated with biocides.               indigenous to subtidal regions along the east coast      this species in the NAF and SBM toxicity testing
                                                        of the U.S. This amphipod constructs U-shaped            program, since field sediments seldom exceed 70%
[II.G.85.] "Upset" means an exceptional incident        burrows in the top 5 cm of fine sand to silty clay       clay content (Suedel and Rodgers 1991).
in which there is unintentional and temporary           sediments (ASTM E1367-99). As a result of its
noncompliance with technology-based permit              broad salinity and particle size tolerances, it is a     [Appendix A.3.] Control Sediments
effluent limitations because of factors beyond the      desirable test species for a variety of toxicity test-     Control sediment must meet certain minimum
reasonable control of the permittee. An upset does      ing programs.                                            requirements to be used in the SBM testing pro-
not include noncompliance to the extent caused by                                                                gram. The primary requirement is that the sedi-
operational error, improperly designed treatment                                                                 ment should be able to support L. plumulosus
facilities, inadequate treatment facilities, lack of    [Appendix A.2.1.] Collection and Handling                in cultures for extended periods of time. This will
preventive maintenance, or careless or improper                                                                  ensure that the sediment is chemically nontoxic
operation.                                                In the field, amphipods can be collected using
                                                        sediment grab samplers such as Peterson and              and that the physical and chemical characteristics
[II.G.86.] "Well Treatment Fluids" mean any fluid       Ponar dredges. This species has been collected in        of the sediment (e.g., total organic carbon, particle
used to restore or improve productivity by              various tributaries of the Chesapeake Bay for            size distribution, and moisture content) are within
chemically or physically altering hydrocarbon-          various toxicity testing programs (ASTM E 1367-          the tolerance range of the test species. It is ex-
bearing strata after a well has been drilled. These     99). The contents of each grab should be sieved          pected that separate aliquots of the culture sedi-
fluids move into the formation and return to the        through a 500 m mesh screen. The sediment and            ment will also be used as a control sediment to be
surface as a slug with the produced water. Stimula-     organisms retained on the screen are gently rinsed       amended by NAFs or SBMs in the NAF/SBM
tion fluids include substances such as acids, sol-      into plastic buckets containing sediment and water       testing program. Any modifications made to the
vents, and propping agents.                             from the collection site. These buckets are quickly      control sediments should be noted in the report.
                                                        transported back to the laboratory and aerated. See      [Appendix A.3.1.] Characterization
[II.G.87.] "Workover Fluids" mean salt solutions,       ASTM E 1367-99 for more details on collection
weighted brines, polymers, and other specialty          and handling.                                              Sediments used in testing should be character-
additives used in a producing well to allow safe                                                                 ized for total organic carbon (TOC), particle size
repair and maintenance or abandonment                   [Appendix A.2.2.] Holding and Acclimation                distribution (sand, silt, and clay), and percent water
procedures. High solids drilling fluids used during       Amphipods can be placed in aquaria containing a        content. These parameters have been shown to
workover operations are not considered workover         1-2 cm deep layer of collection site sediment that       influence the results of NAF/SBM toxicity to L.
fluids by definition and therefore must meet drill-     has been sieved through a 500 m mesh screen.             plumulosus in initial experiments. Variations
ing fluid effluent limitations before discharge may     Amphipod density should be about 200-300                 in these sediment characteristics should be quanti-
occur. Packer fluids, low solids fluids between the     per 40 L aquarium with vigorous aeration. Two to         fied so that potential effects of these parameters
packer, production string and well casing, are          three days are sufficient for acclimation to test        on test results can be closely monitored.
considered to be workover fluids and must meet          conditions, and during this period a gradual change
only the effluent requirements imposed on work-                                                                  [Appendix A.3.2.] Collection
                                                        over from site water to test water is recommended
over fluids.                                            (ASTM E 1367-99).                                          Control sediments should be collected from the
                                                                                                                 amphipod collection site or from another area that
[II.G.88.] The term "MGD" shall mean million
                                                        [Appendix A.2.c.] Environmental Tolerances               can provide a consistent source of sediment with
gallons per day.
                                                          L. plumulosus is tolerant of a broad salinity          characteristics within the tolerance range of
[II.G.89.] The term "mg/l" shall mean milligrams        range, from near 0 to 33 g/kg (‰) (ASTM E 1367-          L. plumulosus. Sediments showing evidence of
per liter or parts per million (ppm).                   99). This species has demonstrated up to 100%            chemical contamination should not be used in the
                                                        survival in >90% silt-clay sediment and an               NAF/SBM testing program. Any site water
[II.G.90.] The term "µg/l" shall mean micrograms
per liter or parts per billion (ppb).
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 22 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 21
overlying the sediment should be retained so that           suitable for this purpose);                        hydrocarbon (TPH) content of the NAF or SBM as
fine particles suspended in the water can be re-       •    Determine the amount of NAF or SBM                 measured by EPA Methods 3550A and 8015M. If
combined with the sediment before use. Sediment             needed to obtain a desired test concentration;     the initial CV is 20%, then the NAF/SBM- sedi-
salinity and temperature should be recorded at the                                                             ment mixture must be re-mixed and reanalyzed
time of collection. Sediment collected for use         •    Determine the amount of wet sediment re-           until the 20% CV limit is achieved.
should be homogenized and a composite sample                quired;
prepared for analysis for the parameters outlined      •    Determine the amount of dry sediment in              Homogeneity measurements should be made on
above.                                                      kilograms for each test concentration;             the lowest and highest NAF concentrations for a
                                                       •    Determine the amount of NAF or SBM re-             given test. Laboratories should validate mixing
[Appendix A.3.3.] Sieving                                                                                      efficiency via TPH measurements (as outlined
                                                            quired to amend the control sediment at each
  Sediments collected in the field for culturing and                                                           above) of the low and high NAF concentrations.
                                                            test concentration;
testing purposes should be first press-sieved                                                                  The homogeneity measurements should be made at
                                                       •    Mix NAF or SBM with control sediment;              least once per year.
through a 2,000 m or similar mesh sieve to remove
large debris and then through a 500 m mesh sieve       •    Test for homogeneity of NAF or SBM in
                                                            sediment, and;                                     [Appendix A.6.] Recommended Test Conditions
to remove any indigenous organisms. Sediments
have also been press-sieved through a 250 to 350       •    Mix sufficient quantities of NAF or SBM              The recommended test conditions for conducting
m mesh sieve prior to testing to aid in the enu-            with control sediment for each treatment of        the 10-day or 96-hr sediment toxicity test with
meration of amphipods on a 500 m mesh sieve at              amended or spiked sediment.                        L. plumulosus are summarized in Table 1 and are
test termination.                                                                                              consistent with methods presented in ASTM E
                                                         The six steps given above for base fluids can also    1367-92 and subsequent updates (E 1367-99).
[Appendix A.3.4.] Storage                              be applied to SBMs, except that the third bullet in     Tests should be conducted at 20 1C at 20 1‰
                                                       Step 3 requires a measurement of the density of the     salinity with a 14h light; 10 h dark photoperiod at
  The control sediment should be stored in plastic
                                                       SBM. The density of the SBM can then be used to         approximately 500-1,000 lux (or about 46 to 93
or glass containers at 4 3 C until test initiation.
                                                       estimate the quantity required for the desired test     footcandles). Test chambers are 1-L glass contain-
The sediment should be stored in the dark and
                                                       concentration. Refer to the formulas below for          ers with about a 10 cm inside diameter opening (or
should not be allowed to freeze or dry out during
                                                       NAF and SBM calculations:                               similar glass containers) that can contain about 150
storage (E 1367-92).
                                                                                                               ml sediment and 600 ml overlying water to achieve
[Appendix A.4.] Test Water                                                                                     a 4:1 (v/v) water to sediment ratio. There are five
                                                                                                               (5) test concentrations plus a control for each NAF
  Water used in the NAF/SBM program should be          NAF         Conc. Desired   Dry Weight              and SBM test. Five (5) replicates are included for
available in sufficient quantities and be acceptable   Required=  (mg/kg)        Sediment(g ) 
                                                                                  *                         the control sediment (E 1367-99) and for each test
to L. plumulosus. The minimum requirement for            (g)                                                   concentration.
                                                                      1000g/kg         1000mg/g
acceptable water for use in the NAF program is
                                                                    Conc      DryWeight     SBM       
that healthy test organisms survive in the water,      SBM          Desired  x Sediment    x  Density      The control sediment/test material mixture and
and in the water plus control sediment, for the        Re-                                               test water should be added to test chambers the
duration of holding and testing without showing        quired=      ml/kg   (kg)         g/mL 
                                                                                                               day before amphipods are added. This will allow
signs of disease or stress (ASTM E 1367-99).                                                                   for suspended particles to settle and allow time
Another test for acceptability of the test water        See 40 CFR parts 9 and 435 pages 6901-6902 for
                                                       more information regarding this procedure.              for equilibration of temperature and the sediment-
would be its successful use in the culturing of L.                                                             water interface. After the overnight equilibration
plumulosus (with the control sediment).                                                                        period, amphipods are randomly distributed to
                                                       [Appendix A.5.1.] Mixing Procedure
  Natural seawater or synthetic salt water can be                                                              each test chamber. Twenty amphipods are added to
                                                         Mixing the NAF or SBM with the control sedi-          each replicate and there are five replicates per test
used in the NAF program. Natural salt water
                                                       ment can be accomplished by following these             treatment. Amphipods caught on the water surface
should be obtained from an uncontaminated area
                                                       steps:                                                  can be pushed under with a glass rod. Individuals
known to support a healthy, reproducing popula-
tion of L. plumulosus or similar sensitive species.                                                            that have not burrowed within 5 to 10 minutes can
Reconstituted salt water can be prepared by adding     •    Place appropriate amounts of weighed NAF           be replaced, unless they are exhibiting an avoid-
commercially available sea salt in specified quanti-        or SBM into a stainless steel mixing bowl;         ance response. Amphipods are not removed at any
ties. Natural seawater should be filtered by passing   •    Tare the mixing bowl weight;                       time during the course of the toxicity test even if
through a 5 micron filter before use. The reader is                                                            they appear dead. Test water is not renewed (i.e.,
                                                       •    Add appropriate amount of control sediment;        static) and the amphipods are not fed during the
referred to ASTM E 1367-92 or E 1367-99 for
more information concerning test water.                •    Mix for 9 to15 minutes with a hand-held            exposure period. The toxicity test is terminated
                                                            mixer equipped with stainless steel blades         after 96 hours or 10 days for SBMs and NAFs
[Appendix A.5.] Mixing NAFs or SBMs with                    (e.g., KitchenAid Model KHM6), and;                respectively.
Control Sediment                                       •    As appropriate, test mixing homogeneity as
                                                            described below.                                     Temperature, salinity, pH, and dissolved oxygen
  Appendix 3 to Subpart A of Part 435 – Procedure                                                              (DO) should be monitored daily. Ammonia should
for Mixing Base Fluids with Sediments (40 CFR                                                                  also be monitored in overlying water to ensure that
                                                         The control sediment alone should also be sub-
parts 9 and 435 pages 6901-6902) describes a                                                                   the concentrations of this constituent do not exceed
                                                       jected to the mixing procedure to ensure mixing
method for amending control sediments with                                                                     the tolerance range of the test species. For L. plu-
                                                       has no effect on sediment toxicity.
synthetic-based drilling fluids. This same method                                                              mulosus, this is about 60 mg/L (as total ammonia)
can be used to amend control sediments with            [Appendix A.5.2.] Homogeneity of Mixing                 at pH 7.7 in 10-day tests (USEPA 1994). Ammo-
NAFs and SBMs. The control sediment should be                                                                  nia has not been a problem in initial L. plumulosus
sieved and homogenized before wet to dry weight          As noted above, tests for homogeneity of mixing       96-hr and 10-day tests with various NAFs.
ratio and density determinations are made and          should be performed, preferably in the procedure
before NAFs are added to the control sediment.         development phase (40 CFR part 9 page 6901-             [Appendix A.6.1.] Biological Data
The following steps were given in 40 CFR Appen-        6902) by each laboratory performing NAF/SBM               Mortality is the endpoint for L. plumulosus at the
dix 3 for mixing NAFs and SBMs with control            toxicity testing. This is to ensure that the NAF or     end of the exposure period. At test termination, the
sediments (parentheses were added here to provide      SBM, which can be difficult to homogenize with          contents of each test chamber (amphipods plus test
additional information):                               control sediments, can be evenly mixed with the         sediment) are sieved through a 500 m mesh screen
                                                       control sediment by each testing laboratory. Ap-        to remove amphipods. Material retained on the
•     Determine the wet to dry weight ratio for the    pendix 3 to Subpart A of Part 435 specifies that the    screen should be rinsed into a sorting tray with
     control sediment (three replicates of 30 g        coefficient of variation (CV) for a minimum of          clean salt water. The total numbers of live and
     each as been used successfully);                  three replicate samples of the NAF/control sedi-        dead amphipods should be recorded. Missing
                                                       ment mixture must be less than 20%. Determina-
•    Determine the density (g/ml) of the control                                                               animals are presumed to have died and decom-
                                                       tions of CV should be based on total petroleum          posed during the test and disintegrated. Amphipods
     sediment (three replicates of >25 ml is
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 23 of 42

            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 22
should be counted alive if there are any signs of          Procedures presented in this test method are used      initiation and before amphipods are added to cul-
movement, such as a neuromuscular pleopod                to calculate point estimates, or LC50 values. The        ture chambers; otherwise, culture water should be
twitch (ASTM E 1367-99). Gentle prodding may             LC50 value and 95% confidence limits of the NAF          renewed in conjunction with feeding.
be used to elicit movement.                              tests should be calculated on the basis of milli-
                                                         grams of NAF per kg dry control sediment (mg/kg)           Cultures should be observed daily to ensure
[Appendix A.7.] Test Acceptability Require-              and amphipod mortality. The LC50 value and 95%           sufficient aeration. An abundance of amphipods on
ments                                                    confidence limits of the NAF tests should be calcu-      the sediment surface during daylight hours may
                                                         lated on the basis of milliliters of NAF per kg dry      indicate insufficient dissolved oxygen or over-
  Table 2 provides the acceptability requirements        control sediment (ml/kg) and amphipod mortality.         crowding, as amphipods typically remain in their
for the 10-day NAF and 96-hr SBM test per ASTM           A variety of methods can be used to calculate an         burrows unless they are searching for food or a
E 1367-92. The primary acceptability requirement         LC50 value and its 95% confidence limits, includ-        mate. Culture chambers should be terminated and
for NAF testing is as follows:                           ing probit, moving average, trimmed Spearman-            restarted with fresh sediment about once every 8
                                                         Karber and Litchfield-Wilcoxon methods (ASTM             weeks to avoid overcrowding. Overcrowding may
  A toxicity test is unacceptable if more than a         E 1367-99). The method used should take into             lead to stress due to food or space limitations, and
total of 10% of the control organisms die, or if the     account the number of partial kills, the number of       may also result in reduced female fecundity, thus
coefficient of variation (CV) of control survival is     test chambers per treatment (5), and the number of       reducing the relative health of the population of
equal to or greater than 40%.                            amphipods per test chamber (20).                         amphipods in a given culture chamber.
  If this acceptability requirement is not met, then                                                                Cultures should be routinely inspected for the
                                                           The only NAF that will be allowed for use in
the data should be discarded and the experiment                                                                   presence of indigenous worms and copepods, a
                                                         drilling fluids that are discharges in association
repeated. If this requirement is met, then the other                                                              microbial build-up, or black and sulfurous condi-
                                                         with cuttings are those that are as toxic or less
acceptability requirements in Table 2 should                                                                      tions beneath the sediment surface. Microbial
                                                         toxic, but not more toxic, than the reference NAF
be reviewed and a determination made as to the                                                                    growth appears as a white or gray growth associ-
                                                         (C16-C18 internal olefin or C12-C14 or C8 ester). This
acceptability of the data.                                                                                        ated with uneaten food, and is indicative of over-
                                                         limitation is expressed as follows:
                                                                                                                  feeding. Presence of indigenous species, excess
[Appendix A.8.] Reference Tests
                                                                10- day LC50 Reference Material                   microbial growth, or black and sulfurous condi-
  A single toxicity test will be used to determine             —————————————-- ≤ 1.0                              tions may necessitate discarding the affected cul-
satisfactory laboratory performance and to deter-                      10– day LC50 NAF                           ture chamber.
mine whether an NAF or SBM can be discharged
                                                                                                                  [Appendix A.10.1.] Feeding
as it adheres to drill cuttings. The reference toxi-       The only SBMs that will be allowed for dis-
cant for the NAF test will be either a C16-C18 -         charge are those that are as toxic or less toxic, but      A mixture of micro-algae, yeast, fish food flakes,
internal olefin reference standard or a C12-C14 or C8    not more toxic, than the C16-C18 internal olefin         alfalfa powder, ground cereal leaves, and shrimp
ester. The reference toxicant for the SBM testing        reference SBM. This limitation is expressed as           maturation feed has been used to feed cultures (E
program will be a C16-C18 internal olefin SBM            follows:                                                 1367-92 and E 1367-99). Micro-algae used in
which has also been specified for determining                                                                     culturing include Pseudoisochrysis paradoxa,
pass/fail for SBMs. The C16-C18 Internal Olefin                            96-hr LC50 RDF                         Phaeodactylum tricornutum, and Tetraselmis
(IO) SBM is a 65/35 blend, proportioned by mass,                            ——————— ≤ 1.0                         suecica mixed in equal parts on a volume basis.
of hexadecene and octadecene, respectively (40                             96-hr LC50 SBM                         These algae provide a source of fatty acids that
CFR part 9 6849). These reference toxicity tests                                                                  may otherwise be absent in the diet. In practice,
will be conducted in conjunction with all NAF or           Where: RDF = Reference Drilling Fluid                  however, it should be noted that L. plumulosus has
SBM tests to discern possible changes in the con-          The EPA promulgated a sediment toxicity ratio          been cultured successfully without the algal mix-
dition of the L. plumulosus population used in           of less than 1.0, indicating that the NAF or SBM         ture and the yeast. The dry food portion of the diet
testing. The reference toxicant test must be con-        can be equally toxic or less toxic, but not more         that has been used to successfully culture L. plu-
ducted concurrently with each sample or batch of         toxic than the reference toxicant test LC50 values       mulosus is shown below.
samples and at a minimum should be conducted at          for L. plumulosus. Hence, the NAF or SBM data
least monthly. Control charts of this reference                                                                   Dietary Component          Proportion
                                                         should be interpreted by comparing to the refer-
standard should be maintained to perform statisti-       ence toxicant test LC50 value and whether it ex-
cal analyses, help understand the inherent variabil-     ceeds this value.
ity in the reference test, and for longterm quality                                                               Fish food flakes                     48%
control. Test conditions for the reference test          [Appendix A.10.] Culture Methods                         (TetraMin®)
should follow the experimental conditions pre-
                                                           Populations of L. plumulosus can be maintained         Alfalfa powder                       24%
sented in Table 1.
                                                         through several generations in the laboratory.
                                                         The culture conditions specified in ASTM E1367-          Ground cereal leaves                 24%
  The reference toxicant test should be performed                                                                 (dried wheat leaves)
                                                         92 and E1367-99 are provided in Table 3. Besides
concurrently-and under the same conditions as
                                                         the conditions specified, there are other conditions     Shrimp maturation feed                4%
the NAF or SBM test. The reference toxicant test
                                                         that are important in maintaining healthy L. plumu-      (Neo-Novum®)
should be conducted so that control limits
                                                         losus cultures, including identifying a source of
(typically set at 2 standard deviations) can be es-
                                                         clean sediment, sieving sediments before use, and          This dry food mixture should be homogenized
tablished (USEPA 1994). If the reference test LC50
                                                         the quality of the raw materials used to prepare         into a fine powder and fed to each culture chamber
falls outside of this range of control limits gener-
                                                         their food. Preferably, the sediment and water used      at a rate of 0.1 to 0.5 g two to three times per
ated on the most recent test data points, then the
                                                         to culture the amphipods should be collected from        week, depending on culture densities. Overfeeding
sensitivity of L. plumulosus and the credibility of
                                                         the same area as those used in NAF tests. Fine-          may result in microbial build-up on the sediment
the test results are considered suspect. In this case,
                                                         grained sediments have been shown to be suitable         surface. The quality of the alfalfa powder and dried
the test procedure should be examined and the test
                                                         for this purpose (E1367-92). Sediments collected         wheat leaves may not be consistent among suppli-
repeated with a different batch of amphipods. A
                                                         in the field for culturing purposes should be first      ers, thus potentially adversely affecting culture
sediment test should not automatically be judged
                                                         sieved through a 2,000 m mesh sieve to remove            performance. Feeding should occur immediately
unacceptable if the reference test LC50 falls outside
                                                         large debris and then through a 500 m mesh sieve         after culture water changes.
the expected range or if the control in the reference
                                                         to remove any indigenous organisms. L. plumulo-
toxicity test exceeds 10%. The width of the control
                                                         sus cultures should be maintained at 20±1 C and          [Appendix A.10.2.] Obtaining Amphipods for
limits and all performance criteria listed in Table 2
                                                         20±1‰ salinity. If used, natural seawater should         Starting a Test
should be considered when determining the accept-
                                                         be filtered through a 5 micron filter before adding
ability of a given NAF or SBM test.                      to cultures. New culture chambers should be aer-           Immature and adult amphipods of mixed sexes
                                                         ated and allowed to equilibrate overnight before         and approximately 3 to 5 mm in length (as meas-
[Appendix A.9.] Interpretation of Result                 adding amphipods. Water used to start a new cul-         ured from the base of the first antenna to the end of
                                                         ture chamber should be renewed 24 h after                the third pleon segment along the dorsal surface)
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 24 of 42

              Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 23
are used in toxicity tests, as they are easier to han-         Parameter                Conditions                     Parameter                 Conditions
dle and count than younger individuals. Gravid
females are not used in testing. The 3 to 5 mm size      Endpoint                 Survival                      Photoperiod               14h light:10h dark
class individuals are passed through a 1,000 m
mesh sieve and are retained on a 710 m mesh              Test acceptability       Minimum mean control          Culture chamber           Shallow plastic tubs or
sieve. A 500 m mesh sieve has been used previ-                                    survival of 90% and                                     glass aquaria
ously to retain amphipods of the size needed, but                                 satisfaction of criteria
this results in a wider size range of amphipods                                   outlined in Table 2.          Sediment volume           1-2 cm depth at bottom
used for testing. In preliminary NAF experiments,                                                                                         of each culture chamber
this wide size range may have contributed to vari-         *Although ASTM E1367 specifies 16h light:8h
ability in mortality observed that was not present       dark, the photoperiod was changed to 14h               Renewal of overlying      Static renewal (30-50%
when the 710 m mesh sieve was used to retain             light:10h dark to be consistent with the Mysi-         water                     water volume change 2-
amphipods in later experiments. The amphipods            dopsis bahia bioassay for drilling fluids (58 CFR                                4 times per week)
passing through a 1000 m mesh sieve but trapped          12453, 1993).
on a 710 m mesh sieve provide a more uniform                                                                    Number of                 Start with about 300
size range of animals that is thought to decrease        [Appendix A: Table 2] Test acceptability require-      Organisms/chamber         mixed age (mostly
the previously-observed variability in mortality.        ments for 10-day NAF and 96-hr SBM tests with                                    immature and young
Laboratories are encouraged to use this type of          L. plumulosus. Requirements listed are consistent                                adults) individuals per
approach to reduce the variability in the size of        with those specified in ASTM E 1367-92 and                                       chamber
amphipods used in the NAF/SBM testing program.           subsequent updates (E 1367-99)*.
                                                                                                                Feeding                   0.1 to 0.5 g dry mixture
                                                         •A 10-day NAF and 96-hr SBM toxicity tests are                                   2-3 times per week (see
[Appendix A: Table 1] Conditions for conducting
                                                          unacceptable if more than a total of 10% of the                                 text)
96-hour NAF and 10-day SBM sediment toxicity
tests with L. plumulosus. Conditions listed are           control organisms die, or if the coefficient of
                                                          variation (CV) of control survival is equal to or     Aeration                  Continuous gentle to
consistent with test conditions specified in ASTM                                                                                         moderate aeration so as
E 1367-92 and subsequent updates (E 1367-99)              greater than 40%.
                                                                                                                                          to not suspend sedi-
unless otherwise noted.                                                                                                                   ments
                                                         Ten-day NAF and 96-hr SBM toxicity tests should
      Parameter                    Conditions            usually be considered unacceptable if one or more      Overlying Water           Clean natural or syn-
                                                         of the following occurred:                                                       thetic seawater
Test type                 Static whole sediment
                          toxicity test                  •All test chambers were not identical.                 Overlying water quality   Salinity, temperature,
                                                                                                                                          and ammonia during
Temperature               20±1 C                                                                                                          culture start– up
                                                         •Test organisms were not randomly or impartially
Salinity                  20±1‰                           distributed to test chambers.
                                                                                                                [Appendix A: References]
Light quality             Wide-spectrum fluores-         •Required reference standard was not included in       American Society for Testing and Materials
                          cent lights                     the test.                                             (ASTM). 1997. Standard Guide for Conducting
Illuminance               500-1,000 lux                                                                         10-day Static Sediment Toxicity Tests with Marine
                                                         •All test animals were not from the same popula-       and Estuarine Amphipods. E 1367-92. Annual
Photoperiod               14h light:10h dark*             tion, were not all of the same species, or were not   Book of ASTM Standards, Vol. 11.05.
                                                          of acceptable quality.
Test chamber              1-L glass beaker or jar                                                               American Society for Testing and Materials
                                                         •Amphipods from a wild population were main-           (ASTM). 2000. Standard Guide for Conducting
Sediment volume           150 ml (2 cm depth)             tained in the laboratory for more than two weeks,     10-day Static Sediment Toxicity Tests with Marine
Overlying water vol-      600 ml (4:1 [v/v] water to      unless the effects of prolonged maintenance in the    and Estuarine Amphipods. E 1367-99. Annual
ume                       sediment ratio)                 laboratory has been shown to have no significant      Book of ASTM Standards, Vol. 11.05.
                                                          effect on sensitivity.
Renewal of overlying                                                                                            Emery, V.L., D.W. Moore, B.R. Gray, B.M. Duke,
water                     None                           •The test organisms were not acclimated at the test    A.B. Gibson, R.B. Wright and J.D. Farrar. 1997.
                                                          temperature and salinity at least 48 hours before     Development of a chronic sublethal sediment
Size and life stage of    3-5 mm; immature and            they were placed in the test chambers.                bioassay using the estuarine amphipod Leptochei-
amphipods                 adult                                                                                 rus plumulosus (Shoemaker). Environ. Toxicol.
                                                         •Temperature and dissolved oxygen concentrations       Chem. 16:1912-1920.
Number of organisms/      20
chamber                                                   were not measured.
                                                                                                                McGee, B.L. D.J. Fisher, L.T. Yonkos, G.P.
Number of test con-       5                                *These guidelines are not identical to those         Ziegler and S. Turley. 1999. Assessment of sedi-
centrations                                              listed ASTM E 1367 in part because some                ment contamination, acute toxicity, and population
                                                         acceptability guidelines listed in E1367-92 are        viability of the estuarine amphipod Leptocheirus
Number of replicate       5 in both controls and test    not applicable or practical for the NAF/SBM            plumulosus in Baltimore Harbor, Maryland, USA.
chambers/treatment        treatments                     toxicity testing program.                              Environ. Toxicol. Chem. 18:2151-2160.
Feeding                   None                           [Appendix A: Table 3] Culture conditions for L.        Schlekat, C.E., B.L. McGee and E. Reinharz.
                                                         plumulosus. Conditions listed are consistent with      1992. Testing sediment toxicity in Chesapeake
Aeration                  Water in each test cham-       culture conditions specified in ASTM E 1367-92         Bay with the amphipod Leptocheirus plumulosus:
                          ber should be aerated          and subsequent updates (E 1367-99).                    an evaluation. Environ. Toxicol. Chem.
                          throughput the test.                                                                  11:225-236.
Overlying Water           Clean natural or synthetic            Parameter                 Conditions
                          seawater                                                                              Suedel, B.C. and J.H. Rodgers, Jr. 1991. Variabil-
                                                         Temperature               20±1 C                       ity of bottom sediment characteristics of the conti-
Overlying water qual-     Temperature, Salinity,                                                                nental United States. Water Res. Bull. 27:101-109.
                                                         Salinity                  20±1‰
ity                       pH, and D.O. daily;
                          ammonia, as needed             Light quality             Wide-spectrum fluores-       USEPA. 1994. Methods for Assessing the Toxicity
                                                                                   cent or cool white lights    of Sediment-associated Contaminants with Estua-
Test duration             96 hours                                                                              rine and Marine Amphipods. EPA/600/R-94/025.
                                                         Illuminance               500-1,000 lux                USEPA Office of Research and Development,
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 25 of 42

             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 24
June 1994.                                              (wet:dry ratio and density). The amount of syn-          in seawater to make a pourable slurry. The slurry is
                                                        thetic sea water will be calculated to bring the total   then poured into serum bottles, which are then
USEPA. 2000. Final Effluent Limitations Guide-
                                                        volume in the bottles to 75 mL. The test systems         flushed with nitrogen and sealed.
lines and Standards for Synthetic-Based Drilling
                                                        are maintained at a temperature of 29 1°C during
Fluids Fact Sheet. EPA-821-F-00-014. USEPA
                                                        incubation. The test systems are brought to ambi-        [Appendix B.3.1.] Mixing Procedure
Office of Water, December 2000.
                                                        ent temperatures prior to measuring pressure or gas
(www.epa.gov/ost/guide/sbf/final/finalfact.html).
                                                        volume.
                                                                                                                   Because base fluids are strongly hydrophobic
                   Appendix B
                                                        [Appendix B.2.1.] Sample Requirements                    and do not readily mix with sediments, care must
PROTOCOL FOR THE DETERMINATION                                                                                   be taken to ensure base fluids are thoroughly ho-
OF DEGRADATION OF Non aqueous BASE                                                                               mogenized within the sediment. All concentrations
FLUIDS IN A MARINE CLOSED BOTTLE                          The concentration of base fluids are at least 2000     are weight-to-weight comparisons (mg of base
BIODEGRADATION TEST SYSTEM: MODI-                       mg carbon test material/kg dry sediment. Carbon          fluid to kg of dry control sediment). Sediment and
FIED ISO 11734                                          concentration is determined by theoretical compo-        base fluid mixing will be accomplished by using
                                                        sition based on the chemical formula or by chemi-        the following method.
[Appendix B.1.] Summary of Method                       cal analysis by ASTM D5291-96. Sediments with
                                                        positive, intermediate and negative control sub-         [Appendix B.3.1.1.] Determine the wet to dry
  This method determines the anaerobic degrada-
                                                        stances as well as a C1618 Internal Olefin type          weight ratio for the control sediment by weighing
tion potential of mineral oils, paraffin oils and non
                                                        base fluid will be run in conjunction with test          approximately 10 sub-samples of approximately 1
aqueous fluids (NAF) in sediments. These sub-
                                                        materials under the same conditions. The positive        g each of the screened and homogenized wet sedi-
strates are base fluids for formulating offshore
                                                        control is ethyl oleate (CAS 111-62-6), the inter-       ment into tared aluminum weigh pans. Dry sedi-
drilling fluids. The test evaluates base fluid bio-
                                                        mediate control is 1-hexadecene (CAS 629-73-2),          ment at 105 C for 18-24 h. Remove the dried sedi-
degradation rates by monitoring gas production
                                                        and the negative control is squalane (CAS 111-01-        ments and cool in a desiccator. Repeat the drying,
due to microbial degradation of the test fluid in
                                                        3). Controls must be of analytical grade or the          cooling, and weighing cycle until a constant
natural marine sediment.
                                                        highest grade available. Each test control concen-       weight is achieved (within 4% of previous weight).
  The test procedure places a mixture of marine/        tration should be prepared according to the mixing       Re-weigh the samples to determine the dry weight.
estuarine sediment, test substrate (hydrocarbon or      procedure described in Section 3.1.                      Calculate the mean wet and dry weights of the 10
controls) and seawater into clean 120 ml (150 ml                                                                 sub samples and determine the wet/dry ratio by
                                                          Product names will be used for examples or             dividing the mean wet weight by the mean dry
actual volume) Wheaton serum bottles. The test is
                                                        clarification in the following text. Any use of trade    weight using Formula 1. This is required to deter-
run using four replicate serum bottles containing
                                                        or product names in this publication is for descrip-     mine the weight of wet sediment needed to prepare
2000 mg carbon/kg dry weight concentration of
                                                        tive use only, and does not constitute endorsement       the test samples.
test substrate in sediment. The use of resazurin dye
                                                        by EPA or the authors.
solution (1 ppm) evaluates the anaerobic (redox)
condition of the bottles (dye is blue when oxygen       [Appendix B.2.2.] Seawater Requirements                  Mean Wet Sediment Weight (g)
is present, reddish in low oxygen conditions and
                                                                                                                 - - - - - - - - - - - - - — - - - - - - - = Wet Dry Ratio [1]
colorless if oxygen free). After capping the bottles,
                                                                                                                 Mean Dry Sediment Weight (g)
a nitrogen sparge removes air in the headspace            Synthetic seawater at a salinity of 25 1 ppt
before incubation begins. During the incubation         should be used for the test. The synthetic seawater      [Appendix B.3.1.2.] Determine the density (g/ml)
period, the sample should be kept at a constant         should be prepared by mixing a commercially              of the wet sediment. This will be used to determine
temperature of 29 (+/-1)ºC. Gas production and          available artificial seawater mix, into high purity      total volume of wet sediment needed for the vari-
composition is measured approximately every two         distilled or de-ionized water. The seawater should       ous test treatments. One method is to tare a 5 ml
weeks. The samples need to be brought to ambient        be aerated and allowed to age for approximately          graduated cylinder and add about 5 ml of homoge-
temperature before making the measurements.             one month prior to use.                                  nized sediment. Carefully record the volume then
Measure gas production using a pressure gauge.
                                                                                                                 weigh this volume of sediment. Repeat this a total
Barometric pressure is measured at the time of          [Appendix B.2.3.] Sediment Requirements                  of three times. To determine the wet sediment
testing to make necessary volume adjustments.
                                                                                                                 density, divide the weight by volume per the fol-
                                                                                                                 lowing formula:
  ISO 11734 specifies that total gas is the standard      The dilution sediment must be from a natural
measure of biodegradation. While modifying              estuarine or marine environment and be free of the       Mean Wet Sediment Weight (g) Wet Sediment
this test for evaluating biodegradation of NAF’s,       compounds of interest. The collection location,          - - - - - - - - - - - - - - - - - - - - - - = Density (g/ml) [2]
methane was also monitored and found to be an           date and time will be documented and reported.           Mean Wet Sediment Volume (ml)
acceptable method of evaluating biodegradation          The sediment is prepared by press-sieving through
Appendix 1 contains the procedures used to follow       a 2000-micron mesh sieve to remove large debris,         [Appendix B.3.1.3.] Determine the amount of base
biodegradation by methane production. Measure-          then press-sieving through a 500-micron sieve to         fluid to be spiked into wet sediment in order to
ment of either total gas or methane production is       remove indigenous organisms that may confound            obtain the desired initial base fluid concentration
permitted. If methane is followed, determine the        test results. The water content of the sediment          of 2000 mg carbon/kg dry weight. An amount of
composition of the gas by using gas chromatogra-        should be less than 60%(w/w) or a wet to dry ratio       wet sediment that is the equivalent of 30 g of dry
phy (GC) analysis at each sampling. At the end of       of 2.5. The sediment should have a minimum               sediment will be added to each bottle. A typical
the test when gas production stops, or at around        organic matter content of 3% (w/w) as determined         procedure is to prepare enough sediment for 8
275 days, an analysis of sediment for substrate         by ASTM D2974-87 (95) (Method A and D and                serum bottles (3 bottles to be sacrificed at the start
content is possible. Common methods which have          calculate organic matter as in section 12 of method      of the test, 4 bottles incubated for headspace analy-
been successfully used for analyzing NAF’s from         ASTM D2974-87).                                          sis, and enough extra sediment for 2 extra bottles).
sediments are listed in Appendix 2.                                                                              Extra sediment is needed because some of the
                                                          To reduce the osmotic shock to the microorgan-
                                                                                                                 sediment will remain coated onto the mixing bowl
[Appendix B.2.] System Requirements                     isms in the sediment the salinity of the sediment’s
                                                                                                                 and utensils. Experience with this test may indicate
                                                        pore water should be between 20-30 ppt. Sediment
                                                                                                                 that preparing larger volumes of spiked sediment is
                                                        should be used for testing as soon as possible after
                                                                                                                 a useful practice, then the following calculations
  This environmental test system has three phases,      field collection. If required, sediment can be stored
spiked sediment, overlying seawater, and a gas                                                                   should be adjusted accordingly.
                                                        in the dark at 4°C with 3-6 inches of overlying
headspace. The sediment/test compound mixture is        water in a sealed container for a maximum period
combined with synthetic sea water and transferred       of 2 months prior to use.                                [Appendix B.3.1.3.1.] Determine the total weight
into 120 mL serum bottles. The total volume of                                                                   of dry sediment needed to add 30 g dry sediment to
sediment/sea water mixture in the bottles is 75 mL.     [Appendix B.3.] Test Set up
                                                                                                                 8 bottles. If more bottles are used then the calcula-
The volume of the sediment layer will be approxi-       The test is set up by first mixing the test or control   tions should be modified accordingly. For exam-
mately 50 mL, but the exact volume of the sedi-         substrates into the sediment inoculum, then mixing       ple:
ment will depend on sediment characteristics
              Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 26 of 42

              Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 25
30 g dry                                               [Appendix B..3.2.1.] If each bottle is to contain 30     g wet     g sea    g sediment__
Sediment      x 8 = 240 g dry sediment           [3]   g dry sediment, calculate the weight, and then the     sediment + water = sea water slurry              [16]
 per bottle                                            volume, of wet sediment to be added to each bot-        (eq. 14)  (eq. 15)
                                                       tle.
[Appendix B.3.1.3.2.] Determine the weight of                                                                   This should provide each bottle with 30 g dry
base fluid, in terms of carbon, needed to obtain a     30 g dry x wet:dry = g wet sediment                    sediment in a total volume of 75 mL.
final base fluid concentration of 2000 mg carbon/      sediment   ratio     added to each bottle       [7]
                                                                                                              [Appendix B.3.3.4.] Putting the sediment:seawater
kg dry weight. For example:                                                                                   slurry in the serum bottles.
                                                         g wet sediment = mL wet sediment              [8]
2000 mg                                                  density (g/mL)
                                                                                                                Note: The slurry will need to be constantly
Carbon          240 g                                    of wet sediment
                                                                                                              stirred to keep the sediment suspended.
- - - - - - - x - - - - - = 480 mg carbon        [4]
per kg dry      1000                                   [Appendix B.3.2.2.] Calculate volume of sea
                                                                                                                Place a tared serum bottle on a balance and add
 sediment                                              water to be added to each bottle.
                                                                                                              the appropriate amount of slurry to the bottle using
                                                         75 mL     mL wet    mL of                            a funnel. Once the required slurry is in the bottle
[Appendix B.3.1.3.3.] Convert from mg of carbon
                                                          total - sediment = sea                       [9]    remove the funnel, add 2-3 drops (25 µl) of a
to mg of base fluid.
                                                         volume (from eq. 8) water                            1gram/L resazurin dye stock solution. Cap the
  This calculation will depend on the % fraction of                                                           bottle with a butyl rubber stopper (Bellco Glass,
                                                       [Appendix B.3.2.3.] Determine the ratio of sea         Part #2048- 11800)and crimp with an aluminum
carbon present in the molecular structure of each
                                                       water to wet sediment (volume:volume) in each          seal (Bellco Glass Part #2048-11020).
base fluid. For the control fluids, ethyl oleate is
                                                       bottle.
composed of 77.3% carbon, hexadecene is com-                                                                    Using a plastic tube with a (23 gauge, 1 inch
posed of 85.7% carbon, and squalane is composed          volume sea                                           long) needle attached to one side and a nitrogen
of 85.3% carbon. The carbon fraction of each base        water per                                            source to the other, puncture the serum cap with
fluid should be supplied by the manufacturer or         bottle (eq. 9)                                        the needle. Puncture the serum cap again with a
determined before use. ASTM D5291-96 or                 ————— = ratio of sea : wet                    [10]    second needle to sparge the bottle’s headspace of
equivalent will used to determine composition of          volume           water sediment                     residual air for two minutes. The nitrogen should
fluid.                                                   sediment                                             be flowing at no more than 100 mL/min to encour-
                                                        per bottle (eq. 8)                                    age gentle displacement of oxygenated air with
  To calculate the amount of base fluid to add to
the sediment, divide the amount of carbon                                                                     nitrogen. Faster nitrogen flow rates would cause
                                                       [Appendix B.3.2.4.] Convert the wet sediment
(480 mg) by the percent fraction of carbon in the                                                             mixing and complete oxygen removal would take
                                                       weight from equation 6 into a volume using the
fluid.                                                                                                        much longer. Remove the nitrogen needle first to
                                                       sediment density.
                                                                                                              avoid any initial pressure problems. The second
  For example, the amount of ethyl oleate added to      g wet sedi-                                           (vent) needle should be removed within 30 seconds
240 g dry weight sediment can be calculated from        ment (eq. 6)  =   volume (mL)                [11]    of removing the nitrogen needle.
the following equation:                                  density           of sediment
                                                                                                              Triplicate blank test systems are prepared, with
                                                       [Appendix B.3.2.5.] Determine the amount of sea        similar quantities of sediment and seawater with-
480 mg carbon (77.3/100)=
                                                       water to mix with the wet sediment.                    out any base fluid. Incubate in the dark at a con-
621 mg ethyl oleate                              [5]
                                                                                                              stant temperature of 291o C.
                                                                                         mL sea
                                                        mL wet    sea                    water to             Record the test temperature. The test duration is
  Therefore, add 621 mg of ethyl oleate to 240 g                                                              dependent on base fluid performance, but at a
                                                       Sediment x water:sediment ratio = add to
dry weight sediment for a final concentration of                                                              maximum should be no more than 275 days. Stop
                                                       (eq. 11)           (eq. 10)        wet
2000 mg carbon/kg sediment dry weight.                                                                        the test after all base fluids have achieved a plateau
                                                                                        sediment
                                                                                                      [12]    of gas production. At termination, base fluid con-
[Appendix B.3.1.4.] Mix the calculated amount of                                                              centrations can be verified in the terminated sam-
base fluid with the appropriate weight of wet sedi-                                                           ples by extraction and GC analysis according to
ment.                                                  Mix sea water thoroughly with wet sediment to
                                                       form a sediment/sea water slurry.                      Appendix 2.
[Appendix B.3.1.4.1.] Use the wet:dry ratio to
                                                       [Appendix B.3.3.] Bottling the Sediment Sea-           [Appendix B.4.] Concentration Verification
convert from g sediment dry weight to g sediment
                                                       water Slurry                                           Chemical Analyses
wet weight, as follows:
                                                         The total volume of sediment/sea water slurry in       Because of the difficulty of homogeneously
240 g dry         wet:dry       g wet sediment         each bottle is to be 75 mL. Convert the volume         mixing base fluid with sediment, it is important to
              X             =                    [6]   (mL) of sediment/sea water slurry into a weight (g)    demonstrate that the base fluid is evenly mixed
sediment          ratio          needed                using the density of the sediment and the sea wa-      within the sediment sea water slurry that was
                                                       ter.                                                   added to each bottle. Of the seven serum bottles
[Appendix B.3.1.4.2.] Weigh the appropriate                                                                   set up for each test or control condition, three are
amount of base fluid (calculated in section 3.1.3.3)   [Appendix B.3.3.1.] Determine the weight of            randomly selected for concentration verification
into stainless mixing bowls, tare the vessel weight,   sediment to be added to each bottle.                   analyses. These should be immediately placed at 4
then add the wet sediment calculated in equation 5,                                                           C and a sample of sediment from each bottle
and mix with a high shear dispersing impeller for 9      mL       density of      g wet                       should be analyzed for base fluid content as soon
minutes.                                               sediment x wet sediment = sediment           [14]      as possible. The coefficient of variation (CV) for
                                                        (eq. 8)     (g/mL)                                    the replicate samples must be less than 20%. The
  The sediment is now mixed with synthetic sea
                                                                                                              results should show recovery of at least 70% of the
water to form a slurry that will be transferred into   [Appendix B.3.3.2.] 3.4.2 Determine the weight of      spiked base fluid. Use an appropriate analytical
the bottles.                                           sea water to be added to each bottle.                  procedure described in Appendix 2 to perform the
[Appendix B.3.2.] Creating Seawater/Sediment                                                                  extractions and analyses. If any set of sediments
                                                       mL sea   density of                                    fail the criteria for concentration verification, then
Slurry                                                  water x sea water =         g sea water       [15]    the corrective action for that set of sediments is
                                                       (eq. 9) (1.01 g/mL)                                    also outlined in Appendix 2.
  Given that the total volume of sediment/sea
water slurry in each bottle is to be 75 mL, deter-     [Appendix B.3.3.3.] 3.4.3 Determine weight of          The nominal concentrations and the measured
mine the volume of sea water to add to the wet-        sediment/sea water slurry to be added to each          concentrations from the three bottles selected for
sediment.                                              bottle.                                                concentration verification should be reported for
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 27 of 42
            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 26
the initial test concentrations. The coefficient of    2000 mg carbon x 30 g = 60 mg carbon                     Table 1: Test Acceptability Criteria
variation (CV) for the replicate samples must be       kg sediment     1000        bottle   [18]                 Concen-     Percent Biodegradability as a Function of
less than 20%. If base fluid content results are not                                                             tration                Gas Measurement
within the 20% CV limit, the test must be stopped      [Appendix B.5.1.2.] Theory states that anaerobic                       Positive       Squalane       Hexade-
and restarted with adequately mixed sediment.          microorganisms will convert 1 mole of carbon                           Control        negative       cene inter-
                                                       substrate into 1 mole of total anaerobic gas produc-                                  control        mediate
[Appendix B.5.] Gas monitoring procedures              tion.                                                                                                control
                                                                                                                 2000 mg      > 60%          < 5%           > 30%
                                                        Calculate the number of moles of carbon in each          carbon/     theoretical     theoretical    theoretical
  Biodegradation is measured by total gas as speci-                                                              kg
fied in ISO 11734. Methane production can also         bottle.
be tracked and is described in Appendix 1.                                                                      [Appendix B.6.2.] Interpretation
                                                         The molecular weight of carbon is 12 (i.e. 1 mole
[Appendix B.5.1.] Total Gas monitoring                 of carbon = 12 g). Therefore, the number of moles          In order for a fluid to pass the closed bottle test,
procedures                                             of carbon in each bottle can be calculated.              the biodegradation of the base fluid as indicated by
  Bottles should be brought to room temperature                                                                 the total amount of total gas (or methane) gener-
                                                       (60 mg carbon per bottle/1000) = 0.005 moles             ated once gas production has plateaued (or at the
before readings are taken. The bottles are ob-                   12 g/mole              carbon [19]
served to confirm that the resazurin has not oxi-                                                               end of 275 days, which ever is first ) must be
dized to pink or blue. Total gas production in the     [Appendix B.5.1.3.] Calculate the predicted vol-         greater than or equal to the volume of gas (or
culture bottles should be measured using a pressure    ume of anaerobic gas.                                    methane) produced by the reference standard
transducer (one source is Biotech International).                                                               (internal elefin or ester).
The pressure readings from test and control cul-         One mole of gas equals 22.4 L (at standard tem-
tures are evaluated against a calibration curve        perature and pressure), therefore,                        The method for evaluating the data to determine
created by analyzing the pressure created by                                                                    whether a fluid has passed the biodegradation test
known additions of gas to bottles established iden-    0.005 moles x 22.4 L = 0.112L                  [20]      must use the equations:
tically to the culture bottles. Bottles used for the                          (or 112 mL total                    % Theoretical gas
standard curve contain 75 mL of water, and are                                gas production).                      production of
sealed with the same rubber septa and crimp cap                                                                    _reference fluid_ ≤ 1.0
seals used for the bottles containing sediment.        [Appendix B.5.2.] Gas Venting
                                                                                                                  % Theoretical gas
After the bottles used in the standard curve have                                                                   production of
been sealed, a syringe needle inserted through the       If the pressure in the serum bottle is too great for
                                                                                                                        NAF
septa is used to equilibrate the pressure inside the   the pressure transducer or syringe, some of the
bottles to the outside atmosphere. The syringe         excess gas must be wasted. The best method to do
                                                                                                                Where:
needle is removed and known volumes of air are         this is to vent the excess gas right after measure-
                                                                                                                           NAF = stock base fluid being tested for
injected into the headspace of the bottles. Pressure   ment. To do this, remove the barrel from a 10-mL
                                                       syringe and fill it 1/3 full with water. This is then                    compliance
readings provide a standard curve relating the
volume of gas injected into the bottles and head-      inserted into the bottle through the stopper using a
                                                                                                                           Reference Fluid = C16-C18 internal
space pressure. No less than three points may be       small diameter (high gauge) needle. The excess
                                                       pressure is allowed to vent through the water until                 olefin or C12-C14 or C8 ester
used to generate the standard curve. A typical                                                                             reference fluid
standard curve may use 0, 1, 5, 10, 20 and 40 ml       the bubbles stop. This allows equalization of the
of gas added to the standard curve bottles.            pressure inside the bottle to atmospheric without
                                                                                                                ————————————————————-
                                                       introducing oxygen. The amount of gas vented
                                                                                                                        Appendix B-1
  The room temperature and barometric pressure         (which is equal to the volume determined that day)
                                                                                                                   METHANE MEASUREMENT
(to two digits) should be recorded at the time of      must be kept track of each time the bottles are
sampling. One option for the barometer is Fisher       vented. A simple way to do this in a spreadsheet         [Appendix B-1:A1] Methane monitoring
Part #02-400 or 02-401. Gas production by the          format is to have a separate column in which cu-         procedures
sediment is expressed in terms of the volume (mL)      mulative vented gas is tabulated. Each time the
of gas at standard temperature (0oC = 273oK) and       volume of gas in the cultures is analyzed, the total       The use of total gas production alone may result
pressure (1 atm = 30 inches of Hg) using Eqn.17.       gas produced is equal to the gas in the culture at       in an underestimation of the actual metabolism
                                                       that time plus the total of the vented gas.              occurring since CO2 is slightly soluble in water.
                   P1 ∗ V1 ∗ T 2                                                                                An acceptable alternative method is to monitor
            V2 =
                     T1 ∗ P2                              To keep track of the methane lost in the venting      methane production and total gas production. This
                                               [17]    procedure, multiply the amount of gas vented each        is easily done using GC analysis. A direct injec-
                                                       time by the corrected % methane determined on            tion of headspace gases can be made into a GC
Where:     V2 = volume of gas production at stan
           dard temperature and pressure               that day. The answer gives the volume of methane         using almost any packed or capillary column with
                                                       wasted. This must be added into the cumulative           an FID detector. Unless volatile fuels or solvents
           P1 = barometric pressure on day of
                                                       totals similarly to the total gas additions.             are present in the test material or the inocula, the
sampling (inches of Hg)
           V1 = volume of gas measured on day of                                                                only component of the headspace gas that can be
                                                       [Appendix B.6.] Test Acceptability and                   detected using an FID detector is methane. The
           sampling (mL)                               Interpretation
           T2 = standard temperature = 273oK                                                                    percent methane in the headspace gas is deter-
           T1 = temperature on day of sampling         [Appendix B.6.1] Test acceptability                      mined by comparing the response of the sample
           (oC + 273 = oK)                                                                                      injections to the response from injections of known
           P2 = standard pressure = 30 inches Hg         At day 275 or when gas production has pla-             percent methane standards. The percent methane
                                                       teaued, whichever is first, the controls are evalu-      is corrected for water vapor saturation using Eqn. 8
  A estimation can be made of the total volume of      ated to confirm that the test has been performed         and then converted to a volume of dry methane
anaerobic gas that will be produced in the bottles.    appropriately. In order for this modification of the     using Eqn. 9.
The gas production measured for each base fluid        closed bottle biodegradation test to be considered
can be expressed as a percent of predicted total       acceptable, all the controls must meet the biodeg-                                      % CH 4
                                                                                                                 Corrected % CH 4 =
anaerobic gas production.                              radation levels indicated in Table 1. The interme-                                  [ D ∗ 22. 4 L / mol
                                                                                                                                      1−
                                                       diate control hexadecene must produce at least                                       18 g / mol ∗ 1000
[Appendix B.5.1.1.] Calculate the total amount of                                                                                                                 [A1]
                                                       30% of the theoretical gas production. This level
carbon in the form of the base fluid present in each
                                                       may be reexamined after two years and more data          Where:
bottle.
                                                       has been generated.
                                                                                                                     D = the density of water vapor at saturation
  Each bottle is to contain 30 g dry weight sedi-
                                                                                                                         (g/m3, can be found in CRC Handbook
ment. The base fluid concentration is 2000 mg
                                                                                                                         of Chemistry and Physics) for the tem-
carbon/kg dry weight sediment. Therefore:
                                                                                                                         perature of sampling.
                  Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 28 of 42
                Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 27
                              ( P − Pw) CH 4 273               By subtracting the average amount of methane in                    Appendix B-3
 VCH 4 ( ml ) = ( S + V ) ∗             ∗   ∗                control bottles from the test bottles and then divid-     PROGRAM QUALITY ASSURANCE AND
                              ( T + 273) 100 760
                                                      [A2]   ing by the expected volume an evaluation of the           QUALITY CONTROL:
                                                             completion of the process may be conducted.
Where:                                                                                                                 Calibration
    VCH4 =            the volume of methane in the           ————————————————————                                         • All equipment / instrumentation will be cali-
                      bottle                                        Appendix B-2                                       brated in accordance with the test method or the
       S      =         volume of excess gas production                                                                manufacture's instructions and may be scheduled
                      (measured with a pressure trans-         The Concentration Verification analyses is              or triggered
                      ducer)                                 required at the beginning of the test to ensure              • Where possible, standards used in calibration
       V      =       volume of the headspace in the         homogeneity and confirm that the required                 will be traceable to a nationally recognized stan-
                      culture bottle (total volume -         amount of fluid was delivered to the sediments            dard (e.g., certified standard by NIST)
                      liquid phase)                          at the start of the test.                                    • All calibration activities will be documented
       P      =       barometric pressure (mm Hg,                                                                      and the records retained
                      measured with barometer)                     • Three samples per fluid need to be ana-              • The source, lot, batch number, and expiration
       T      =       temperature ( C)                       lyzed and achieve <20% Coefficient of Variability
                                                                                                                       date of all reagents used with be documented and
       Pw     =       vapor pressure of water at T (mm       and an average of >70% to <120% of fluid deliv-           retained
                      Hg, can be found in CRC Hand-          ered to sediment.
                      book of Chemistry and Physics)               • If a third party performs the analysis, then      Maintenance
       CH4 =           % methane in headspace gas            the laboratory should be capable of delivering the           • All equipment / instrumentation will be main-
                      (after correction for water vapor)     homogeneity data within seven days, in order to           tained in accordance with the test method or the
                                                             identify any samples that do not meet the homoge-         manufacture's instructions and may be scheduled
 The total volume of serum bottles sold as 125               neity requirement as quickly as possible.                 or triggered
mL bottles (Wheaton) is 154.8 mL                                   • If one sediment/fluid set, out a multiple            • All maintenance activities will be docu-
                                                             set batch of samples, fails these criteria, then that     mented and the records retained
   The volumes of methane produced are then                  one set of samples must be discarded and a fresh
compared to the volumes of methane in the con-                                                                         Data Management and Handling
                                                             set of spiked sediment prepared, started, and ana-
trols to determine if a significant inhibition of            lyzed to ensure homogeneity. The same stock                  • All primary (raw) data will be correct, com-
methane production or a significant increase of              sediment is used to prepare the replacement set(s).       plete, without selective reporting, and will be
methane production has been observed. Effective                                                                        maintained
                                                             The remaining sets do not need to be re-mixed or
statistical analyses are important, as variability in        restarted.                                                   • Hand-written data will be recorded in lab
the results is common due to the heterogeneity of                                                                      notebooks or electronically at the time of observa-
                                                                   • The re-mixed set(s) will need to be run the
the inoculum’s source. It is also common to ob-                                                                        tion
                                                             additional days as appropriate to ensure that the
serve that the timing of the initiation of culture
                                                             total number of days is the same for all sets of             • All hand-written records will be legible and
activity is not equal in all of the cultures. Expect a
                                                             bottles, even though the specific days are not            amenable to reproduction by electrostatic copiers
great variability over the period when the cultures
                                                             aligned.                                                     • All changes to data or other records will be
are active, some replicates will start sooner than
                                                                   • Re-mixing of bottle sets can be performed         made by:
others, but all of the replicates should eventually
reach similar levels of base fluid degradation and           multiple times as a result of a failure of the analyti-             • using a single line to mark-through the
methane production.                                          cal criteria, until the holding time for the stock                  erroneous entry (maintaining original
                                                             sediment has expired (60 days). If the problem set                  data legibility)
[Appendix B-1:A2] Expected Methane                           (s) has not fallen within the acceptable analytical                 • write the revision
Production Calculations                                      criteria by then, it must not be part of the batch of               • initial, date, and provide revision code
  The amount of methane expected can be calcu-               bottles run. If the problem batch is one of the                     (see attached or laboratory’s equivalent)
lated using the equation of Symons and Buswell               controls, and those controls were not successfully           • All data entry, transcriptions, and calculations
(Eqn. A3). In the case of complete mineralization,           prepared when the sediment holding time expired,          will be verified by a qualified person
all of the carbon will appear as wither CO2 or CH4,          then the entire test must be restarted.                             • verification will be documented by
thus the total moles of gas produced will be equal                                                                               initials of verifier and date
to the total moles of carbon in the parent molecule.         [Appendix B-2: References]
                                                                                                                          • Procedures will be in place to address data
The use of the Buswell equation allows you to                                                                          management procedures used (at minimum):
calculate the effects the redox potential will have            The following references identify analytical
                                                             methods that have historically been successful for           • Significant figures
on the distribution of the products in methanogenic                                                                       • Rounding practices
cultures. More reduced electron donors will allow            achieving the analytical quality criteria
                                                                                                                          • Identification of outliers in data series
the production of more methane, while more oxi-
                                                                 Continental Shelf Associates report 1998. Joint          • Required statistics
dized electron donors will cause a production of
more carbon dioxide.                                         EPA/Industry screening survey to assess the depo-
                                                             sition of drill cuttings and associated synthetic         Document Control
 CnHaObNcSd +                                                based mud on the seabed of the Louisiana conti-              • All technical procedures, methods, work
 (n-a/4 -b/2 + 7c/4 + d/2) H2O→                              nental shelf, Gulf of Mexico. Analysis by Charlie         instructions, standard operating procedures must
 (n/2 -a/8+b/4-5c/8 + d/4) CO2 +                             Henry report Number IES/RCAT97-36 GC-FID                  be documented and approved by laboratory man-
 (n/2 +a/8 -b/4 -3c/8-d/4) CH4 +                             and GC/MS.                                                agement prior to the implementation
 cNH4HCO3 + dH2S.                                     [A3]                                                                • All primary data will be maintained by the
                                                               EPA Method 3550 for extraction with EPA                 contractor for a minimum of five (5) years
  An example calculation of the expected methane             Method 8015 for GC-FID
volume in a culture fed 2000 mg/kg hexadecene is                                                                       Personnel and Training
as follows. The application of Symons and                       Webster, L; Mackie, P.R.; Hird, S.J.; Munro,              • Only qualified personnel shall perform labo-
Buswell's equation reveals that hexadecene                   P.D.; Brown, N.A. and Moffatt, C.F. (1997) Devel-         ratory activities
(C16H32) will yield 4 moles of CO2 and 12 moles of           opment of Analytical Methods for the Determina-              • Records of staff training and experience will
CH4. Assuming 30 g of dry sediment are added to              tion of Synthetic Mud Base Fluids in Marine Sedi-         be available. This will include initial and refresher
the bottles with 2,334 mg hexadecene/kg dry sedi-            ments Analyst 122:1485-1490.                              training (as appropriate)
ment (i.e. equivalent to 2000 mg carbon/kg dry
sediment) the calculation is as follows.                        Munro, P.D., B Croce, C.F. Moffet, N.A                 Test Performance
                                                             Brown, A.D. McIntosh, S.J.Hird, R.M. Stagg.                  • All testing will done in accordance with the
  12 mole CH4    224. L 1000 ml 1 mole hexadecene            1998. Solid-phase test for comparison for degra-          specified test methods
               ∗         ∗    ∗                    ∗
mole hexadecene mole CH4   L    2244. g hexadecene           dation rates of synthetic mud base fluids used in            • Receipt, arrival condition, storage conditions,
                                                             the off shore drilling industry. Environ. Toxicol.        dispersal, and accountability of the test article will
                                                             Chem. 17:1951-1959.                                       be documented and maintained
   23. g hexadecene 003
                      . kg                                                                                                • Receipt or production, arrival or initial condi-
                   ∗         = 84ml          [A 4 ]
       kgdrysoil     culture                                                                                           tion, storage conditions, dispersal, and accountabil-
                                                                                                                       ity of the test matrix (e.g., sediment or artificial
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 29 of 42
            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 28
   seawater) will be documented and maintained          [Appendix C.2.5.] The presence or absence of             [Appendix C.5.2.] Unknown samples may con-
   • Source, receipt, arrival condition, storage        crude oil contamination observed in the full scan       tain high concentration of volatile toxic com-
conditions, dispersal, and accountability of the test   profiles and selected extracted ion profiles deter-     pounds. Sample containers should be opened
organisms (including inoculum) will be docu-            mines further sample quantitation and reporting.        in a hood and handled with gloves to prevent expo-
mented and maintained                                                                                           sure. In addition, all sample preparation should be
   • Actual concentrations administered at each                                                                 conducted in a fume hood to limit the potential
treatment level will be verified by appropriate         [Appendix C.2.6.] If crude oil is detected in the       exposure to harmful contaminates.
methodologies                                           qualitative analysis, quantitative analysis is per-
   • Any data originating at a different laboratory     formed by calibrating the GC/MS using a desig-          [Appendix 5.3.] This method does not address all
will be identified and the laboratory fully refer-      nated NAF spiked with known concentrations of a         safety issues associated with its use. The labora-
enced in the final report.                              designated oil.                                         tory is responsible for maintaining a safe work
                                                                                                                environment and a current awareness file of OSHA
————————————————————-                                   [Appendix C.2.7.] Quality is assured through            regulations regarding the safe handling of the
        Appendix C                                      reproducible calibration and testing of GC/MS           chemicals specified in this method. A reference
                                                        system and through analysis of quality control          file of material safety data sheets (MSDSs) should
Determination of Crude Oil Contamination in             samples.                                                be available to all personnel involved in these
Non aqueous Drilling Fluids by Gas Chroma-                                                                      analyses. Additional references to laboratory
tography/Mass Spectrometry (GC/MS)                      [Appendix C.3.] Definitions                             safety can be found in References 16.1 through
                                                        [Appendix C.3.1.] A NAF is one in which the             16.3.
[Appendix C.1.] Scope and Application                   continuous phase is a water immiscible fluid such
                                                                                                                [Appendix C.5.4.] NAF base fluids may cause
                                                        as an oleaginous material (e.g., mineral oil, en-
[Appendix C.1.1.] This method determines crude                                                                  skin irritation, protective gloves are recommended
                                                        hance mineral oil, paraffinic oil, or synthetic mate-
(formation) oil contamination, or other petroleum                                                               while handling these samples.
                                                        rial such as olefins and vegetable esters).
oil contamination, in non aqueous drilling fluids
(NAFs) by comparing the gas chromatography/             [Appendix C.3.2.] TIC-Total Ion Chromatograph.
                                                                                                                [Appendix C.6.] Apparatus and Materials
mass spectrometry (GC/MS) fingerprint scan and                                                                        Note: Brand names, suppliers, and part num-
extracted ion scans of the test sample to that of an                                                            bers are for illustrative purposes only. No endorse-
uncontaminated sample.                                  [Appendix C.3.3.] EIP-Extracted Ion Profile.            ment is implied. Equivalent performance may be
                                                                                                                achieved using apparatus and materials other than
[Appendix C.1.2.] This method can be used for                                                                   those specified here, but demonstration of equiva-
monitoring oil contamination of NAFs or monitor-                                                                lent performance meeting the requirements of this
                                                        [Appendix C.3.4.] TCB-1,3,5 trichlorobenzene is
ing oil contamination of the base fluid used in the                                                             method is the responsibility of the laboratory.
                                                        used as the internal standard in this method.
NAF formulations.
                                                                                                                [Appendix C.6.1.] Equipment for glassware clean-
[Appendix C.1.3.] Any modification of this              [Appendix C.3.5.] SPTM-System Performance
                                                                                                                ing.
method beyond those expressly permitted shall be        Test Mix standards are used to establish retention
considered as a major modification subject to           times and monitor detection levels.
                                                                                                                [Appendix C.6.1.1.] Laboratory sink with over-
application and approval of alternative test proce-                                                             head fume hood.
dures.                                                  [Appendix C.4.] Interferences and Limitations
                                                                                                                [Appendix C.6.1.2.] Kiln-Capable of reaching
[Appendix C.1.4.] The gas chromatography/mass                                                                   450ºC within 2 hours and holding 450ºC within
                                                        [Appendix C.4.1.] Solvents, reagents, glassware,
spectrometry portions of this method are restricted                                                             ±10ºC, with temperature controller and safety
                                                        and other sample processing hardware may yield
to use by, or under the supervision of analysts                                                                 switch (Cress Manufacturing Co., Santa Fe
                                                        artifacts and/or elevated baselines causing misin-
experienced in the use of GC/MS and in the inter-                                                               Springs, CA B31H or X31TS or equivalent).
                                                        terpretation of chromatograms.
pretation of gas chromatograms and extracted ion
scans. Each laboratory that uses this method must       [Appendix C.4.2.] All Materials used in the analy-
                                                                                                                [Appendix C.6.2.] Equipment for sample prepa-
generate acceptable results using the procedures        sis shall be demonstrated to be free from interfer-
                                                                                                                ration.
described in Sections 9.2, 10.1, and 13 of this         ences by running method blanks. Specific selection
method.                                                                                                         [Appendix C.6.2.1.] Laboratory fume hood.
                                                        of reagents and purification of solvents by distilla-
                                                        tion in all-glass systems may be required.
[Appendix C.2.] Summary of Method                                                                               [Appendix C.6.2.2.] Analytical balance-Capable
                                                        [Appendix C.4.3.] Glassware is cleaned by rinsing       of weighing 0.1 mg.
[Appendix C.2.1.] Analysis of NAF for crude oil
                                                        with solvent and baking at 400ºC for a minimum
contamination is a step-wise process. Qualitative                                                               [Appendix C.6.2.3.] Glassware.
                                                        of 1 hour.
assessment of the presence or absence of crude oil
is performed first. If crude oil is detected in this    [Appendix C.4.4.] Interferences may vary from           [Appendix C.6.2.3.1.] Disposable pipettes-
qualitative assessment, quantitative analysis of the    source to source, depending on the diversity of the     Pasteur, 150 mm long by 5 mm ID (Fisher Scien-
crude oil concentration is performed. When more         samples being tested.                                   tific 13-678-6A, or equivalent) baked at 400ºC for
data are available, the NIST calibration may need
                                                                                                                a minimum of 1 hour.
to be adjusted.                                         [Appendix C.4.5.] Variations in and additions of
                                                        base fluids and/or drilling fluid additives             [Appendix C.6.2.3.2.] Glass volumetric pipettes or
[Appendix C.2.2.] A sample of NAF is centri-
                                                        (emulsifiers, dispersants, fluid loss control agents,   gas tight syringes-1.0-mL ± 1% and 0.5-mL ± 1%.
fuged, to obtain a solids free supernate.
                                                        etc.) might also cause interferences and misinter-
[Appendix C.2.3.] The sample to be tested is            pretation of chromatograms.                             [Appendix C.6.2.3.3.] Volumetric flasks-Glass,
prepared by removing an aliquot of the solids free                                                              class A, 10-mL, 50-mL and 100-mL.
supernate, spiking it with internal standard, and       [Appendix C.4.6.] Difference in light crude oils,
analyzing it using GC/MS techniques. The com-           medium crude oils, and heavy crude oils will result
                                                                                                                [Appendix C.6.2.3.4.] Sample vials-Glass, 1- to 3-
ponents are separated by the gas chromatograph          in different responses and thus different interpreta-
                                                                                                                mL (baked at 400°C for a minimum of 1 hour)
and detected by the mass spectrometer.                  tion of scans and calculated percentages.
                                                                                                                with PTFE-lined screw or crimp cap.
[Appendix C.2.4.] Qualitative identification of         [Appendix C.5.] Safety
                                                                                                                [Appendix C.6.2.3.5.] Centrifuge and centrifuge
crude oil contamination is performed by compar-         [Appendix C.5.1.] The toxicity or carcinogenicity       tubes-Centrifuge capable of 10,000 rpm, or better,
ing the Total Ion Chromatograph (TIC) scans and         of each reagent used in this method has not been        (International Equipment Co., IEC Centra MP4 or
Extracted Ion Profile (EIP) scans of test sample to     precisely determined; however each chemical             equivalent) and 50-mL centrifuge tubes (Nalgene,
that of uncontaminated base fluids, and examining       should be treated as a potential health hazard.         Ultratube, Thin Wall 25i89 mm, #3410-2539).
the profiles for chromatographic signatures diag-       Exposure to these chemicals should be reduced to
nostic of oil contamination.                            the lowest possible level.
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 30 of 42
             Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 29
[Appendix C.6.3.] Gas Chromatograph/Mass                  mark the level of the meniscus on the bottle to        [Appendix C.7.2.7.] Stability of standards
Spectrometer (GC/MS):                                     detect solvent loss.
                                                          [Appendix C.7.2.4] Weigh 181 mg of NIST Crude          [Appendix C.7.2.7.1.] When not used, standards
[Appendix C.6.3.1.] Gas Chromatograph-An                  Oil into Vial 3 and add 5 mL of clean NAF base         are stored in the dark, at 5i to 2i 0ºC in screw-capped
analytical system complete with a temperature-            fluid. This will be the 1.0% Crude equivalen in        vials with PTFE-lined lids. A mark is placed on
programmable gas chromatograph suitable for               NAF mud standard.                                      the vial at the level of the solution so that solvent
split/splitless injection and all required accessories,                                                          loss by evaporation can be detected. The vial is
including syringes, analytical columns, and gases.        [Appendix C.7.2.5.] Crude oil/drilling fluid cali-     brought to room temperature prior to use.
                                                          bration standards-Prepare a 4-point crude oil/
[Appendix C.6.3.1.1.] Column-30 m (or 60 m) i 39          drilling fluid calibration at concentrations of 0%     [Appendix C.7.2.7.2.] Solutions used for quantita-
0.32 mm ID (or 0.25 mm ID) 1mm film thickness             (no spike-clean drilling fluid), 0.5%, 1.0%, and       tive purposes shall be analyzed within 48 hours of
(or 0.25mm film thickness) silicone-coated fused-         2.0% by volume according to the procedures out-        preparation and on a monthly basis thereafter for
silica capillary column (J&W Scientific DB-5 or           lined below using the Reference Crude Oil:             signs of degradation. Standard will remain accept-
equivalent).                                              [Appendix C.7.2.5.1.] Label 4 vials with the fol-      able if the peak area remains within ±15% of the
                                                          lowing identification: Vial 1-0%Crude in NAF           area obtained in the initial analysis of the standard.
[Appendix C.6.3.2.] Mass Spectrometer-Capable             drilling fluid,       Vial 2-0.5%Crude in NAF
of scanning from 35 to 500 amu every 1 sec or             drilling fluid, Vial 3-1%Crude in NAF drilling
less, using 70 volts (nominal) electron energy in         fluid, and Vial 4-2%Crude in NAF drilling fluid.
the electron impact ionization mode (Hewlett                                                                     [Appendix C.8.] Sample Collection Preservation
Packard 5970MS or comparable).                            [Appendix C.7.2.5.2.] Vial 1 will not be spiked        and Storage
                                                          with Reference Oil in order to retain a ‘‘0%’’ oil
[Appendix C.6.3.3.] GC/MS interface-the inter-            concentration, add 5 mL of clean NAF base fluid        [Appendix C.8.1.] NAF samples and base fluid
face is a capillary-direct interface from the GC to       only.                                                  samples are collected in 100-to 200-mL glass
the MS.                                                                                                          bottles with PTFE-or aluminum foil lined caps.
                                                          [Appendix C.7.2.5.3.] Weigh 90.5 mg of NIST
[Appendix C.6.3.4.] Data system-A computer                Crude Oil into Vial 2 and add 5 mL of clean NAF        [Appendix C.8.2.] Samples collected in the field
system must be interfaced to the mass spectrome-          base fluid. This will be the 0.5% Crude equivalent     will be stored refrigerated until time of preparation
ter. The system must allow the continuous acquisi-        in NAF mud standard.                                   (not necessary for routine sample).
tion and storage on machine-readable media of all         [Appendix C.7.2.5.4.] Weigh 181 mg of NIST
mass spectra obtained throughout the duration of                                                                 [Appendix C.8.3.] Sample and extract holding
                                                          Crude Oil into Vial 3 and add 5 mL of clean NAF        times for this method have not yet been estab-
the chromatographic program. The computer must            base fluid. This will be the 1.0% Crude equivalent
have software that can search any GC/MS data file                                                                lished. However, based on tests experience sam-
                                                          in NAF mud standard.                                   ples should be analyzed within seven to ten days of
for ions of a specific mass and that can plot such
ion abundance versus retention time or scan num-                                                                 collection and extracts analyzed within seven days
                                                          [Appendix C.7.2.5.5.] Weigh 362 mg in NIST
ber. This type of plot is defined as an Extracted                                                                of preparation.
                                                          Crude Oil in Vial 4 and add 5 mL clean NAF base
Ion Current Profile (EIP). Software must also be          fluid. This will be the 2.0% Crude Equivalent in
available that allows integrating the abundance in                                                               [Appendix C.8.4.] After completion of GC/MS
                                                          NAF mud standard.
any total ion chromatogram (TIC) or EIP between                                                                  analysis, extracts should be refrigerated at ca. 4ºC
specified retention time or scan-number limits. It        [Appendix C.7.2.5.6.] Thoroughly mix the con-          until further notification of sample disposal.
is advisable that the most recent version of the          tents of each of the 4 vial by shaking vigorously.
                                                                                                                 [Appendix C.9.] 9.0 Quality Control
EPA/NIST Mass Spectral Library be available.
                                                          [Appendix C.7.2.5.7.] Weigh 0.5 g of the mixture
                                                          from Vial 1 directly into a tared and appropriately    [Appendix C.9.1] Each laboratory that uses this
                                                          labeled GC straight vial. Spike the 0.5-g supernate    method is required to operate a formal quality
[Appendix C.7.] Reagents and Standards                    with 500 µL of the 0.01g/mL 1,3,5-                     assurance program (Reference 16.4). The mini-
                                                          trichlorobenzene internal standard solution (see       mum requirements of this program consist of an
[Appendix C.7.1.] Methylene chloride-Pesticide            7.2.3), dilute with methylene chloride, cap with a     initial demonstration of laboratory capability, and
grade or equivalent. Used when necessary for              Teflon lined crimp cap, and vortex for ca. 10 sec.     ongoing analysis of standards, and blanks as a test
sample dilution.                                                                                                 of continued performance, analyses of spiked
                                                          [Appendix C.7.2.5.8.] Repeat step 7.2.5.7 except       samples to assess accuracy and analysis of dupli-
[Appendix C.7.2.] Standards-Prepare from pure             use 0.5 g from Vial 2.                                 cates to assess precision. Laboratory performance
individual standard materials or purchased as certi-                                                             is compared to established performance criteria to
                                                          [Appendix C.7.2.5.9.] Repeat step 7.2.5.7 except
fied solutions. If compound purity is 96% or                                                                     determine if the results of analyses meet the per-
                                                          use 0.5 g from Vial 3.
greater, the weight may be used without correction                                                               formance characteristics of the method.
to compute the concentration of the standard.             [Appendix C.7.2.5.10.] Repeat step 7.2.5.7 except
                                                          use 0.5 g from Vial 4.                                 [Appendix C.9.1.1.] The analyst shall make an
[Appendix C.7.2.1.] Crude Oil Reference- NIST                                                                    initial demonstration of the ability to generate
1582 Petroleum Crude Oil Standard Reference               [Appendix C.7.2.5.11.] These 4 crude/oil drilling      acceptable accuracy and precision with this
Material (U.S. Department of commerce national            fluid calibration standards are now used for quali-    method. This ability is established as described in
Institute of Standards and Technology, Gaithers-          tative and quantitative GC/MS analysis.                Section 9.2.
burg, MD 20899) . This oil will be used in the
                                                          [Appendix C.7.2.6.] Precision and recovery stan-       [Appendix C.9.1.2.] The analyst is permitted to
calibration procedures.
                                                          dard (mid level crude oil/drilling fluid calibration   modify this method to improve separations or
                                                          standard)-Prepare a mid point crude oil/drilling       lower the cost of measurements, provided all per-
[Appendix C.7.2.2.] Synthetic Base Fluid-Obtain
                                                          fluid calibration using NAF base fluid and Refer-      formance requirements are met. Each time a modi-
a sample of clean NAF base fluid (as sent from the
                                                          ence Oil at a concentration of 1.0% by volume.         fication is made to the method, the analyst is re-
supplier-has not been circulated downhole). This
                                                          Prepare this standard according to the procedures      quired to repeat the calibration (Section 10.4) and
NAF base fluid will be used in the calibration
                                                          outlined in Section 7.2.5.4. Remove and spike with     to repeat the initial demonstration procedure de-
procedures.
                                                          internal standard, as many 0.5-g aliquots as needed    scribed in Section 9.2.
                                                          to complete the GC/MS analysis (see Section 11.6-
[Appendix C.7.2.3.] Internal standard-Prepare a
                                                          bracketing authentic samples every 12 hours with       [Appendix C.9.1.3.] Analyses of blanks are re-
0.01 g/mL solution of 1,3,5 trichlorobenzene
                                                          precision and recovery standard) and the initial       quired to demonstrate freedom from contamina-
(TCB). Dissolve 1.0 g of TCB in methylene chlo-
                                                          demonstration exercise described in Section 9.2.       tion. The procedures and criteria for analysis of a
ride and dilute to volume in a 100-mL volumetric
flask. Stopper, vortex, and transfer the solution to a                                                           blank are described in Section 9.3.
150-mL bottle with PTFE-lined cap. Label appro-
priately, and store at 5ºC to 20ºC.
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 31 of 42
            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 30
[Appendix C.9.1.4.] An analysis of a matrix spike       drilling fluid using the methods described in Sec-     [Appendix C.10.1: Table 1] GAS CHROMATO-
sample is required to demonstrate method accu-          tions 11 and 12.                                       GRAPH/MASS SPECTROMETER (GC/MS)
racy. The procedure and QC criteria for spiking are                                                            OPERATING CONDITIONS
described in Section 9.4.                               [Appendix C.9.5.] Duplicates-A duplicate field
                                                        sample is prepared according to procedures out-        Parameter                Setting
[Appendix C.9.1.5.] Analysis of a duplicate field       lined in Section 7.3 and analyzed according to
sample is required to demonstrate method preci-                                                                Injection port           280ºC
                                                        Section 11. The relative percent difference (RPD)
sion. The procedure and QC criteria for duplicates      of the calculated concentrations should be less than
are described in Section 9.5.                                                                                  Transfer line            280ºC
                                                        15%.
[Appendix C.9.1.6.] Analysis of a sample of the                                                                Detector                 280ºC
                                                        [Appendix C.9.5.1.] Analyze each of the dupli-
clean NAF(s) (as sent from the supplier-has not         cates per the procedure in Section 11 and compute      Initial Temperature      50ºC
been circulated downhole) used in the drilling          the results per Section 12.
operations is required.                                                                                        Initial Time             5 minutes
                                                        [Appendix C.9.5.2.] Calculate the relative percent
[Appendix C.9.1.7.] The laboratory shall, on an         difference (RPD) between the two results per the       Ramp                     50 to 300ºC @ 5ºC per
ongoing basis, demonstrate through calibration          following equation:                                                             minute
verification and the analysis of the precision and                               D1 - D2
recovery standard (Section 7.2.6) that the analysis                   RPD = ------------                       Final Temperature        300ºC
system is in control. These procedures are de-                                 (D1 + D2) /2
scribed in Section 11.6.                                                                                       Final Hold               20 minutes or until all
                                                                                                                                        peaks have eluted
                                                        Where:
[Appendix C.9.1.8.] The laboratory shall maintain                D1 = Concentration of crude oil in the        Carrier Gas              Helium
records to define the quality of data that is gener-             sample.
ated.                                                            D2 = Concentration of crude oil in the        Flow rate                As required for standard
                                                                 duplicate sample.                                                      operation
[Appendix C.9.2.] Initial precision and accuracy-
The initial precision and recovery test is performed                                                           Split ratio              As required to meet per-
using the precision and recovery standard (1% by        [Appendix 9.5.3.] If the RPD criteria are not met,                              formance criteria (~1:100)
volume Crude Equivalent in NAF drilling fluid).         the analytical system shall be judged to be out of
The laboratory shall generate acceptable precision      control, and the problem must be immediately
and recovery by performing the following opera-         identified and corrected and the sample batch re-      Mass range               35 to 600 amu
tions.                                                  analyzed.                                              [Appendix C.10.1: Table2] APPROXIMATE
                                                                                                               RETENTION TIMES FOR COMPOUNDS
[Appendix C.9.2.1.] Prepare four separate aliquots      [Appendix 9.6.] Preparation of the clean NAF
of the precision and recovery standard using the        sample is performed according to procedures out-
procedure outlined in Section 7.2.6. Analyze these      lined in Section 7.3 except that the clean NAF         Compound                     Approximate Reten-
aliquots using the procedures outlined in Section       (drilling fluid that has not been circulated down-                                  tion Time (minutes)
11.                                                     hole) is used. Ultimately the oil-equivalent con-
                                                        centration from the TIC or EIP signal measured in      Toluene                      5.6
[Appendix C.9.2.2.] Using the results of the set of     the clean NAF sample will be subtracted from the
four analyses, compute the average recovery (X) in      corresponding authentic field samples in order to      Octane, n-C8                 7.2
weight percent and the standard deviation of the        calculate the true contaminant concentration (%
                                                                                                               Ethylbenzene                 10.3
recovery (s) for each sample.                           oil) in the field samples (see Section 12).
                                                                                                               1,2,4-Trimethylbenzene       16.0
[Appendix C.9.2.3.] If s and X meet the accep-          [Appendix 9.7.] The specifications contained in
tance criteria of 80% to 110%, system performance       this method can be met if the apparatus used is        Decane, n-C10                16.1
is acceptable and analysis of samples may begin.        calibrated properly, then maintained in a calibrated
If, however, s exceeds the precision limit or X falls   state. The standards used for initial precision and    TCB (Internal Standard)      21.3
outside the range for accuracy, system perform-         recovery (Section 9.2) and ongoing precision and
ance is unacceptable. In this event, review this        recovery (Section 11.6) shall be identical, so that    Dodecane, n-C12              22.9
method, correct the problem, and repeat the test.       the most precise results will be obtained. The GC/
                                                        MS instrument will provide the most reproducible       1-Methylnaphthalene          26.7
[Appendix C.9.2.4.] Accuracy and precision-The          results if dedicated to the setting and conditions
average percent recovery (P) and the standard           required for the analyses given in this method.        1-Tetradecene                28.4
deviation of the percent recovery (Sp) Express the
                                                                                                               Tetradecane, n-C14           28.7
accuracy assessment as a percent recovery interval      [Appendix 9.8.] Depending on specific program
from P-2Sp to P+2Sp. For example, if P=90% and          requirements, field replicates and field spikes of     1,3-Dimethylnaphthalene      29.7
Sp=10% for four analyses of crude oil in NAF, the       crude oil into samples may be required when this
accuracy interval is expressed as 70% to 110%.          method is used to assess the precision and accu-       [Appendix C.10.2.] Internal standard calibration
Update the accuracy assessment on a regular basis.      racy of the sampling and sample transporting tech-     procedure-1,3,5-trichlorobenzene (TCB) has been
                                                        niques.                                                shown to be free of interferences from diesel and
                                                                                                               crude oils and is a suitable internal standard.
                                                        [Appendix C.10.] Calibration
[Appendix C.9.3] Blanks-Rinse glassware and                                                                    [Appendix C.10.3.] The system performance test
centrifuge tubes used in the method with ca. 30 mL      [Appendix C.10.1.] Establish gas chroma-               mix standards prepared in Section 7.2.4 are primar-
of methylene chloride, remove a 0.5-g aliquot of        tographic/mass spectrometer operating conditions       ily used to establish retention times and establish
the solvent, spike it with the 500 mL of the internal   given in Table 1 below. Perform the GC/MS sys-         qualitative detection limits.
standard solution (Section 7.2.3) and analyze a 1-      tem hardware-tune as outlined by the manufacture.
mL aliquot of the blank sample using the proce-         The gas chromatograph is calibrated using the          [Appendix C.10.3.1.] Spike a 500-µL aliquot of
dure in Section 11. Compute results per Section         internal standard technique. Note: Because each
                                                                                                               the 1.25 mg/mL SPTM standard with 500 µL of
12.                                                     GC is slightly different, it may be necessary to
                                                                                                               the TCB internal standard solution.
                                                        adjust the operating conditions (carrier gas flow
[Appendix C.9.4.] Matrix spike sample-Prepare a         rate and column temperature and temperature
                                                                                                               [Appendix C.10.3.2.] Inject 1.0 µL of this spiked
matrix spike sample according to procedure out-         program) slightly until the retention times in Table
                                                                                                               SPTM standard onto the GC/MS in order to dem-
lined in Section 7.2.6. Analyze the sample and          2 are met.
                                                                                                               onstrate proper retention times. For
calculate the concentration (% oil) in the drilling
fluid and % recovery of oil from the spiked
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 32 of 42
            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 31
the GC/MS used in the development of this              [Appendix C.10.4.2.4.] Some base fluids might           [Appendix C.11.2.7.] If the area of the C8 to C13
method the ten compounds in the mixture had            produce a background level that would show up on        peaks exceeds the calibration range of the system,
typical retention times shown in Table 2 above.        the extracted ion profiles, but there should not be     dilute a fresh aliquot of the test sample weighing <
Extracted ion scans for m/z 91 and 105 showed a        any real peaks (signal to noise ratio of 1:3) from      0.50-g and reanalyze.
maximum abundance of 400,000.                          the clean base fluids.
                                                                                                               [Appendix C.11.2.8.] Determine the C8 to C13
[Appendix C.10.3.3.] Spike a 500-µL aliquot of         [Appendix C.11.] Procedure                              TIC area, the TCB internal standard area, and the
the 0.125 mg/mL SPTM standard with 500 µL of                                                                   areas for the m/z 91 and 105 EIPs. These are used
the TCB internal standard solution.                    [Appendix C.11.1.] Sample Preparation-                  in the calculation of oil concentration in the sam-
                                                                                                               ples (see Section 12).
[Appendix C.10.3.4.] Inject 1.0 mL of this spiked      [Appendix C.11.1.1.] Mix the authentic field
SPTM standard onto the GC/MS to monitor detect-        sample (drilling fluid) well. Transfer (weigh) a 30-    [Appendix C.11.2.8: Table 3] RECOMMENDED
able levels. For the GC/MS used in the develop-        g aliquot of the sample to a labeled centrifuge tube.   ION MASS NUMBERS
ment of this test all ten compounds showed a mini-
mum peak height of three times signal to noise.        [Appendix C.11.1.2.] Centrifuge the aliquot for a
                                                                                                               Selected Corresponding Aromatic           Typical
Extracted ion scans for m/z 91 and 105 showed a        minimum of 15 min at approximately 15,000 rpm,
                                                                                                               Ion Mass Compounds                        retention
maximum abundance of 40,000.                           in order to obtain a solids free supernate.
                                                                                                               Numbers                                   times (in
                                                                                                                                                         minutes)
[Appendix C.10.4.] 10.4 GC/MS crude oil/drilling       [Appendix C.11.1.3.] Weigh 0.5 g of the super-
fluid calibration -There are two methods of quanti-    nate directly into a tared and appropriately labeled       91       Methylbenzene                    6.0
fication: Total Area Integration (C8-C13) and EIP      GC straight vial.
                                                                                                                           Ethylbenzene                     10.3
Area Integration using m/z’s 91 and 105. The EIP
Area Integration method should be used as the          [Appendix C.11.1.4.] Spike the 0.5-g supernate
                                                       with 500 µL           of the 0.01g/mL 1,3,5-                        1,4-Dimethylbenzene              10.9
primary method for quantifying oil in NAFs and
enhanced mineral oil (EMO) based drilling fluid.       trichlorobenzene internal standard solution (see                    1,3-Dimethylbenzene              10.9
Inject 1.0 µL of each of the four crude oil/drilling   7.2.3), dilute with methylene chloride, cap with a
fluid calibration standards prepared in Section        Teflon lined crimp cap, and vortex for ca. 10 sec.                  1,2-Dimethylbenzene              10.9
7.2.5 into the GC/MS. The internal standard                                                                       105      1,3,5-Trimethylbenzene           15.1
should elute approximately 21-22 minutes after         [Appendix C.11.1.5.] The sample is ready for GC/
injection. For the GC/MS used in the development       MS analysis.
                                                                                                                           1,2,4-Trimethylbenzene           16.0
of this method, the internal standard peak was (35
to 40)% of full scale at an abundance of about         [Appendix C.11.2.] Gas Chromatography. Table                        1,2,3-Trimethylbenzene           17.4
3.5e+07.                                               1 summarizes the recommended operating condi-
                                                       tions for the GC/MS. Retention times for the n-            156      2,6-Dimethylnaphthalene          28.9
[Appendix C.10.4.1.] Total Area Integration            alkanes obtained under these conditions are given
                                                       in Table 2. Other columns, chromatographic condi-                   1,2-Dimethylnaphthalene          29.4
Method-For each of the four calibration standards
obtain the following: Using a straight baseline        tions, or detectors may be used if initial precision
                                                                                                                           1,3-Dimethylnaphthalene          29.7
integration technique, obtain the total ion chroma-    and accuracy requirements (Section 9.2) are met.
togram (TIC) area from C8 to C13. Obtain the           The system is calibrated according to the proce-        [Appendix C.11.2.9.] Observe the presence of
TIC area of the internal standard (TCB). Subtract      dures outlined in Section 10, and verified every 12     peaks in the EIPs that would confirm the presence
the TCB area from the C8-C13 area to obtain the        hours according to Section 11.6.                        of any target aromatic compounds. Using the EIP
true C8-C13 area. Using the C8-C13 and TCB                                                                     areas and EIP linear regression calibrations deter-
areas, and known internal standard concentration,      [Appendix C.11.2.1.] Samples should be prepared         mine the amount of crude oil contamination
generate a linear regression calibration using the     (extracted) in a batch of no more than 20 samples.      equivalent in the sample.
internal standard method. The r 2 value for the        The batch should consist of 20 authentic samples,
linear regression curve should be ³ 0.998. Some        1 blank (Section 9.3), 1 matrix spike sample (9.4),     [Appendix C.11.3.] Qualitative Identification-
synthetic fluids might have peaks that elute in the    and 1 duplicate field sample (9.5), and a prepared
window and would interfere with the analysis. In       sample of the corresponding clean NAF used in the       [Appendix C.11.3.1.] Qualitative identification is
this case the integration window can be shifted to     drilling process.                                       accomplished by comparison of the TIC and EIP
other areas of scan where there are no interfering                                                             area data from an authentic sample to the TIC and
peaks from the synthetic base fluid.                   [Appendix C.11.2.2.] An analytical sequence is          EIP area data from the calibration standards
                                                       run on the GC/MS where the 3 SPTM standards             (Section 10.4). Crude oil is identified by the pres-
[Appendix C.10.4.2.] 10.4.2 EIP Area Integration-      (Section 7.2.4) containing internal standard are        ence of C10 to C13 n-alkanes and corresponding
For each of the four calibration standards generate    analyzed first, followed by analysis of the four GC/    target aromatics.
Extracted Ion Profiles (EIPs) for m/z 91 and 105.      MS crude oil/drilling fluid calibration standards
Using straight baseline integration techniques,        (Section 7.2.5), analysis of the blank, matrix spike    [Appendix C.11.3.2.] Using the calibration data,
obtain the following EIP areas:                        sample, the duplicate sample, the clean NAF sam-        establish the identity of the C8 to C13 peaks in the
                                                       ple, followed by the authentic samples.                 chromatogram of the sample. Using the calibra-
[Appendix C.10.4.2.1.] (1.) 10.4.2.1 For m/z 91                                                                tion data, establish the identity of any target aro-
integrate the area under the curve from approxi-       [Appendix C.11.2.3.] Samples requiring dilution         matics present on the extracted ion scans.
mately 10.5 minutes to 25 minutes, including the       due to excessive signal should be diluted using
internal standard. The internal standard area is       methylene chloride.                                     [Appendix C.11.3.3.] Crude oil is not present in a
used in the calculations.                                                                                      detectable amount in the sample if there are no
                                                       [Appendix C.11.2.4.] Inject 1.0 µL of the test          target aromatics seen on the extracted ion scans.
[Appendix C.10.4.2.2.] For m/z 105 integrate the       sample or standard into the GC, using the condi-        The experience of the analyst shall weigh heavily
area under the curve from approximately 10.5           tions in Table 1.                                       in the determination of the presence of peaks at a
minutes to 25 minutes.                                                                                         signal-to-noise ratio of 3 or greater.
                                                       [Appendix C.11.2.5.] Begin data collection and
[Appendix C.10.4.2.3..] Using the EIP areas for        the temperature program at the time of injection.       [Appendix C.11.3.4.] If the chromatogram shows
TCB, m/z 91 and m/z105, and the known concen-                                                                  n-alkanes from C8 to C13 and target aromatics to
tration of internal standard. Calculate the ratio of   [Appendix C.11.2.6.] Obtain a TIC and EIP fin-          be present, contamination by crude oil or diesel
the total m/z105 area divided by the internal stan-    gerprint scans of the sample (Table 3).                 should be suspected and quantitative analysis
dard area at m/z 91. Generate linear regression                                                                should be determined. If there are no n-alkanes
calibration curves for the ratios using the internal                                                           present that are not seen on the blank, and no target
standard method. The r 2 value for the each of the                                                             aromatics are seen, the sample can be considered
EIP linear regression curves should be ³ 0.998.                                                                to be free of contamination.
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 33 of 42
            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 32
[Appendix C.11.4.] Quantitative Identification-         standard) shall be used to verify all performance      [Appendix C.12.2.] EIP Area Integration
                                                        criteria. Adjustments and/or re-calibration (per       Method
[Appendix C.11.4.1.] Determine the area of the          Section 10) shall be performed until all perform-
peaks from C8 to C13 as outlined in the calibration     ance criteria are met. Only after all performance      [Appendix C.12.2.1.] Using the ratio of the 105
section (10.4.1). If the area of the peaks for the      criteria are met may samples and blanks be ana-        EIP area to the TCB m/z 91 EIP area in the clean
sample is greater than that for the clean NAF (base     lyzed.                                                 NAF sample, and the appropriate EIP linear re-
fluid) use the crude oil/drilling fluid calibration                                                            gression curve, compute the oil equivalent concen-
TIC linear regression curve to determine approxi-       [Appendix C.11.6.2.] Inject 1.0 mL of the me-          tration of the in the clean NAF.
mate crude oil contamination. (This step will be        dium-level GC/MS crude oil/drilling fluid calibra-
difficult for NAF samples that have measurable          tion standard into the GC instrument according to      [Appendix C.12.2.2.] Using the corresponding
amounts of C8 to C13 peaks in the clean fluid.          the procedures in Section 11.2. Verify that the        information for the authentic sample, compute its
The EIPs should be used for quantitation of crude       linear regression curves for both TIC area and EIP     oil equivalent concentration.
oil).                                                   areas are still valid using this continuing calibra-
                                                        tion standard.                                         [Appendix C.12.2.3.] If the ratio of the of the 105
[Appendix C.11.4.2.] Using the EIPs outlined in                                                                EIP area to the TCB m/z 91 EIP area for the au-
Section 10.4.2 determine the presence of any target     [Appendix C.11.6.3.] After this analysis is com-       thentic sample is greater than that for the 1% for-
aromatics. Using the integration techniques out-        plete, inject 1.0 mL of the 1.25 mg/mL SPTM            mation oil equivalent calibration standard, the
lined in Section 10.4.2 to obtain the EIP areas for     (containing internal standard) into the GC instru-     sample is considered contaminated with formation
m/z 91 and 105. Use the crude oil/drilling fluid        ment and verify the proper retention times are met     oil.
calibration EIP ratio linear regression curves to       (see Table 2).
determine approximate crude oil contamination.                                                                 [Appendix C.13.] Method Performance
                                                        [Appendix C.11.6.4.] Retention times-Retention
[Appendix C.11.5.] Complex Samples                      time of the internal standard. The absolute reten-     [Appendix C.13.1.] Specification in this method
                                                        tion time of the TCB internal standard should be       are adopted from EPA Method 1663, Differentia-
[Appendix C.11.5.1.] The most common interfer-          within the range 21.0 ± 0.5 minutes. Relative          tion of Diesel and Crude Oil by GC/FID
ences in the determination of crude oil can be from     retention times of the n-alkanes: The retention        (Reference 16.4).
mineral oil, diesel oil, and proprietary additives in   times of the n-alkanes relative to the TCB internal
drilling fluids.                                        standard shall be similar to those given in Table 2.   [Appendix C.13.2.] Single laboratory method
                                                                                                               performance using an Internal Olefin (IO) drilling
[Appendix C.11.5.2.] Mineral oil can typically be                                                              fluid fortified at 0.5% oil using a 35 API gravity
identified by it lower target aromatic content, and     [Appendix C.12.] Calculations                          oil was:
narrow range of strong peaks.                                                                                        Precision and accuracy 94±4%
                                                           The concentration of oil in NAFs drilling fluids          Accuracy interval-86.3% to 102%
[Appendix C.11.5.3.] Diesel oil can typically be        is computed relative to peak areas between C8 and            Relative percent difference in duplicate
identified by low amounts of n-alkanes from C7 to       C13 (using the Total Area Integration method) or                analysis-6.2%
C9, and the absence of n-alkanes greater than C25.      peak areas from extracted ion profiles (using the
                                                        Extracted Ion Profile Method). In either case,         [Appendix C.14.] Pollution Prevention
[Appendix C.11.5.4.] Crude oils can usually be          there is a measurable amount of peak area, even in
                                                        clean drilling fluid samples, due to spurious peaks    [Appendix C.14.1.] The solvent used in this
distinguished by the presence of high aromatics,
                                                        and electrometer ‘‘noise’’ that contributes to the     method poses little threat to the environment when
increased            intensities of C8 to C13
                                                        total signal measured using either of the quantita-    recycled and managed properly.
peaks, and/or the presence of higher hydrocarbons
of C25 and greater (which may be difficult to see       tion methods. In this procedure, a correction for
                                                        this signal is applied, using the blank or clean       [Appendix C.15.] Waste Management
in some synthetic fluids at low contamination
levels).                                                sample correction technique described in American
                                                        Society for Testing Materials (ASTM) Method D-         [Appendix C.15.1.] It is the laboratory’s responsi-
                                                        3328-90, Comparison of Waterborne Oil by Gas           bility to comply with all federal, state, and local
[Appendix C.11.5.4.1.] Oil condensates from gas                                                                regulations governing waste management, particu-
wells are low in molecular weight and will nor-         Chromatography. In this method, the ‘‘oil equiva-
                                                        lents’’ measured in a blank sample by total area       larly the hazardous waste identification rules and
mally produce strong chromatographic peaks in the                                                              land disposal restriction, and to protect the air,
C8-C13 range. If a sample of the gas condensate         gas chromatography are subtracted from that deter-
                                                        mined for a field sample to arrive at the most accu-   water, and land by minimizing and controlling all
crude oil from the formation is available, the oil                                                             releases from fume hoods and bench operations.
can be distinguished from other potential sources       rate measure of oil residue in the authentic sample.
                                                                                                               Compliance with all sewage discharge permits and
of contamination by using it to prepare a calibra-      [Appendix C.12.1.] Total Area Integration              regulations is also required.
tion standard.                                          Method
                                                                                                               [Appendix C.15.2.] All authentic samples (drilling
[Appendix C.11.5.4.2.] Asphaltene crude oils with       [Appendix C.12.1.1.] Using C8 to C13 TIC area,         fluids) failing the RPE (fluorescence) test
API gravity <20 may not produce chromatographic         the TCB area in the clean NAF sample and the TIC       (indicated by the presence of fluorescence) shall be
peaks strong enough to show contamination at            linear regression curve, compute the oil equivalent    retained and classified as contaminated samples.
levels of the calibration. Extracted ion peaks          concentration of the C8 to C13 retention time          Treatment and ultimate fate of these samples is not
should be easier to see than increased intensities      range in the clean NAF. Note: The actual TIC area      outlined in this SOP.
for the C8 to C13 peaks. If a sample of asphaltene      of the C8 to C13 is equal to the C8 to C13 area
crude from the formation is available, a calibration    minus the area of the TCB.                             [Appendix C.15.3.] For further information on
standard should be prepared.                                                                                   waste management, consult ‘‘The Waste Manage-
                                                        [Appendix C.12.1.2.] Using the corresponding           ment Manual for Laboratory Personnel’’, and
[Appendix C.11.6.] System and Laboratory                information for the authentic sample, compute the      ‘‘Less is Better: Laboratory Chemical Manage-
Performance-                                            oil equivalent concentration of the C8 to C13 re-      ment for Waste Reduction’’, both available form
                                                        tention time range in the authentic sample.            the American Chemical Society’s Department of
[Appendix C.11.6.1.] At the beginning of each 8-                                                               Government Relations and Science Policy, 1155
hour shift during which analyses are performed,         [Appendix C.12.1.3.] Calculate the concentration       16th Street NW, Washington, D.C. 20036.
GC crude oil/drilling fluid calibration and system      (% oil) of oil in the sample by subtracting the oil
performance test mixes are verified. For these          equivalent concentration (% oil) found in the clean                       References
tests, analysis of the medium-level calibration         NAF from the oil equivalent concentration (% oil)      [Appendix C.16.1.] Carcinogens-‘‘Working With
standard (1-% Reference Oil in IO Lab drilling          found in the authentic sample. The C8 to C13 TIC       Carcinogens.’’ Department of Health, Education,
fluid, and 1.25 mg/mL SPTM with internal                area will not work well for clean NAF samples that     and Welfare, Public Health Service, Centers for
                                                        contain measurable amounts of paraffins in the C8      Disease Control [available through National Tech-
                                                        to C13 range.                                          nical Information Systems, 5285 Port Royal Road,
                                                                                                               Springfield, VA 22161, document no. PB-277256]:
                                                                                                               August 1977.
            Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 34 of 42
           Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 33
[Appendix C.16.2.] “OSHA Safety and Health
Standards, General Industry [29 CFR 1910], Re-
vised.” Occupational Safety and Health Admini-
stration, OSHA 2206. Washington, DC: January
1976.

[Appendix C.16.3.] “Handbook of Analytical
Quality Control in Water and Wastewater Labora-
tories.” USEPA, EMSSL-CI, EPA-600/4-79-019.
Cincinnati, OH: March 1979.

[Appendix C.16.4.] “Method 1663, Differentiation
of Diesel and Crude Oil by GC/FID, Methods for
the Determination of Diesel, Mineral, and Crude
Oils in Offshore Oil and Gas Industry Discharges,
EPA 821-R-92-008, Office of Water Engineering
and Analysis Division, Washington, DC: Decem-
ber 1992.
_________________________________________




                                                                             Appendix D

                                                        [Appendix D: Table 1] Produced Water Critical
                                                        Dilutions

                                                        [Appendix D: Table 1-A] Critical Dilution (Percent
                                                        Effluent) for Discharges with a Depth Difference
                                                        Between the Discharge Pipe and the Sea Floor of
                                                        Greater than 0 Meters to 4 Meters



                        Discharge Rate                                           Pipe Diameter (inches)

                        (bbl/day)                   >0" to 5"    >5" to 7"       >7" to 9"     >9" to 11"    >11" to 15"   >15"

                        0 to 500                      0.05          0.05           0.05           0.05          0.05       0.05

                        501 to 1000                   0.12          0.12           0.12           0.12          0.12       0.12

                        1001 to 2000                  0.29          0.29           0.29           0.29          0.29       0.29

                        2001 to 3000                  0.49          0.48           0.48           0.48          0.48       0.49

                        3001 to 4000                  0.66          0.64           0.64           0.64          0.64       0.64
                        4001 to 5000                  0.9           0.87           0.85           0.85          0.86       0.87

                        5001 to 6000                  1.13          1.11           1.07           1.07          1.08       1.09
                        6001 to 7000                  1.36          1.33           1.30           1.28          1.28       1.30
                        7001 to 8000                  1.57          1.55           1.51           1.47          1.48       1.50
                        8001 to 9000                  1.80          1.78           1.74           1.68          1.68       1.70
                        9001 to 10,000                2.02          2.00           1.95           1.89          1.88       1.90
                        10,001 to 15,000              3.09          3.17           3.08           3.02          2.92       2.88
                        15,001 to 20,000              3.90          4.26           4.15           4.07          3.95       3.77
                        20,001 to 25,000              4.60          5.26           5.25           5.10          5.00       4.60

                        25,001 to 35,000              5.68          6.92           7.28           7.00          6.86       6.30
                        35,001 to 50,000              6.83          8.80           9.67           9.80          9.35       8.74

                        50,001 to 75,000              8.23          11.1           12.8           13.9          14.2       13.1
Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 35 of 42
Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 34
                                      [Appendix D: Table 1-B] Critical Dilution
                                      (Percent Effluent) for Discharges with a Depth
                                      Difference Between the Discharge Pipe and the
                                      Sea Floor of Greater than 4 Meters to 6 Meters

         Discharge Rate                                      Pipe Diameter (inches)

         (bbl/day)           >0" to 5"        >5" to 7"     >7" to 9"      >9" to 11"   >11" to 15"   >15"

         0 to 500               0.05             0.05          0.05           0.05          0.05       0.05

         501 to 1000           0.104            0.105         0.105           0.105        0.105      0.106

         1001 to 2000           0.20             0.20          0.20           0.20          0.20       0.20

         2001 to 3000           0.30             0.30          0.30           0.30          0.30       0.30

         3001 to 4000           0.40             0.38          0.38           0.38          0.39       0.39

         4001 to 5000           0.59             0.58          0.56           0.56          0.57       0.58

         5001 to 6000           0.74             0.73          0.71           0.71          0.71       0.72

         6001 to 7000           0.88             0.87          0.85           0.84          0.84       0.85

         7001 to 8000           1.02             1.00          0.98           0.96          0.96       0.97

         8001 to 9000           1.15             1.14          1.12           1.09          1.09       1.10

         9001 to 10,000         1.28             1.28          1.25           1.22          1.21       1.22

         10,001 to 15,000       1.92             1.97          1.93           1.90          1.84       1.82

         15,001 to 20,000       2.46             2.57          2.54           2.51          2.45       2.36

         20,001 to 25,000       2.92             3.14          3.14           3.08          3.03       2.85

         25,001 to 35,000       3.60             4.15          4.26           4.18          4.13       3.85

         35,001 to 50,000       4.32             5.38          5.85           5.83          5.68       5.43

         50,001 to 75,000       5.17             6.94          7.88           8.36          8.41       7.94
                                      [Appendix D: Table 1-C] Critical Dilution
                                      (Percent Effluent) for Discharges with a Depth
                                      Difference Between the Discharge Pipe and the
                                      Sea Floor of Greater than 6 Meters to 9 Meters

          Discharge Rate                                    Pipe Diameter (inches)

             (bbl/day)       >0" to 5"        >5" to 7"     >7" to 9"      >9" to 11"   >11" to 15"   >15"

              0 to 500         0.05             0.05          0.05           0.05          0.05       0.05

            501 to 1000       0.104            0.105         0.105           0.105        0.105       0.105

           1001 to 2000        0.20             0.20          0.20           0.20          0.20       0.20

           2001 to 3000        0.27             0.27          0.27           0.27          0.27       0.27

           3001 to 4000        0.32             0.31          0.31           0.31          0.32       0.32

           4001 to 5000        0.38             0.37          0.36           0.36          0.37       0.37

           5001 to 6000        0.50             0.49          0.48           0.48          0.48       0.49

           6001 to 7000        0.60             0.59          0.57           0.57          0.57       0.58

           7001 to 8000        0.69             0.68          0.66           0.65          0.65       0.66

           8001 to 9000        0.78             0.77          0.76           0.74          0.74       0.75

          9001 to 10,000       0.86             0.86          0.85           0.83          0.82       0.83

          10,001 to 15,000     1.29             1.32          1.30           1.28          1.25       1.24

          15,001 to 20,000     1.64             1.72          1.71           1.69          1.65       1.60

          20,001 to 25,000     1.97             2.08          2.09           2.06          2.04       1.93

          25,001 to 35,000     2.50             2.74          2.81           2.78          2.75        2.6

          35,001 to 50,000     3.05             3.60          3.80           3.82          3.76       3.62

          50,001 to 75,000     3.70             4.83          5.40           5.62          5.60       5.40
Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 36 of 42
Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 35
                                      [Appendix D: Table 1-D] Critical Dilution
                                      (Percent Effluent) for Discharges with a Depth
                                      Difference Between the Discharge Pipe and the
                                      Sea Floor of Greater than 9 Meters to 12 Meters


           Discharge Rate                                     Pipe Diameter (inches)

             (bbl/day)       >0" to 5"         >5" to 7"     >7" to 9"      >9" to 11"   >11" to 15"   >15"

              0 to 500          0.05             0.05           0.05           0.05          0.05       0.05

            501 to 1000        0.104            0.105          0.105           0.105        0.105      0.106

            1001 to 2000        0.20             0.20           0.20           0.20          0.20       0.20

            2001 to 3000        0.27             0.27           0.27           0.27          0.27       0.27

            3001 to 4000        0.32             0.31           0.31           0.31          0.32       0.32

            4001 to 5000        0.38             0.37           0.36           0.36          0.37       0.37

            5001 to 6000        0.50             0.49           0.36           0.36          0.37       0.37

            6001 to 7000        0.55             0.54           0.53           0.52          0.52       0.53

            7001 to 8000        0.59             0.59           0.58           0.56          0.57       0.57

            8001 to 9000        0.64             0.63           0.62           0.60          0.61       0.61

           9001 to 10,000       0.67             0.67           0.66           0.64          0.64       0.65

          10,001 to 15,000      0.82             0.84           0.83           0.82          0.80       0.80

          15,001 to 20,000      1.00             1.05           1.04           1.03          1.02       1.00

          20,001 to 25,000      1.20             1.27           1.28           1.26          1.25       1.20

          25,001 to 35,000      1.57             1.67           1.72           1.70          1.69       1.62

          35,001 to 50,000      2.00             2.22           2.31           2.33          2.31       2.24

          50,001 to 75,000      2.50             3.10           3.37           3.47          3.50       3.43




                                      [Appendix D: Table 1-E] Critical Dilution
                                      (Percent Effluent) for Lower Volume Discharges
                                      with a Depth Difference Between the Discharge
                                      Pipe and the Sea Floor of Greater than 12 Meters



          Discharge Rate                                     Pipe Diameter (inches)

             (bbl/day)       >0" to 5"        >5" to 7"      >7" to 9"      >9" to 11"   >11" to 15"   >15"

             >0 to 500         0.05             0.05           0.05           0.05          0.05       0.05

            501 to 1000       0.104             0.105         0.105           0.105        0.105       0.106

           1001 to 2000        0.20             0.20           0.20           0.20          0.20       0.20

           2001 to 3000        0.27             0.27           0.27           0.27          0.27       0.27

           3001 to 4000        0.32             0.31           0.31           0.31          0.32       0.32

           4001 to 5000        0.38             0.37           0.36           0.36          0.37       0.37

           5001 to 6000        0.50             0.49           0.48           0.48          0.48       0.49

           6001 to 7000        0.55             0.54           0.53           0.52          0.52       0.53

           7001 to 8000        0.59             0.59           0.58           0.56          0.57       0.57
Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 37 of 42
Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 36
                                  [Appendix D: Table 1-F] Critical Dilution
                                  (Percent Effluent) for Larger Volume Discharges
                                  with a Depth Difference Between the Discharge
                                  Pipe and the Sea Floor of Greater than 12 Meters


           Discharge Rate                                  Pipe Diameter (inches)

             (bbl/day)      >0" to 5"       >5" to 7"      >7" to 9"      >9" to 11"    >11" to 15"   >15"

                                 Depth Difference Greater than 12 Meters to 14 Meters

         8001 to 9,000        0.64            0.63           0.62           0.60           0.61       0.61

         9001 to 10,000       0.67            0.67           0.66           0.64           0.64       0.65

         10,001 to 15,000     0.82            0.84           0.83           0.82           0.80       0.80

         15,001 to 20,000     0.92            0.96           0.96           0.95           0.93       0.91

         20,001 to 25,000     1.00            1.06           1.06           1.05           1.04       1.00

         25,001 to 35,000     1.13            1.20           1.23           1.22           1.22       1.17

         35,001 to 50,000     1.40            1.51           1.57           1.58           1.57       1.53

         50,001 to 75,000     1.83            2.15           2.27           2.34           2.37       2.33
                                 Depth Difference Greater than 14 Meters to 16 Meters

         8001 to 9,000        0.64            0.63           0.62           0.60           0.61       0.61

         9001 to 10,000       0.67            0.67           0.66           0.64           0.64       0.65

         10,001 to 15,000     0.82            0.84           0.83           0.82           0.80       0.80

         15,001 to 20,000     0.92            0.96           0.96           0.95           0.93       0.91

         20,001 to 25,000     1.00            1.06           1.06           1.05           1.04       1.00

         25,001 to 35,000     1.13            1.20           1.23           1.22           1.22       1.17

         35,001 to 50,000     1.28            1.37           1.43           1.44           1.43       1.39

         50,001 to 75,000     1.54            1.74           1.82           1.88           1.90       1.88

                                 Depth Difference Greater than 16 Meters to 19 meters

         8001 to 9000         0.64            0.63           0.62           0.60           0.61       0.61

         9001 to 10,000       0.67            0.67           0.66           0.64           0.64       0.65

         10,001 to 15,000     0.82            0.84           0.83           0.82           0.80       0.80

         15,001 to 20,000     0.92            0.96           0.96           0.95           0.93       0.91

         20,001 to 25,000     1.00            1.06           1.06           1.05           1.04       1.00

         25,001 to 35,000     1.13            1.20           1.23           1.22           1.22       1.17

         35,001 to 50,000     1.28            1.37           1.43           1.44           1.43       1.39

         50,001 to 75,000     1.30            1.44           1.51           1.56           1.57       1.55

                                        Depth Difference Greater than 19 Meters

         8001 to 9000         0.64            0.63           0.62           0.60           0.61       0.61

         9001 to 10,000       0.67            0.67           0.66           0.64           0.64       0.65

         10,001 to 15,000     0.82            0.84           0.83           0.82           0.80       0.80

         15,001 to 20,000     0.92            0.96           0.96           0.95           0.93       0.91

         20,001 to 25,000     1.00            1.06           1.06           1.05           1.04       1.00

         25,001 to 35,000     1.13            1.20           1.23           1.22           1.22       1.17

         35,001 to 50,000     1.28            1.37           1.43           1.44           1.43       1.39

         50,001 to 75,000     1.28            1.42           1.49           1.53           1.54       1.53
Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 38 of 42
Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 37
                                    [Appendix D: Table 1-G] Minimum Vertical
                                    Port Separation Distance to Avoid Interference

                                  Port Flow Rate (bbl/day)        Minimum Separation
                                                                     Distance (m)

                                           0-500                           3.7

                                         501-1000                          4.5

                                        1001-2000                          5.4

                                        2001-5000                          6.4

                                        5001-7000                          6.6

                                        7001-10000                         6.6




                                    [Appendix D: Table 2-A] Critical Dilutions
                                    (Percent Effluent) for Toxicity Limitations for
                                    Seawater to which treatment chemicals have been
                                    added


                      Depth                                                 Pipe Diameter
                     Difference        Discharge Rate
                     (Meters)             (bbl/day)          >0" to 2"   >2" to 4"   >4" to 6"   >6"

                        All               0 to 1,000            12         24.7        24.5      24.6
                                       >1,000 to 10,000        11.2        12.4        12.2      14
                                          > 10,000              9.6         24          23       20




                                    [Appendix D: Table 2-B] Critical Dilutions
                                    (Percent Effluent) for Toxicity Limitations for
                                    freshwater to which treatment Chemicals have
                                    been added


                      Depth                                                 Pipe Diameter
                     Difference        Discharge Rate
                     (Meters)             (bbl/day)          >0" to 2"   >2" to 4"   >4" to 6"   >6"

                        All               0 to 1,000            1.1         1.2         2.9      2.9
                                       >1,000 to 10,000         19          39          28       24
                                          > 10,000              13          63          41       74
        Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 39 of 42
       Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 38
                                                                     Appendix E
                         [Appendix E: Table 1] Effluent Limitations, Prohibitions and Monitoring Requirements

                                                                                                   Monitoring Requirement
                   Regulated &
                    Monitored              Discharge Limitation/              Measurement          Sample Type/         Recorded Value(s)
   Discharge        Parameter                   Prohibition                    Frequency           Method
                       Free Oil                     No free oil                Once week(*1)          Static sheen           Number of days sheen observed
                                                                                                         Grab
                                           30,000 ppm daily minimum             Once/month                                           96-hr LC50
                     Toxicity(*2)
                     96-hr LC50           30,000 ppm monthly average        Once/end of well(*3)         Grab                        96-hr LC50
                                                   minimum
                                                                                Once/month               Grab                        96-hr LC50
                   Discharge Rate              1,000 barrels/hour              Once/hour(*1)            Estimate                 Maximum hourly rate

                 Discharge Rate for
                                                       (*4)                    Once/hour(*1)            Measure                  Maximum hourly rate
                 controlled rate areas



                                         No discharge. of drilling fluids
                                         to which barite has been added,
                                                                                                                                mg mercury/kg barite
                     Mercury and         if such barite contains mercury Once prior to drilling       Absorption
                                                                                                                                mg cadmium/kg barite
                      cadmium            in excess of 1.0 mg/kg or        each well (*6)           Spectro-photometry
                                         cadmium in excess of 3.0 mg/
                                         kg (dry weight)
Drilling Fluid

                 Oil Based or Inverse
                 Emulsion Drilling                No discharge
                 Fluids

                 Oil Contaminated
                                                  No discharge
                 Drilling Fluids

                                         No discharge of drilling fluids
                      Diesel Oil         to which diesel oil has been
                                         added

                                         Mineral oil may be used only
                     Mineral Oil         as a carrier fluid, lubricity
                                         additive, or pill

                 Non aqueous Based No discharge except that which
                 Fluids            adheres to drill cuttings(*5)

                       Free Oil                    No free oil               Once / week (*1)         Static Sheen          Number of days sheen observed


                                         No discharge of cuttings
                                         generated using drilling fluids
                     Toxicity(*2)
                                         which exhibit a toxicity of less
                     96-hr LC50
                                         than 30,000 ppm daily min. or
                                         30,000 ppm monthly avg. min.


                                         No discharge. if generated
                                         using drilling fluid to which
                     Mercury and         barite is added which contains
  All Drill           cadmium            mercury in excess of 1.0 mg/kg
  Cuttings                               or cadmium in excess of
                                         3.0 mg/kg

                 Cuttings generated
                 using Oil Contami-
                                                  No discharge
                    nated Drilling
                        Fluids

                       Cuttings
                  generated using
                  drilling fluids to              No discharge
                  which Diesel Oil
                  has been added
            Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 40 of 42
            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 39
                            [Appendix E: Table 1 - continued] Effluent Limitations, Prohibitions and Monitoring Requirements


                                                                                                                         Monitoring Requirement
                            Regulated &
                                               Discharge Limitation/            Measurement
      Discharge              Monitored                                                                  Sample Type/
                                                    Prohibition                  Frequency                                           Recorded Value(s)
                             Parameter                                                                    Method


                          Cuttings generated
                          using drilling     Mineral oil may be used only
                          fluids to which    as a carrier fluid, lubricity
                          Mineral Oil has    additive, or pill
                          been added




                                                                                                       PAH content of Oil
                           Polynuclear Aro-
                                             0.00001 grams PAH per gram        Once/year on each       by HPLC/UV, EPA
                          matic Hydrocarbons                                                                                   gram PAH / gram stock base fluid
                                                     of base fluid              base fluid blend        Method 1654 (see
                                (PAH)
                                                                                                       40 CFR 435.11(u))
Stock Limits for Drill
Cuttings
Generated using Non
aqueous Based Drilling                        Ratio of 10-day LC50s not to     Once/year on each         ASTM method         Ratio of C16-C18 IO LC50 to stock base
                       Sediment Toxicity
Fluids                                               exceed 1.0(*7)             base fluid blend         E1367-99 (*8)                     fluid LC50


                            Biodegradation    Biodegradation rate ratio not    Once/year on each         Modified ISO       Ratio of C16-C18 IO biodeg. to stock base
                                Rate              to exceed 1.0 (*9)            base fluid blend       11734:1995 (*10)                   fluid biodeg.


                                                                                                       Modified ASTM
                                               Ratio of 4-day LC50s not to                                                  Ratio of C16-C18 IO LC50 to stock base
                          Sediment Toxicity                                       Once/month           Method E1367-99
                                                     exceed 1.0(*11)                                                                      fluid LC50
                                                                                                            (*12

Discharge Limits for
                                                                              Once prior to drilling     GCMS (*13)
Cuttings
Generated using Non         Formation Oil            No Discharge
aqueous Based Drilling                                                             Once/week               RPE (*14)
Fluids
                             Base Fluids             6.9% IO (*15)
                                                                                                          Retort Test
                             Retained on                                        Once/day (*17)                                          Percent retained
                                                                                                         Method (*18)
                              Cuttings              9.4% ester (*16)


    Deck Drainage              Free Oil               No Free Oil               Once/day (*19 )          Visual Sheen           Number of days sheen observed

                                                42 mg/l daily maximum,
                            Oil and grease                                        Once/month               Grab(*20)           Daily maximum, monthly average
                                                29 mg/l monthly average

                                              7-day minimum NOEC(*21)
                               Toxicity         and monthly average min       Rate Dependent(*28)            Grab               Lowest NOEC for either species
                                                     NOEC(*21)
   Produced Water

                               Free Oil                 Monitor               Once/day (*19,*29)          Visual sheen          Number of days sheen observed



                             Flow (MGD)                 Monitor                   Once/month                Estimate                   Monthly Average

Produced Sand               No Discharge


                                                                                                                                Number of days sheen observed
Well treatment fluids,         Free Oil                No free oil               Once/day (*1 )           Static sheen
completion
fluids, and workover
fluids (includes packer                         42 mg/l daily maximum,
fluids)(*22)                Oil & Grease                                          Once/month               Grab(*20)           Daily maximum, monthly average
                                                29 mg/l monthly average
             Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 41 of 42
            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 40
                                     [Appendix E: Table 1 - continued] Effluent Limitations, Prohibitions and Monitoring Requirements

                                                                                                                       Monitoring Requirement
                                   Regulated &
                                                         Discharge Limitation/          Measurement
          Discharge                 Monitored                                                              Sample Type/
                                                              Prohibition                Frequency                                  Recorded Value(s)
                                    Parameter                                                                Method

                                  Residual chlorine
Sanitary waste(*24)                                        1 mg/l (minimum)            Once/month          Grab                         Concentration
                                       (*25)
continuously manned for 30
or more days by 10 or more
persons                                Solids              No Floating Solids           Once/day      Observation(*27)        Num of days solids observed



Sanitary waste (*24)
continuously manned for
thirty or more days by 9 or                                                                             Observation
                                       Solids              No Floating Solids           Once/ day                           Number of days solids observed
fewer persons or                                                                                          (*27)
intermittently by any
number


Domestic waste(*26)                    Solids           No floating solids or foam      Once/day      Observation(*27)         Number of days observed



Miscellaneous
discharges:
 Desalinization unit dis-
 charge; blowout pre-
 venter fluid; uncontam-
 inated ballast water; un-
 contaminated bilge water;
 uncontaminated freshwa-
 ter; mud, cutt-in-gs and
 cement at sea-floor; un-
                                                                                                                                Number of days sheen
 contaminated seawater;              Free Oil                 No free oil            Once/week(*23)    Visual sheen
                                                                                                                                    observed
 boil-er blowdown; source
 water and sand; diatoma-
 ceous earth filter media;
 excess cement slurry; sub
 sea wellhead preservation
 fluids; sub sea production
 control fluid umbilical
 steel tube storage; fluid;
 leak tracer fluid; riser
 tensioner fluids



                                                      Most stringent of: EPA label
                                     Treatment        registration, maximum
Miscellaneous discharges of          chemicals        manufacturers recommended
seawater and freshwater to                            dose, or 500 mg/l.
which treatment chemicals
have been added: excess sea-
water which permits the con-
tinuous operation of fire con-    Discharge Rate                Monitor                Once/month         Estimate                 Monthly Average
trol and utility lift pumps,
excess seawater from pressure
maintenance and secondary
recovery projects, water re-
leased during training of per-
sonnel in fire protection, sea-                                                                         Visual Sheen
                                      Free Oil                 No free oil             Once/ week                            Number of days sheen observed
water used to pressure test new                                                                            (*32)
and existing piping and pipe-
lines, ballast water, once-
through non-contact cooling
water                                                 48-hour average min. NOEC
                                                                                                                         Lowest NOEC observed for either of the
                                      Toxicity            and monthly average   Rate Dependent(*31)        Grab
                                                                                                                                    two species
                                                        minimum NOEC (*30)
            Case 2:10-md-02179-CJB-DPC Document 1440-18 Filed 02/28/11 Page 42 of 42
            Gulf of Mexico · OCS General Permit · NPDES No. GMG290000 · www.epa.gov/region6/offshore · Page 41
                                                               [Appendix E: Table 1, Footnotes]

*1   When discharging.                                 *16 Drilling fluids which meet the stock limita-            that complies with pollution control stan-
                                                           tions for C12-C14 ester or C8 ester.                    dards and regulations under section 312 of
*2   Suspended particulate phase (SPP) with                                                                        the Act shall be deemed to be in compliance
     Mysidopsis bahia following approved test          *17 Except when meeting the conditions for the              with permit limitations for sanitary waste.
     method. The sample shall be taken beneath             Best Management Practices described in Part             The MSD shall be tested yearly for proper
     the shale shaker; or if there are no returns          I.B.2.c. of this permit. Operators conducting           operation, and test results maintained at the
     across the shaker then the sample must be             fast drilling shall collect and analyze samples         facility.
     taken from a location that is characteristic of       once per 500 feet or a maximum of three per
     the overall mud system to be discharged.              day.                                               *25 Hach method CN-66 DPD approved. Mini-
                                                                                                                  mum of 1 mg/l and maintained as close to
*3   Sample shall be taken after the final log run     *18 See Part I.D.13. of this permit.                       this concentration as possible
     is completed and prior to bulk discharge.
                                                       *19 When discharging and facility is manned.           *26 The discharge of food waste is prohibited
*4   See Part I.B.1.b. of this permit.                     Monitoring shall be accomplished during                within 12 nautical miles from nearest land.
                                                           times when observation of a visual sheen on            Comminuted food waste able to pass through
*5   See Part I.B.1.a. of this permit.                     the surface of the receiving water is possible         a 25 mm mesh screen (approximately 1 inch)
                                                           in the vicinity of the discharge.                      may be discharged more than 12 nautical
*6   Analyses shall be conducted on each new                                                                      miles from nearest land.
     stock of barite used.                             *20 May be based on either a grab sample or a
                                                           composite which consists of the arithmetic         *27 Monitoring shall be accomplished during
*7   The ratio of the 10-day LC50 of C16 - C18             average of the results of grab samples col-            daylight by visual observation of the surface
     internal olefin divided by the 10-day LC50 of         lected at even intervals during a period of 24-        of the receiving water in the vicinity of sani-
     the base fluid shall not exceed 1.0. See Part         hours or less.                                         tary and domestic waste outfalls. Observa-
     I.B.2.c.1. of this permit.                                                                                   tions shall be made following either the
                                                       *21 See Appendix D, Table 1 of this permit.                morning or midday meals at a time of maxi-
*8   See Part I.D.7.                                                                                              mum estimated discharge.
                                                       *22 No discharge of priority pollutants except in
*9   The ratio of the cumulative gas production            trace amounts. Information on the specific         *28 Once per annual DMR monitoring period for
     (ml) of C16 - C18 internal olefin divided by          chemical composition shall be recorded but             discharges from 0 bbl/day to 4599 bbl/day,
     the cumulative gas production (ml) of stock           not reported unless requested by EPA.                  once/calendar quarter for discharges of 4,600
     base fluid, both at 275 days, shall not exceed                                                               bbl/day and greater.
     1.0. See Part I.B.2.c.1. of this permit.          *23 When discharging for muds, cuttings, and
                                                           cement at the seafloor, blowout preventer          *29 See Part I.B.4.b. of this permit.
*10 See Part I.D.8. of this permit.                        fluid, sub sea wellhead preservation fluids,
                                                           subsea production control fluid, umbilical         *30 See Appendix D, Table 2 of this permit
*11 The ratio of the 4-day LC50 of C16 - C18               steel tube storage fluid, leak tracer fluid, and
    internal olefin divided by the 4-day LC50 of           riser tensioner fluids. All other miscellane-      *31 See Part I.B.11.b of this permit.
    the base fluid shall not exceed 1.0. See Part          ous discharges: when discharging, discharge
    I.B.2.c.2. of this permit.                             is authorized only during times when visual        *32 Monitoring for free oil on discharges from
                                                           sheen observation is possible, unless the              existing piping and existing pipelines shall be
*12 See Appendix A of this permit.                         static sheen method is used. Uncontaminated            performed at least three times per discharge
                                                           seawater uncontaminated freshwater, source             as follows: 1) within thirty minutes after
*13 See Appendix 5 of 40 CFR Part 435, Subpart             water and source sand, uncontaminated bilge            commencement of discharge; 2) at the esti-
    A and Part I.D.11. and Appendix C of this              water, and uncontaminated ballast water from           mated middle of the discharge; and 3) within
    permit.                                                platforms on automatic purge systems may               fifteen minutes before or after the discharge
                                                           be discharged without monitoring from plat-            has ceased.
*14 See Section I.D.12. of this permit.                    forms which are not manned.

*15 Drilling fluids which meet the stock base          *24 Any facility which properly operates and
                                                                                                                          End of the Permit
                                                                                                                         Final version, July 31, 2008
    fluid limitations for C16-C18 internal olefins.        maintains a marine sanitation device (MSD) .




DISCLAIMER: Information provided above by the Water Enforcement Branch is intended to increase its availability, but does not
constitute a legal or official copy. While every care is taken to ensure that the information presented is correct, we can offer no
guarantees that information is current or correct at the time that you read it or that it will suit your purpose. You are encouraged to
verify the information presented before you use it. The Water Enforcement Branch accepts no responsibility for any loss or damages
incurred through use or misuse of the information presented.
